             Case: 4:23-cv-00133-SRW              Doc. #: 39-10THOMPSON
                                                   RAYMOND        Filed: 01/11/24         Page: 1 of 76 PageID
                                                           #: 816
                                                            1                                                                 3
                   UNITED STATES DISTRICT COURT                   1                 INDEX OF INTERROGATION
                   EASTERN DISTRICT OF MISSOURI                   2 Examination by Ms. Robertson                   Page 4
                                                                  3
                         EASTERN DIVISION                                              INDEX OF EXHIBITS
      RAYMOND THOMPSON,                )                          4
                                       )                            Defendant's Exhibit C                          Page 23
                                                                  5 Defendant's Exhibit D                          Page 26
             Plaintiff,                )                            Defendant's Exhibit E                          Page 29
                                       )                          6 Defendant's Exhibit F                          Page 29
      v.                               ) No. 4:23-cv-00133 SRW      Defendant's Exhibit G                          Page 29
                                                                  7 Defendant's Exhibit H                          Page 29
                                       )                            Defendant's Exhibit I                          Page 59
      JOSHUA COCKRELL AND ROBERT       )                          8 Defendant's Exhibit J                          Page 69
      GERHOLDT,                        )                            Defendant's Exhibit K                          Page 82
                                       )                          9 Defendant's Exhibit L                          Page 98
                                                                    Defendant's Exhibit M                          Page 102
             Defendants.                                         10 Defendant's Exhibit N                          Page 107
                                                                    Defendant's Exhibit O                          Page 123
                                                                 11 Defendant's Exhibit P                          Page 127
                                                                    Defendant's Exhibit Q                          Page 127
                                                                 12 Defendant's Exhibit R                          Page 127
                                                                    Defendant's Exhibit S                          Page 127
                 DEPOSITION OF RAYMOND THOMPSON                  13 Defendant's Exhibit T                          Page 127
                                                                    Defendant's Exhibit U                          Page 127
                        December 6, 2023                         14 Defendant's Exhibit V                          Page 127
                                                                    Defendant's Exhibit W                          Page 136
                                                                 15 Defendant's Exhibit X                          Page 161
              Reporter:   Jude Arndt, CSR, CCR, RPR                 Defendant's Exhibit Y                          Page 163
                                                                 16 Defendant's Exhibit Z                          Page 163
                          CSR No. 084-004847                        Defendant's Exhibit AA                         Page 167
                          CCR No. 1450                           17 Defendant's Exhibit BB                         Page 167
                                                                    Defendant's Exhibit CC                         Page 170
                                                                 18 Defendant's Exhibit DD                         Page 170
                                                                    Defendant's Exhibit EE                         Page 170
                                                                 19 Defendant's Exhibit FF                         Page 170
                                                                    Defendant's Exhibit GG                         Page 170
                                                                 20
                                                                              (Exhibit was retained by counsel.)
                                                                 21
                                                                 22
                                                                 23
                                                                 24
                                                                 25


                                                            2                                                                 4
  1              DEPOSITION OF RAYMOND THOMPSON, taken            1            [10:05 a.m.]
    pursuant to Notice of Taking Deposition, before Jude
  2 Arndt, a Certified Shorthand Reporter and Certified           2        The witness, RAYMOND THOMPSON, first having been
    Court Reporter, at 7700 Bonhomme Avenue, Suite 750, St.
  3 Louis, Missouri, on December 6, 2023.
                                                                  3   duly sworn, testified as follows:
  4                                                               4                 EXAMINATION
                    APPEARANCES OF COUNSEL
  5
                                                                  5   BY MS. ROBERTSON:
  6 On Behalf of Plaintiff:                                       6        Q. Good morning, Mr. Thompson.
           Margulis Gelfand
  7        7700 Bonhomme Avenue, Suite 750                        7        A. Good morning.
           St. Louis, MO 63105                                    8        Q. You and I haven't formally met, but we've
  8        314-390-0230
           By:   Justin K. Gelfand                                9   spent the last couple of days together.
  9              justin@margulisgelfand.com                      10        A. Yes.
                 Stone T. Hendrickson
 10              stone@margulisgelfand.com                       11        Q. My name is Cate Robertson, and I represent
 11        Margulis Gelfand
           1325 G Street, N.W., Suite 500
                                                                 12   Officers Gerholdt and Cockrell, whom you've met over
 12        Washington, D.C. 20004                                13   the last couple of days.
           202-975-0895
 13        By:   Greg Bailey (via Zoom)
                                                                 14        A. Right.
                 greg@margulisgelfand.com                        15        Q. Would you state and spell your name for
 14
    On Behalf of Defendants:                                     16   the record?
 15        Reichardt, Noce & Young LLC                           17        A. Raymond Thompson. R-A-Y-M-O-N-D
           12444 Powerscourt Drive, Suite 160
 16        St. Louis, MO 63131                                   18   T-H-O-M-P-S-O-N.
           314-789-1199                                          19        Q. Do you have a middle initial?
 17        By:   Catherine Robertson
                 cmr@reichardtnoce.com                           20        A. Yeah. My middle name is Anthony, A.
 18                                                              21   Yeah.
 19
 20                                                              22        Q. I think you have heard your attorney
 21                                                                   probably explain to the other witnesses over the last
                                        EXHIBIT
                                                                 23
 22
 23                                                              24   couple of days some ground rules for depositions.
 24
 25
                                                                 25        I don't have a whole lot more to say
                                               18

                                                                                                   1 (Pages 1 to 4)
Golkow Litigation Services
           Case: 4:23-cv-00133-SRW            Doc. #: 39-10THOMPSON
                                               RAYMOND        Filed: 01/11/24         Page: 2 of 76 PageID
                                                       #: 817
                                                          5                                                             7
  1   differently.                                              1        A. Okay. Right.
  2        A. Okay.                                             2        Q. Did you review any documents?
  3        Q. This gentleman is taking down everything          3        A. No.
  4   we're saying, so it's very important that we not talk     4        Q. What is the address of your primary
  5   over one another so a clear record is made.               5   residence?
  6        Do you understand that?                              6        A. 1209 Cottagemill Drive, Manchester,
  7        A. I do.                                             7   Missouri, 63021.
  8        Q. Do you understand you have to answer out          8        Q. Is that in St. Louis County?
  9   loud, yes or no? You can't -- it can't be shakes of       9        A. Yes.
 10   the heads, uh-huhs and huh-uhs, because that doesn't     10        Q. Was that your primary residence in 2022?
 11   come across clear in the record?                         11        A. Yes.
 12        A. Right.                                           12        Q. How long have you lived there?
 13        Q. Have you ever had your deposition taken          13        A. I think 22 or 23 years.
 14   before?                                                  14        Q. Do you own or rent?
 15        A. I don't believe so.                              15        A. Own.
 16        Q. Is there any reason you can't tell me the        16        Q. Has anyone ever lived there with you?
 17   truth today?                                             17        A. I have a -- I have shared custody with my
 18        A. No.                                              18   15-year-old daughter, Abigail Marie Thompson, and she
 19        Q. You're well-rested?                              19   is there basically 40, 50 percent of the time.
 20        A. Yeah.                                            20        And my cousin, who is Kevin Kelly. He's
 21        Q. Not under the influence of any medicine or       21   divorced, he stays there in between. He works
 22   drug that affects your memory?                           22   out-of-state a lot, with construction, so he'll stay
 23        A. No.                                              23   there periodically as well.
 24        Q. Not under any drug or medication that            24        Q. Do you -- did Mr. Kelly stay with you in
 25   affects your ability to tell the truth?                  25   October of 2022?

                                                          6                                                             8
  1       A. No.                                                1        A. He -- he was there -- I don't believe that
  2       Q. Can we agree that if you don't understand          2   night, but he was there after, shortly after. He was
  3   a question I have asked, which will probably happen at    3   working on a job, and he was working the refinery in
  4   some point because lawyers can be wordy --                4   Illinois, and so he was staying over there, and then
  5       A. Right.                                             5   he -- I think he came back a couple of days after this
  6       Q. -- you will let me know that you didn't            6   incident occurred.
  7   understand my question?                                   7        Q. To the best of your knowledge, Mr. Kelly
  8       A. I will.                                            8   was not present at your residence in your yard --
  9       Q. And if you didn't hear me, you'll let me           9        A. No.
 10   know?                                                    10        Q. -- on October 22nd, 2022?
 11       A. Yes.                                              11        A. Right. No, he was not.
 12       Q. And if you would like me to rephrase it,          12        Q. And same for October 23rd, he was not
 13   you'll let me know?                                      13   there?
 14       A. I will.                                           14        A. Correct.
 15       Q. And you understand you're under oath              15        Q. Since 2019, have you -- have you owned or
 16   today?                                                   16   rented any other real property?
 17       A. I do.                                             17        A. I -- I own other houses, yeah.
 18       Q. You agree to tell me the truth?                   18        Q. Where are those located?
 19       A. Yes.                                              19        A. I have two houses in Florida. I have
 20       Q. Did you do anything to prepare for your           20   property in Florida. I have property in Beaufort,
 21   deposition?                                              21   Missouri. I have property in Arizona. Parker Canyon
 22       A. Umm. Just spoke to my attorneys.                  22   Lake.
 23       Q. And throughout the course of today I don't        23        Q. What's the address of the Beaufort,
 24   want to know anything you've said to your attorneys;     24   Missouri, property?
 25   okay?                                                    25        A. 3676 Fox Creek Road.

                                                                                               2 (Pages 5 to 8)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW          Doc. #: 39-10THOMPSON
                                            RAYMOND        Filed: 01/11/24        Page: 3 of 76 PageID
                                                    #: 818
                                                      9                                                           11
  1       Q. How long have you owned that property?         1       A. No.
  2        A. Three -- three years, I believe, three or     2       Q. And just to keep it simple, would it be
  3   four years.                                           3   okay -- we know what night we're talking about here.
  4        Q. I don't want to put words in your mouth,      4       A. Right.
  5   but since 2020? Does that sound right? Or 20 --       5       Q. If I just say October 22nd --
  6        A. It was after -- I believe it's about --       6       A. Right.
  7   believe it was later than that.                       7       Q. -- from here on out, you know I mean
  8        Q. Okay.                                         8   2022?
  9        A. I can't -- I can't remember when I            9       A. Right. Of course.
 10   actually closed on it, but it was after that, I      10            [Interruption by the reporter.]
 11   believe.                                             11       Q. It's okay. It happens to everybody.
 12       Q. Are you currently married?                    12   That's just how we talk.
 13        A. No. Divorced.                                13       A. Yeah. Okay.
 14       Q. You're divorced?                              14       Q. And it's -- nobody -- you know, I might
 15        A. Yeah.                                        15   say is that a yes or something, and it's not meant to
 16       Q. What was the name of your spouse?             16   be offensive. It's just so we have a clear --
 17        A. Carrie Thompson.                             17       A. It's just -- if you ask the question, and
 18       Q. When did you divorce?                         18   you know, when you ask another question it seems
 19        A. 2011.                                        19   redundant, but -- You know, okay.
 20        Q. Any other spouses?                           20   BY MS. ROBERTSON:
 21        A. No.                                          21       Q. It's just the nature of how this goes.
 22       Q. And you mentioned you have a daughter,        22       A. Okay. All right. Sorry.
 23   Abigail?                                             23       Q. No. You're okay.
 24        A. Yeah.                                        24       Are you employed?
 25        Q. Do you have any other children?              25       A. I am.

                                                     10                                                           12
  1        A. No.                                           1        Q. How are you employed?
  2        Q. Do you have any siblings?                     2        A. By Happy Tree Service.
  3        A. I do. I have three siblings. Jeremiah         3        Q. What is your position with Happy Tree
  4   Thompson, Kimberly Thompson, and Ashley Thompson.     4   Service?
  5        Q. Do Kimberly or Ashley live in Missouri?       5        A. Co-owner.
  6        A. Kimberly lives in Missouri, and Jeremiah      6        Q. Who do you own the business with?
  7   lives in Missouri, and Ashley lives in Florida.       7        A. My brother Jeremiah Thompson.
  8        Q. Does Kimberly -- whereabouts does Kimberly    8        Q. What kind of business is Happy Tree
  9   live?                                                 9   Service?
 10        A. Robertsville, Missouri.                      10        A. We do tree -- tree work. Commercial and
 11        Q. Was she at your residence on October 22nd    11   residential tree removals, tree maintenance, tree
 12   or 23rd of 2022?                                     12   spraying. All that sort of stuff.
 13        A. No.                                          13        Q. What are your job duties?
 14        Q. What about Ashley?                           14        A. I manage the crews, and I dispatch the
 15        A. No.                                          15   crews, and I do sales.
 16        Q. Are your parents still living?               16        Q. Anything else?
 17        A. Yes.                                         17        A. I mean, as a business owner, you know, I
 18        Q. What are their names?                        18   do a variety -- sometimes I fill in, you know.
 19        A. Ray and Mary Thompson.                       19        Q. What's your educational background?
 20        Q. Where do they live?                          20        A. High school and, I guess, probably junior
 21        A. Robertsville, Missouri.                      21   college. I have 130-something credit hours.
 22        Q. Were either of your parents at your          22        Q. And one just ground rule I forgot to
 23   residence on October 22nd --                         23   mention. We're still earlier on in this, but if you
 24        A. No.                                          24   need a break at some point, just let us know.
 25        Q. -- or 23rd, 2022?                            25        A. I will.

                                                                                         3 (Pages 9 to 12)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW              Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 4 of 76 PageID
                                                        #: 819
                                                          13                                                            15
  1        Q. The only thing I'd ask is, if I've asked a         1   valuation?
  2   question, if a question is pending, please answer          2        A. I'm a collector, so I -- I own many
  3   before we take the break.                                  3   motorcycles. I'm a collector, so I shop around for
  4        Fair enough?                                          4   parts for various vintage motorcycles. And I know lots
  5        A. Sure. Yeah.                                        5   of -- I have lots of friends that I ride motorcycles
  6        Q. Do you possess any diplomas or                     6   with, or, you know, talk to them about motorcycles.
  7   certificates?                                              7        Q. Have you ever served as an expert for
  8        A. Work-related, or education? Like --                8   anyone with respect to motorcycle valuation?
  9        Q. Both.                                              9        A. No.
 10        A. Oh. High school and I have various                10        Q. Do you have any training in motorcycle
 11   work-type dip -- certificates and things like that,       11   valuation?
 12   like CPR training, just various, you know, like           12        A. No.
 13   work-related-type certificates. Pesticide sprays,         13        Q. And you just kind of mentioned a little
 14   spraying, things like that.                               14   bit about owning motorcycles.
 15        Q. What did you -- what did you study in             15        Do you own any vehicles currently?
 16   junior college?                                           16        A. Own vehicles?
 17        A. Biology. It was Missouri State. Not               17        Q. Uh-huh.
 18   junior college.                                           18        A. Yes.
 19        Q. I'm sorry.                                        19        Q. What do you own?
 20        A. Yeah.                                             20        A. I have a Jeep Gladiator, a 2022 Jeep
 21        Q. Do you have any special skills as a               21   Gladiator. I have a 1997 Jeep Wrangler. I have a 2000
 22   mechanic?                                                 22   Jeep -- 2014 Jeep Wrangler. I have a 1965 Corvette
 23        A. No. I mean, I occasionally help my                23   Stingray. I have a Harley-Davidson -- 2003 anniversary
 24   mechanic work on trucks and things like that, but I'm     24   Harley-Davidson trike. I have a custom-built low
 25   not a mechanic or -- yeah.                                25   Hardtail motorcycle. I have a 2002 Harley-Davidson

                                                          14                                                            16
  1        Q. Do you have any special skills pertaining          1   Softail. And I have numerous Harley-Davidson and/or
  2   to vehicle appraisal?                                      2   Triumph Indian 1970s models Enduros motorcycles. I
  3        A. No.                                                3   can't even remember how many. There's probably 10 or
  4        Q. Do you have any certifications as a                4   15 of them.
  5   mechanic?                                                  5        Q. What year is the custom Hardtail?
  6        A. No.                                                6        A. 2005.
  7        Q. Any certifications as a vehicle appraiser?         7        Q. And you mentioned you had numerous other
  8        A. No.                                                8   Harley-Davidson or Indian 1970s motorcycles?
  9        Q. Have you ever been a plaintiff or a                9        A. Yeah, Enduros. I have probably 10 -- 10
 10   defendant in a lawsuit before?                            10   to 15 of them.
 11        A. No.                                               11        Q. Where do you -- where do you keep those?
 12        Q. Have you ever pled guilty to a felony or          12        A. My parents have a farm in Robertsville,
 13   misdemeanor?                                              13   and they have a storage -- storage barns.
 14        A. No.                                               14        Q. Are you the registered owner of those 10
 15        Q. Do you consider yourself an expert in             15   to 15?
 16   motorcycle repair?                                        16        A. Yeah. Yes. Most of them aren't
 17        A. No.                                               17   registered, you know, they're vintage. So I -- you
 18        Q. Do you consider yourself an expert in             18   know, you just purchase them on eBay. They're Enduros.
 19   motorcycle valuation?                                     19        Q. What does Enduro mean?
 20        A. Sort of, yeah. I would say to a degree.           20        A. It's off-road, and -- and they are like
 21   I'm an that's true, so I have motorcycles, and I have a   21   dirt bikes or street legal. You can get them street
 22   pretty extensive knowledge of values and things like      22   legal.
 23   that.                                                     23        I don't currently have any of them street legal,
 24        Q. What quali -- on what qualifications do           24   but --
 25   you consider yourself an expert in motorcycle             25        Q. You cannot, did you say?


                                                                                             4 (Pages 13 to 16)
Golkow Litigation Services
           Case: 4:23-cv-00133-SRW            Doc. #: 39-10THOMPSON
                                               RAYMOND        Filed: 01/11/24          Page: 5 of 76 PageID
                                                       #: 820
                                                         17                                                             19
  1        A. You can. You can either get them street           1   bought the Jeep -- the Gladiator in 2022, and I had
  2   licensed and street legal, or you can -- they are made    2   the -- I had a 2004 Ford F-150 that I've sold. And
  3   for off-road and on-road usage.                           3   then I had the Jeep Wrangler, 2014 Jeep Wrangler.
  4        Q. And the ones you own are not street legal?        4        The 1997 is in Florida -- I keep in Florida at
  5        A. Those -- those are not, no. But the 2005          5   my house there.
  6   Hardtail, the 2002 Softail, and the 2003 custom trike,    6        Q. So between October of 2022 and March of
  7   anniversary trike, is -- those are street legal           7   2023, you had the 2004 Ford F-450?
  8   motorcycles.                                              8        A. F-150.
  9        Q. How long -- how long have you owned the           9        Q. It's a 150?
 10   Hardtail?                                                10        Do you also own a 450?
 11        A. I can't remember exactly. I'm going to           11        A. No. I mean, I probably have -- I have
 12   say 10 years. I'm going to guess 10 years.               12   numerous vehicles with the company I own, so -- as
 13        Q. You're not the original owner?                   13   well -- but those are separate -- the company-owned
 14        A. No.                                              14   vehicles.
 15        Q. What about the 2002 Softail?                     15        Q. Between October of 2022 and March of 2023,
 16        A. I was the original owner. I bought that          16   were you without a vehicle, aside from the Harley?
 17   in 2002. It was the first new motorcycle I've ever       17        A. Only the trike I was without. Yeah.
 18   bought.                                                  18        Q. Okay. Which vehicle did you use for your
 19        Q. How long have you owned the other 10 to 15       19   daily commute between October of 2022 and March of
 20   motorcycles you mentioned?                               20   2023?
 21        A. I acquired them over the last five years.        21        A. Probably the F-150 and the -- yeah, F-150.
 22   Bought them at, you know, different auctions and         22        Q. Do you use any of the vehicles for
 23   things. eBay auctions.                                   23   pleasure?
 24        Q. So you mentioned a 2003 Harley anniversary       24        A. The trike and the custom -- Harley trike,
 25   trike.                                                   25   and the 1965 Corvette.

                                                         18                                                             20
  1        A. Uh-huh.                                           1        Q. With respect to your business, does the
  2        Q. Is that the motorcycle that is mentioned          2   business own other vehicles?
  3   in your lawsuit?                                          3        A. They do -- it does, yeah.
  4        A. That's the one that was stolen, yes.              4        Q. Others that we haven't talked about?
  5        Q. Okay. And do you own any other trikes?            5        A. Well, they're work vehicles. So they're
  6        A. No.                                               6   big utility trucks, you know, so they're not daily
  7        Q. So if I say "trike" throughout this               7   drivers, no.
  8   deposition --                                             8        Q. Does your business use motorcycles for any
  9        A. I'll understand. It's unique, so it's --          9   business purposes?
 10   compared to all the other bikes, it's a very unique --   10        A. No.
 11        Q. That's the one we are talking about?             11        Q. How many motorcycles would you say you've
 12        A. Yeah. If you say trike, I'll know. It            12   owned over the course of your life?
 13   unique. Yeah.                                            13        A. That's hard to say. I've been riding
 14        Q. When did you purchase the trike?                 14   since I was a kid, so I've had many.
 15        A. I think -- I think in 2020 -- 2020, 2021.        15        Q. So the trike that forms the basis of this
 16   I would have to reference the paperwork. But it's on     16   lawsuit -- I would like to ask some specifics about the
 17   the checks, when I purchased it.                         17   trike.
 18        Q. In October -- October of 2022 through            18        A. Sure.
 19   March of 2023, did you have working vehicles?            19        Q. And so what is the make of the trike?
 20        And by that, I mean, did you have vehicles that     20        A. It's a Harley-Davidson.
 21   were operational, and that you could use for your        21        Q. What is the year?
 22   commute or errands or things like that?                  22        A. It's a 2003 anniversary, 100-year
 23        A. Like a car?                                      23   anniversary custom -- custom three-wheel motorcycle,
 24        Q. Yes.                                             24   trike.
 25        A. Yeah. I did. I had my Jeeps. Well, I             25        Q. I was going to ask you what's the specific

                                                                                            5 (Pages 17 to 20)
Golkow Litigation Services
           Case: 4:23-cv-00133-SRW            Doc. #: 39-10THOMPSON
                                               RAYMOND        Filed: 01/11/24         Page: 6 of 76 PageID
                                                       #: 821
                                                         21                                                             23
  1   model, but do you have anything to add?                   1   I did, you would have a hard time locating one. It
  2       A. Well, it's a low rider, so it's called a           2   would -- you would have to shop around, and you may
  3   low rider, would be the model. But it's been modified,    3   have to drive to another state to locate one.
  4   you know, because of my knees and deteriorating knees     4        Q. Do you know how many are available in the
  5   and stuff and old age. That's the reason I sought this    5   country, in the U.S.?
  6   bike out. And, you know, it's very special, and that's    6        A. I don't. I know I looked a long time for
  7   why I sought this one out. So --                          7   mine.
  8       Q. Does it have a trim level?                         8        Q. How long do you think you looked?
  9       A. A what?                                            9        A. Years.
 10       Q. A trim level?                                     10        Q. More than five years?
 11       So I'm -- I'm certain you know more about            11        A. Probably a couple. I mean, as my knees
 12   motorcycles than I do.                                   12   gradually got worse, I wanted a three-wheel bike, so it
 13       A. Okay.                                             13   took me several years to locate one. And when I did,
 14       Q. But for example, on a car, maybe there'll         14   it was in pieces, so I couldn't even locate a
 15   be a limited or a sport.                                 15   functioning anniversary model one.
 16       A. It's a 2003 anniversary low rider,                16        Q. Why did you want the 2003 --
 17   which -- that would be the model.                        17        A. Because it's a 100-year anniversary
 18       Q. Okay.                                             18   collector's item.
 19       A. Are you talking about the cubic inch              19        They make other trikes. This one is unique,
 20   motor?                                                   20   very unique.
 21       Q. Well, I was going to ask you what the             21            [Defendant's Exhibit C
 22   motor is, but I'll get to that in a second.              22            marked for identification.]
 23       A. Okay.                                             23   BY MS. ROBERTSON:
 24       Q. So do you know if in 2003, Harley-Davidson        24        Q. Mr. Thompson, I'm showing you what's been
 25   produced more than one level of 100-anniversary trike?   25   marked as Defendant's Exhibit C.

                                                         22                                                             24
  1        A. No. They produced numerous anniversary            1        Do you recognize that document?
  2   model, different -- there is a Hardtail, Softail, a       2        A. I do.
  3   Sportster. There's different models, but I believe        3        Q. How do you recognize that document?
  4   this is the only anniversary three-wheel trike that       4        A. This was the title that Nathan Rench
  5   they produced.                                            5   provided me when I purchased the motorcycle from him.
  6        Q. And so maybe folks have different colors,         6        Q. What is the --
  7   do you know, or are they all the same color of those      7            MR. GELFAND: I'm sorry to interrupt for a
  8   that were produced?                                       8   second.
  9        A. I'm not sure about that about that. This          9        Is C just the top page or the second page too?
 10   one is -- this one was the original black, with the      10            MS. ROBERTSON: No, I did -- I did single
 11   anniversary -- a lot of them were black or blue -- not   11   pages, so it's just the top page.
 12   specifically the trikes, but were black or blue, and     12            MR. GELFAND: Okay. Gotcha. Sorry to
 13   they had specific decals on them that indicated the      13   interrupt.
 14   anniversary. I had to locate some of those. It was       14            MS. ROBERTSON: That's okay.
 15   tough to locate many of the parts for that.              15   BY MS. ROBERTSON:
 16        Q. Okay. Do you know what colors the 2003           16        Q. Mr. Thompson, what is the VIN number on
 17   100th Anniversary trike came in?                         17   Exhibit C?
 18        A. I don't. I believe it was just black, but        18        A. 1HD1GDV353K323459.
 19   I can't -- I can't attest to that.                       19        Q. Is that the VIN number for the physical
 20        Q. Do you know how many 2003 100th                  20   embodiment of the trike we've been talking about?
 21   Anniversary custom trikes Harley-Davidson produced?      21        A. I would have to check, but I believe so.
 22        A. I don't. I can guesstimate how many are          22        Q. Do you have any reason to think that the
 23   available locally, which is very, very few, if any.      23   trike that you had had a different VIN?
 24        Q. When you say very few, what do you mean?         24        A. No.
 25        A. I mean if you were to go seek out one like       25            MS. ROBERTSON: Off the record.

                                                                                            6 (Pages 21 to 24)
Golkow Litigation Services
           Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 7 of 76 PageID
                                                        #: 822
                                                          25                                                            27
  1              [Discussion off the record.]                    1        Q. Is the date of sale reflected on that
  2   BY MS. ROBERTSON:                                          2   document?
  3         Q. Is it your position, Mr. Thompson --              3        A. 3-4-20. Or --
  4   strike that.                                               4        Q. If you look about two lines above your
  5         So when we're referring to the trike throughout      5   signature.
  6   this deposition, is it your understanding that the VIN     6            MR. GELFAND: (Indicating.)
  7   that you just read to me is the VIN that corresponds       7        A. Oh. Two lines above my signature.
  8   with that trike?                                           8   BY MS. ROBERTSON:
  9         A. I -- I'm not looking at the VIN on the            9        Q. Do you see the box that says assignment on
 10   trike. But I assume that that's -- yeah.                  10   the left?
 11         Q. Is it your position that you were the            11        A. Yes.
 12   owner of that motorcycle?                                 12        Q. And then kind of right across from the T,
 13         A. Yes.                                             13   what does that say?
 14         Q. Why is the -- is the motorcycle we are           14        A. Across --
 15   talking about commonly referred to as a trike?            15        Q. The T in the word assignment.
 16         A. Yes.                                             16        A. Oh, March 30th, 2020. Sorry. I see it
 17         Q. Why is it referred to that way?                  17   now. Sorry.
 18         A. It has three wheels, as opposed to two.          18        Q. Okay.
 19         Q. How did you come to own that trike               19        It says date of sale March 30th, 2020?
 20   motorcycle?                                               20        A. Yes.
 21         A. I spoke to another friend of mine who is a       21        Q. Does that refresh your recollection as to
 22   motorcycle enthusiast, and I told him I was looking for   22   the date you purchased the trike?
 23   one, I had been looking for one for a while.              23        A. Yeah. Yeah.
 24         And he said I know someone that has one, but        24        Q. Is that accurate?
 25   it's all in pieces in a garage out in Beaufort,           25        A. Yeah.

                                                          26                                                            28
  1   Missouri. And he -- you know, he may be willing to         1        Q. Did you purchase the trike from Nathan
  2   sell it.                                                   2   Rench?
  3        Q. What is the name of that friend?                   3        A. I did.
  4        A. Garrett Gist.                                      4        Q. Where did the sale take place?
  5        Q. What is the name of -- did you ultimately          5        A. In Union, Missouri.
  6   learn the name of the individual that had the              6        Q. Where at in Union?
  7   motorcycle that was in pieces in Beaufort?                 7        A. It was in -- I believe it's Highway 50 in
  8        A. Yeah, from Garrett. His name was Nathan            8   town, near a bank.
  9   Rench.                                                     9        Q. Did the sale take place at a residence or
 10            [Defendant's Exhibit D                           10   Nathan -- you know, a business, or just a parking lot
 11            marked for identification.]                      11   or something?
 12   BY MS. ROBERTSON:                                         12        A. It was just a parking lot.
 13        Q. Mr. Thompson, do you recognize Defendant's        13        Q. Do you recall the price of the sale?
 14   Exhibit D?                                                14        A. $5,000.
 15        A. I do.                                             15        Q. Were there any terms of the sale?
 16        Q. How do you recognize that?                        16        A. Yeah. I was to pay off -- he had two
 17        A. It's the back of the title that Nathan            17   liens on the bike, and I was to pay those liens and
 18   provided when I purchased the motorcycle from him.        18   give him the balance of the $5,000 once the liens were
 19        Q. Do you recognize your signature on that           19   satisfied.
 20   document?                                                 20        Q. Who were the lienholders?
 21        A. I do.                                             21        A. Jimmy Keye of Union, Missouri, had a lien
 22        Q. Where -- is your signature located under a        22   on the bike, and the State of Missouri had a lien on
 23   particular box?                                           23   the bike.
 24        A. It's signature of purchaser. It's in that         24        Q. Do you recall how much Mr. Keye's lien
 25   box.                                                      25   was?

                                                                                            7 (Pages 25 to 28)
Golkow Litigation Services
           Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 8 of 76 PageID
                                                        #: 823
                                                          29                                                             31
  1         A. I don't. It's on one of the check -- one          1        A. No.
  2   of your exhibits.                                          2        Q. Did Mr. Keye tell you anything about Mr.
  3         Q. Do you know how much the State of                 3   Rench?
  4   Missouri's lien was?                                       4        A. Other than he had given him money in
  5         A. I don't. It was -- it's -- there again,           5   regard to this.
  6   it's on --                                                 6        Q. Have you spoken with Mr. Keye since March
  7         Q. Well, we'll help you out there.                   7   5th of 2020?
  8         A. Yeah. You know. You have the documents.           8        A. I think so, yeah, a couple of times.
  9   You'll know exactly how much they are.                     9        Q. What was the nature of your conversations
 10         Q. I'll mark -- oops.                               10   or communications with Mr. Keye?
 11         Let's mark E, F, G, and H.                          11        A. I think I told -- I talked to -- I tried
 12             [Defendant's Exhibit E, F, G, and H             12   to talk to him one time, stopped by, and talked to him
 13             marked for identification.]                     13   one in time, pertaining to -- telling him that the City
 14   BY MS. ROBERTSON:                                         14   of Manchester and that Nathan, of course, and stealing
 15         Q. Mr. Thompson.                                    15   the motorcycle.
 16         A. Yes.                                             16        Q. I didn't quite hear you. Could you repeat
 17         Q. Does any of the exhibits, E, F, G, or H,         17   that?
 18   refresh your recollection as to the amount of the liens   18        A. The City of Manchester and Nathan, you
 19   that Mr. Keye or the State of Missouri held on the        19   know, stole the motorcycle, and that he may have to
 20   trike?                                                    20   provide documents or appear as a witness.
 21         A. Yes.                                             21        Q. When was the last time you spoke with Mr.
 22         Q. What was the amount of Mr. Keye's lien?          22   Keye?
 23         A. $2,175.                                          23        A. It's a couple years, or a year. I don't
 24         Q. Are you referring to Exhibit F? Or --            24   remember.
 25         A. I am.                                            25        Q. Have you spoken to Mr. Keye in 2023?

                                                          30                                                             32
  1        Q. Are you referring to Exhibit E? It's F?            1       A. No, I don't believe so.
  2        A. F. F.                                              2       Q. On Exhibit F, there's some handwriting at
  3        Q. Okay.                                              3   the bottom.
  4        What is Exhibit F?                                    4       Do you see that?
  5        A. That is a check that I paid Mr. Keye to            5       A. Yeah. The circled?
  6   satisfy a lien that Nathan had on this 2003 anniversary    6       Q. Yes.
  7   trike.                                                     7       A. Yes.
  8        Q. What is the date of that check?                    8       Q. What does that handwriting say? Or --
  9        A. March 20th, two thousand -- March 5th,             9       A. Proof of payment for motorcycle. Buyer
 10   2020.                                                     10   paid this lien.
 11        Q. When -- when did the process of purchasing        11       Q. Do you know whose handwriting that is?
 12   this trike begin?                                         12       A. It's Jeremiah Thompson's, my brother.
 13        A. I'm not sure. It was a process. But --            13       Q. Okay.
 14        Q. Is March 5th, 2020, the date that you --          14       And Exhibit G -- do you recognize Exhibit G?
 15   excuse me -- paid Mr. Keye?                               15       A. I do.
 16        A. Yes. I was not told he had liens on it,           16       Q. What's Exhibit G?
 17   initially. Nathan deceived me. And the bike was all       17       A. That's the check I wrote to Nathan, the
 18   in pieces. You know, I bought -- I purchased it as        18   balance of the $5,000.
 19   incomplete, in pieces, many missing pieces.               19       Q. What is that check -- what is the date of
 20        Q. Did you -- how did you transfer this check        20   that check?
 21   to Mr. Keye?                                              21       A. March 4th, 2020.
 22        A. I met him in Union prior to me and                22       Q. Is that the date that you provided Mr.
 23   Nathan -- giving Nathan the final check, because I had    23   Rench the check?
 24   to satisfy the liens before I paid Nathan the balance.    24       A. I believe so, yes.
 25        Q. Had you ever met Mr. Keye before?                 25       Q. How did -- how did you provide that to

                                                                                             8 (Pages 29 to 32)
Golkow Litigation Services
           Case: 4:23-cv-00133-SRW            Doc. #: 39-10THOMPSON
                                               RAYMOND        Filed: 01/11/24         Page: 9 of 76 PageID
                                                       #: 824
                                                         33                                                             35
  1   him? Via mail, in-person?                                 1        Q. What was the number again?
  2        A. In-person.                                        2            MR. GELFAND: It's on one on Exhibit E.
  3        Q. Where did you meet him to --                      3        A. Exhibit E. $453 -- I can't read the rest.
  4        A. In Union.                                         4   But the total was $5,000.
  5        Q. At a business or a residence or something         5   BY MS. ROBERTSON:
  6   like that?                                                6        Q. Okay.
  7        A. I think it was in a PNC Bank parking lot.         7        And how did you pay the state? Check, credit
  8   He wanted to cash the check immediately.                  8   card, cash --
  9        Q. When was possession of the motorcycle             9        A. Debit card. I went with Nathan Rench to
 10   transferred to you from Mr. Rench?                       10   the license bureau, government building in Union,
 11        A. It was after that. Because it was in             11   Missouri, and I paid that with the debit card.
 12   pieces -- I can't remember the exact date, but it was    12        Q. And is March 30th of 2020 the date you
 13   shortly after this, I went and picked it up in pieces.   13   received the title from Mr. Rench?
 14   My mechanic brought a trailer -- a mechanic from work    14        A. Yes.
 15   brought a trailer and boxes, and we loaded up all the    15        Q. So you've mentioned the trike was in
 16   material, all the parts.                                 16   pieces at the time of your purchase?
 17        Q. What is the name of your mechanic?               17        A. That's correct. There were lots of pieces
 18        A. Derick Compton.                                  18   missing.
 19        Q. How do you spell that?                           19        Q. What was missing?
 20        A. D-E-R-I-C-K, C-O-M-P-T-O-N.                      20        A. Handlebars, wiring harness, seat -- I
 21        Q. Does Mr. Compton work for Happy Tree             21   believe a seat. Various pieces. I can't remember them
 22   Service?                                                 22   all.
 23        A. Yes.                                             23        Q. Was the frame intact?
 24        Q. How long has he been so employed?                24        A. The frame and chassis were intact. It had
 25        A. 10 years.                                        25   not run in years.

                                                         34                                                             36
  1       Q. Is that Jeremiah Thompson's handwriting at         1       Q. Was the engine included?
  2   the bottom?                                               2       A. Yes. There was pieces missing, and I
  3       A. Yes.                                               3   don't believe there was a battery. I don't -- and I
  4       Q. And going back to Exhibit E.                       4   think there were some -- maybe the primary transmission
  5       Is that Jeremiah Thompson's handwriting on            5   case cover was missing.
  6   Exhibit E as well?                                        6       Q. Did the -- did the motorcycle -- strike
  7       A. Yes.                                               7   that.
  8       Q. And on Exhibit H, is that Jeremiah                 8       Is the fork part of the frame?
  9   Thompson's handwriting?                                   9       A. Yes.
 10       A. Yes.                                              10       Q. Is that all one piece, or is that a
 11       Q. When did you sign Exhibit D?                      11   separate piece?
 12       A. March 30th.                                       12       A. No, separate pieces.
 13       Q. Is that -- did you have possession of the         13       Q. Did the motorcycle come with the fork when
 14   trike before or after March 30th?                        14   you purchased it?
 15       A. I think it was the same day.                      15       A. It had forks, and the chassis was there.
 16       Q. What was the total purchase price of the          16       Q. If I didn't -- if I asked you this before,
 17   trike?                                                   17   I apologize.
 18       A. $5,000.                                           18       What type of engine did the trike have?
 19       Q. I'll submit to you that I have got my             19       A. It's a Harley-Davidson 96 cubic inch.
 20   calculator out here, and I have added together $2,175    20       Q. Is it fair to say the motorcycle is
 21   and $2,366.37, and the total is $4,541.37.               21   inoperable at your time --
 22       A. And then I paid the state lien if you             22       A. Yes, it was inoperable.
 23   have --                                                  23       Q. Were you able to make any inspections of
 24       Q. The remainder of --                               24   the engine or the transmission, or some of those moving
 25       A. Right. The $453.83. It totals $5,000.             25   parts?

                                                                                            9 (Pages 33 to 36)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 10 of 76 PageID
                                                        #: 825
                                                          37                                                             39
  1        A. I -- my mechanic did, made some                    1       Q. Do you know where the parts were purchased
  2   assessments for me. Derick Compton.                        2   from?
  3        Q. Is it fair to say you were unable to test          3       A. Different -- different motorcycle supply
  4   drive it?                                                  4   places. eBay.
  5        A. Yes.                                               5       Q. And you have no recollection of how much
  6        Q. You mentioned your mechanic brought a              6   you paid Mr. Blumhorst for his labor?
  7   trailer.                                                   7       A. I gave him numerous payments, but at one
  8        Is that how you transported the motorcycle --         8   point I remember giving him $400, and then I gave him a
  9        A. Yes.                                               9   couple hundred a few other times.
 10        Q. -- from Mr. Rench?                                10       He kind of gave me a friend discount, and I told
 11        A. Correct.                                          11   him I wasn't in that big of a hurry, so -- I knew he
 12        Q. Where did you take it?                            12   had other projects, so --
 13        A. To a friend of mine who works on                  13       Q. Do you know how much in total you paid Mr.
 14   motorcycles.                                              14   Blumhorst for labor?
 15        Q. What's that person's name?                        15       A. I don't.
 16        A. Aaron -- I can't remember his last name           16       Q. Was it less than $1,000?
 17   now. I think it's --                                      17       A. It probably was right around $1,000.
 18        Q. Phillips?                                         18       Q. Do you know how much you paid Mr.
 19        A. No. I can look at my phone.                       19   Blumhorst or that you spent yourself for parts?
 20        Blumhorst. Blumhorst.                                20       A. Parts, paint -- paint and decals, you
 21        Q. Could you spell that for me? I'm sorry.           21   know, several thousand.
 22        A. B-L-U-M-H-O-R-S-T. In Washington,                 22       Q. More or less than $5,000?
 23   Missouri. He has a garage where he works on               23       A. Probably less.
 24   motorcycles.                                              24       Q. At some point did the motorcycle become
 25        Q. What's the name of his garage?                    25   operational?

                                                          38                                                             40
  1        A. He just privately builds motorcycles.              1         A. Yes.
  2        Q. Out of his residence?                              2         Q. When?
  3        A. Out of -- yes.                                     3         A. I would say Aaron finished it maybe eight
  4        Q. Did you pay Mr. Blumhorst?                         4   months to a year from purchase. From when I delivered
  5        A. Yeah, various different payments, but              5   it to him.
  6   yeah, over time.                                           6         Q. So sometime -- when did you deliver it to
  7        Q. How much did you pay Mr. Blumhorst?                7   him?
  8        A. I don't know. I paid him periodically, as          8         A. I don't remember. It was shortly after
  9   he did -- needed -- when he needed parts, he would give    9   purchase date.
 10   me an update. I told him to take his time, because he     10         Q. So is it fair to say the motorcycle became
 11   had other projects he was working on.                     11   operational sometime around the end of 2020 and the
 12        Q. How did you pay Mr. Blumhorst --                  12   beginning of 2021?
 13   Blumhorst?                                                13         A. I would say that's -- I can't remember.
 14        A. Cash.                                             14   But I would say that sounds -- 2021 sounds accurate.
 15        Q. Did Mr. Blumhorst provide you any receipt         15         Q. Were there any other costs associated with
 16   for the work he was --                                    16   making the motorcycle operational that we have not yet
 17        A. For the parts, he did.                            17   discussed?
 18        Q. Do you have those receipts?                       18         A. Paint. I had it painted. I put -- had to
 19        A. I don't -- I don't know. I wouldn't know          19   put a tire on the front. Danny Arnold, who is
 20   where they're at.                                         20   another -- he builds Harley-Davidsons, he put the tire
 21        Q. Who purchased the parts that were needed?         21   on the front. That was $300.
 22        A. Aaron did, some of them. And I reimbursed         22         Q. What was the name of the individual?
 23   him.                                                      23         A. Danny Arnold.
 24        And then other parts, I gave him my credit or        24         Q. How do you know him?
 25   debit card to use.                                        25         A. Working on motorcycles. That's his job.

                                                                                           10 (Pages 37 to 40)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 11 of 76 PageID
                                                        #: 826
                                                          41                                                            43
  1   He has a garage of his own.                                1        Some of the more basic stuff, I did myself.
  2        Q. What's the name of his garage?                     2        Q. And I know we've talked a little bit about
  3        A. I don't know. I don't know the name of             3   this, and you've mentioned some things, but just so I
  4   that. He just -- he works out of his -- he's got a         4   understand. So the bike comes in in pieces. What --
  5   big, detached garage from his home where he works on       5   did you have to replace the engine, or was it able to
  6   Harley-Davidsons exclusively.                              6   be repaired?
  7        Q. Where does Mr. Arnold live?                        7        A. It was able to repaired.
  8        A. Catawissa, Missouri.                               8        Q. And the transmission, was that -- did that
  9        Q. Do you know his address?                           9   have to be replaced, or was it able to be repaired?
 10        A. I don't.                                          10        A. It was able to repaired.
 11        Q. Is the $300 you paid Mr. Arnold -- was            11        Q. Did any repairs need to be made to the
 12   that included in the $5,000 you told me for parts         12   frame?
 13   earlier?                                                  13        A. No. It needed a tire. It needed
 14        A. Probably. And then I paid Velocity Motor          14   handlebars. There was numerous parts it needed. It
 15   Sports to paint the motorcycle, and put the anniversary   15   needed wiring.
 16   decals on it.                                             16        So it was not operational when I purchased it,
 17        And I believe that was -- the paint, I believe,      17   and the -- like the gas tank was not on the bike.
 18   was around $1,100, and then -- to paint the chassis the   18   So -- and many parts missing when I purchased it.
 19   frame.                                                    19        Q. Was -- a gas tank came with it?
 20        And I believe the -- I forgot how much the           20        A. With it.
 21   decals. He had to search high and low to locate the       21        Q. It just was not attached?
 22   2003 anniversary decals. I forgot how much they were,     22        A. Yeah.
 23   in addition to the paint.                                 23        Q. Was that gas tank able to used?
 24        Q. Were the costs you just mentioned, the            24        A. Yeah. Once I got it repaired, yes.
 25   $1,100 for the paint and the decals, included in the      25        Q. Were any other mechanical components that

                                                          42                                                            44
  1   $5,000 you told me earlier?                                1   we have not yet discussed -- were there any other
  2        A. I don't think so. I think that was in              2   mechanical components that we have not yet discussed
  3   addition to that.                                          3   that needed to be repaired or replaced?
  4        Q. How much additional was that cost?                 4        A. Yeah. My -- Aaron would know a lot more
  5        A. Well, the paint was $1,100.                        5   about what he replaced, but there were lots of -- you
  6        Q. How much were the decals?                          6   know, ignition, things like that, that needed to be
  7        A. I can't remember, offhand. That's                  7   replaced.
  8   Velocity Motor Sports.                                     8        Q. Any other electronic components that we
  9        Q. So I have got $5,000 you told me for               9   have not discussed? I know you mentioned the wiring
 10   parts. Right around $1,000 for labor. That brings it      10   harness.
 11   to $6,000. $1,100 for paint brings it to $7,100, plus     11        A. Uh-huh.
 12   an unknown amount for decals.                             12        Q. Anything else?
 13        Is that correct?                                     13        A. There was a few things, yes.
 14        A. That sounds correct.                              14        Q. Like what?
 15        Q. Would you say that all in all to bring the        15        A. I can't remember specifically, but --
 16   motorcycle operational was under $8,000?                  16        Q. You mentioned that this trike was the
 17        A. I would say so, yeah.                             17   100th Anniversary.
 18        Q. And do you have any receipts, check stubs,        18        But I think you said it was special.
 19   credit card records for these repairs?                    19        A. Very special.
 20        A. I could probably provide the paint receipt        20        Q. Can you tell me a little bit more about
 21   from Velocity Motor Sports.                               21   what was special about the trike?
 22        The rest of them are mostly friends, you know,       22        A. To me, I -- you know, I had searched a
 23   like Danny Arnold is a friend that works on bikes.        23   long time for this model, so it was, you know -- I had
 24   Aaron Blumhorst is a friend that works on bikes. My       24   been looking for one for years. And locating one was
 25   mechanic at work did some work on the bike for me.        25   pretty great.


                                                                                           11 (Pages 41 to 44)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 12 of 76 PageID
                                                        #: 827
                                                          45                                                           47
  1        And even though, you know, it was in pieces and       1   my knees don't work like they used to, so this was --
  2   required repairs, I -- you know, it was -- I was           2   yeah, it was great.
  3   willing to do that.                                        3        And it was exactly what I wanted. So it was --
  4        I had put on numerous custom parts, like              4   yeah, it was great.
  5   handlebars, to fit me. There were custom pedals to fit     5        Q. Do you remember that ride?
  6   my height, weight.                                         6        A. I do.
  7        I had a custom air cleaner put on it that was         7       Q. Do you remember the route you took?
  8   laser engraved with a Bushmaster skull on it, so that      8        A. I took Highway N to Highway O to Old 66.
  9   was in addition. So that was very unique.                  9   And I rode Old 66 to Interstate 44, and I rode on
 10        But -- and there was lots of -- lots of              10   Interstate 44 to 141 to my home.
 11   different unique parts I put on it.                       11        Q. Do you remember the season?
 12        Q. Other than the -- strike that.                    12        A. Yeah, it was warm out. You know, I
 13        After the trike became operational, did you have     13   remember it was warm.
 14   the opportunity to ride it?                               14       Q. Do you know if there was foliage on the
 15        A. I -- I did. I mean, I was -- it was               15   trees?
 16   difficult, because I couldn't get -- Nathan had filed     16        A. I believe so, yeah.
 17   the fraudulent title, and I couldn't get legal plates     17        Q. Excuse me.
 18   put on it.                                                18            MR. GELFAND: Bless you.
 19        But I did occasionally ride it.                      19   BY MS. ROBERTSON:
 20        Q. When did you first -- when did you first          20        Q. Has the trike ever had license plates
 21   ride it?                                                  21   since your ownership of it?
 22        A. Once I -- once I got it back. Once Aaron          22        A. No.
 23   delivered it, once he completed it, I drove it.           23        Q. If you go back to Exhibit C. That's the
 24        He delivered -- he lives in Washington, so he        24   front page of the certificate of title.
 25   delivered it to my parents' farm in Robertsville, and I   25       Do you see where it says body style?

                                                          46                                                           48
  1   drove it back to St. Louis, to Manchester.                 1       A. Uh-huh.
  2        Q. When was this?                                     2       Q. What does it say?
  3        A. I'm not sure. There again, I can't                 3       A. Two-wheel.
  4   remember the exact date. Aaron had it close to             4       Q. Do you know why it says two-wheel?
  5   locating -- locating -- it took a while to locate all      5       A. Because it's -- it was factory two-wheel,
  6   the specific parts it needed, to put the custom work       6   and then they custom-made it into a three-wheel.
  7   into it.                                                   7       Q. Who custom-made it into a three-wheel?
  8        You know, those parts, it took him close to a         8       A. I'm not sure.
  9   year to do this. You know, so it was in that time,         9       Q. Did Harley-Davidson make it into a
 10   that's when Nathan filed for the fraudulent title. And    10   three-wheel?
 11   so --                                                     11       A. Sometimes they did, and sometimes you
 12        Q. Is that -- after the trike was delivered          12   would take it to a registered Harley dealer, and they
 13   to your parents' home in Robertsville, did you            13   would do that.
 14   physically drive the bike?                                14       I'm not sure who did it. But --
 15        A. Yes.                                              15       Q. Are you familiar with Harley's FXD model?
 16        Q. Okay.                                             16       A. Yeah.
 17        You didn't tow it?                                   17       Q. What does FXD mean?
 18        A. No.                                               18       A. That encompasses several 88 or 96 cubic
 19        Q. And that is the first time you ever rode          19   inch model motorcycles.
 20   the bike?                                                 20       Q. Does it encompass any three-wheel models?
 21        A. That's correct.                                   21       A. Yes.
 22        Q. What was that like?                               22       Q. Is your trike -- excuse me, or excuse you.
 23        A. It was wonderful. It was -- you know,             23       Is your trike an FXD?
 24   because my -- the whole reason I searched high and low    24       A. It's an FX model. I'm not sure which.
 25   for this bike was because I have two-wheel bikes, and     25       Q. Have you registered the trike?

                                                                                          12 (Pages 45 to 48)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 13 of 76 PageID
                                                        #: 828
                                                         49                                                             51
  1        A. No, I've been unable to.                          1        A. I do.
  2        Q. Why not?                                          2        Q. Have you produced that in this lawsuit?
  3        A. Because Nathan filed -- Nathan Rench filed        3        A. No.
  4   a lost title.                                             4        Q. Have you ever paid personal property taxes
  5        So when I went to the DMV to register it shortly     5   on the trike?
  6   after Nathan -- or Aaron Blumhorst delivered it to me,    6        A. No.
  7   I went to the DMV to get it registered and plates.        7        Q. Do you know if the first time you went to
  8        And they said that they were unable to do that       8   register the motor vehicle was in 2021?
  9   because he had filed for this fraudulent title.           9        A. I can't remember. I mean --
 10        They referred me to the DMV in Jeff City. I         10        Q. Did you go in 2021 to register the motor
 11   called them, who referred me to Highway Patrol. Said     11   vehicle -- or the trike?
 12   it was criminal, and they referred me to Owensville      12        A. When it was completed, I went to do it all
 13   Police.                                                  13   at one time, to get it licensed and registered at one
 14        Q. Do you recall the date that -- strike            14   time.
 15   that.                                                    15        Q. Was it more or less than a year after you
 16        What department of motor vehicle, what license      16   first took possession of the motor -- of the trike that
 17   registration office did you go to --                     17   went to register it?
 18        A. Des Peres.                                       18            MR. GELFAND: Objection to the form of the
 19        Q. -- to first register?                            19   question, and asked and answered. You can answer.
 20        A. Des Peres.                                       20        A. I don't know. I believe it was less than
 21        Q. Okay.                                            21   a year.
 22        When was that?                                      22            [Interruption by the reporter.]
 23        A. I can't remember. It was shortly after           23   BY MS. ROBERTSON:
 24   Nathan -- or Aaron delivered the bike. It was within a   24        Q. So that would be earlier than March of
 25   couple days of that. It was warm outside, I remember.    25   2021?

                                                         50                                                             52
  1       Q. Have you paid sales tax on the motorcycle?         1        A. I -- I can't remember.
  2       A. I've been unable to.                               2        Q. Do you --
  3       Q. Have you paid any personal property tax on         3        A. It took Aaron about a year to complete,
  4   the motorcycle?                                           4   locate all the parts, and do the custom work. And then
  5       A. I've been unable to.                               5   it took some time to get it painted.
  6       Q. Have you made a declaration to St. Louis           6        So once I had it completed, I took it to the
  7   County or the State of Missouri that you currently        7   DMV -- or I took -- went to the DMV with all of this
  8   own --                                                    8   paperwork and tried to get it licensed.
  9       A. I have.                                            9        I don't remember when that was.
 10       Q. You have?                                         10        Q. Is there anything that would refresh your
 11       A. I have to -- that's -- my brother                 11   recollection as to when that was?
 12   Jeremiah, we applied for -- to the Department of         12        A. Maybe the DMV would have a record. I --
 13   Revenue. And that's why this -- his handwriting's on     13   after -- I made many phone calls to -- after that to
 14   here, because we sent all of that to the Department of   14   other agencies trying to solve this.
 15   Revenue, to try to fix the title situation.              15        Q. Did you -- at the point in time that you
 16       Q. When -- if I say DOR, do you know I mean          16   first went to the DMV and attempted to register their
 17   Department of Revenue?                                   17   vehicle, did you discuss that with anyone?
 18       A. Right.                                            18        A. I'm sorry?
 19       Q. When did you send all of that to DOR?             19        Q. Other than the DMV itself and its
 20       A. I don't remember. It was a while ago.             20   employees --
 21   Jeremiah did it for me a while ago.                      21        A. Uh-huh.
 22       And then I got a letter back that said they were     22        Q. -- did you discuss with anyone at the
 23   unable to do this, that it would have to go to court.    23   time that you -- this is one of those wordy questions.
 24       Q. Do you still have a copy of the letter            24        A. Right.
 25   from DOR?                                                25        Q. At the time you went to register that

                                                                                          13 (Pages 49 to 52)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 14 of 76 PageID
                                                        #: 829
                                                          53                                                             55
  1   motor vehicle --                                           1   Nathan lived in Owensville, even though this
  2        A. Uh-huh.                                            2   transaction happened in Franklin County.
  3        Q. -- did you discuss it with anyone?                 3        So then I started dealing with Owensville Police
  4        And I'm not asking you for the names of DMV           4   on it, and I drove out there, and then gave them
  5   employees.                                                 5   everything. And they said, we'll try to get the title
  6        A. I don't remember. I don't think so.                6   from Nathan, you know, the fraudulent title.
  7        Q. Did you discuss it with your brother?              7        And then -- and they worked on that. There were
  8        A. Possibly. I mean, I discussed it -- I              8   several officers that worked on that for me for a
  9   certainly discussed it with people after the DMV said      9   while.
 10   that Nathan had filed for this lost title.                10        Q. Did the Jeff City DMV send you any
 11        Q. That's what I'm asking.                           11   paperwork when you -- after you called them?
 12        A. Yeah.                                             12        A. No.
 13        Q. After the DMV told you --                         13        Q. Did the Missouri State Highway Patrol send
 14        A. Yes, then I discussed it with people. I           14   you any paperwork after you called them?
 15   talked to -- yeah, I discussed it with numerous people,   15        A. No. They referred me to -- they kept
 16   and agencies. I discussed it with the Jeff City DMV.      16   referring me to each other.
 17   I discussed it with Missouri Highway Patrol and various   17        Q. Did the Franklin County Sheriff's Office
 18   other agencies -- Owensville Police, Franklin County.     18   provide you with any paperwork?
 19        Q. Did Jeff City --                                  19        A. His card, and I had many conversations
 20        A. Officer -- the officer on the document.           20   with the prosecuting attorney out there, as well as
 21   Yes. (Indicating.)                                        21   sheriffs out there.
 22        Q. Did the Des Peres license office give you         22        Q. Do you know if a police report was made by
 23   any documentation at the time they told you that you      23   the Franklin County Sheriff's Office?
 24   could not register the trike?                             24        A. I believe so.
 25        A. No.                                               25        Q. And was the nature of that the report of

                                                          54                                                             56
  1        Q. Did the Jeff City license office -- and            1   the fraudulent title?
  2   let me -- I guess let me clarify.                          2        A. Correct.
  3        Did you go to a license office in Jefferson           3        Q. Did the Franklin County prosecuting
  4   City, or did you go to the Department of Motor Vehicles    4   attorney actually charge Nathan Rench?
  5   in Jefferson City?                                         5        A. No. They said -- I was told that that was
  6        A. I did not go. I called them on the phone,          6   out of their jurisdiction, that that would be more
  7   because Des Peres -- the Des Peres license -- licensing    7   specific to Owensville.
  8   bureau said that they could not help me.                   8        Q. Did you make any written statements at the
  9        I asked them what to do, and they said we are         9   time you were dealing with the Franklin County
 10   not confused with this. We have not dealt with this       10   Sheriff's Office and the prosecuting attorney?
 11   before.                                                   11        A. No. There was COVID, so the officers met
 12        So they referred me to -- they said try calling      12   me in the parking lot and took all my information, made
 13   the Jeff City DMV.                                        13   copies, and brought it back out to me.
 14        So I called them, and they said this is a            14        The officer, you know, on the one document, as
 15   criminal act. You need to call Missouri Highway           15   well as I think -- I believe there was another officer
 16   Patrol.                                                   16   that did that.
 17        So I called them, and they said this happened in     17        The same thing with Owensville.
 18   Franklin County.                                          18        Q. Did you give them anything different than
 19        So I called them, and I talked to numerous           19   what's in front of you right now?
 20   sheriffs. I drove to Franklin County, gave them all       20        A. I believe it was -- it was just this. You
 21   the paperwork that we have here, and they were going to   21   know, the originals.
 22   try to retrieve the title.                                22        Q. You didn't write -- you didn't get like a
 23        And then it actually went to the prosecuting         23   blank piece of paper from Franklin County to write out
 24   attorney in Franklin County. She kicked it back and       24   your story?
 25   said specifically it happened in Owensville, because      25        A. No.

                                                                                           14 (Pages 53 to 56)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 15 of 76 PageID
                                                        #: 830
                                                          57                                                            59
  1        Q. When did you contact Owensville?                   1   for identification as Defendant's Exhibit I.
  2        A. After Franklin County -- I called to               2        Would you take a look at that?
  3   follow up with the prosecution -- Franklin County          3             [Defendant's Exhibit I
  4   prosecutor.                                                4             marked for identification.]
  5        And she said that they were not able to do that,      5   BY MS. ROBERTSON:
  6   because it was out of their jurisdiction.                  6        Q. Do you recognize Defendant's Exhibit I?
  7        So she referred me to Owensville shortly after        7        A. I do.
  8   that, and I don't remember the dates, but I followed up    8        Q. What is Defendant's Exhibit I?
  9   with -- I met an officer in Owensville, gave him the       9        A. That is the form my brother filled out for
 10   information. They were -- they knew Nathan Rench and      10   me that I signed and was sent to the DMV.
 11   were aware of him. And so --                              11        Q. And this is -- it looks in the top left
 12        Q. At the time you first made contact with           12   like it's identified as Form 4683, Missouri Department
 13   any law enforcement officer from Owensville regarding     13   of Revenue complaint.
 14   the trike --                                              14        Is that accurate?
 15        A. Uh-huh.                                           15        A. Yes, to try to resolve the title issue.
 16        Q. -- was that before or after October 22nd,         16        Q. And it has your information in the top
 17   2022?                                                     17   box.
 18        A. I talked -- are you talking about in              18        Is that right?
 19   regards to the title?                                     19        A. Correct.
 20        Q. Yes.                                              20        Q. The next box refers to the trike we've
 21        A. I talked to them way before October 2022.         21   been talking about today.
 22        I talked to them after October 2022 as well.         22        Is that right?
 23   Not regarding the title, but more specifically            23        A. Yes.
 24   regarding the theft by Manchester Police and Nathan       24        Q. The next box is the largest box on the
 25   Rench and the other two people representing Nathan        25   page, and it says complaint against.

                                                          58                                                            60
  1   Rench and the bike.                                        1       Is that accurate?
  2        Q. And the what?                                      2        A. The seller, Nathan L. Rench? Is that what
  3        A. And the -- and the stolen bike.                    3   you're referring to?
  4        Q. The first time you talked to Owensville            4       Q. If you kind of look on the left-hand side,
  5   about the fraudulent title --                              5   there's these --
  6        A. Uh-huh.                                            6        A. Oh, yeah.
  7        Q. Did that occur in 2021?                            7       Q. Do you see that box?
  8        A. I -- I'm not sure. I can't remember.               8        A. Complaint against. Yes.
  9        Q. Do you know if it occurred in 2022?                9       Q. And within that box, there is another box
 10        A. I believe it occurred in 2021.                    10   that says nature of complaint.
 11        Q. Is there --                                       11       Do you see that?
 12        A. I'm not sure.                                     12        A. Yes.
 13        Q. Did you provide Owensville any                    13       Q. Could you read me what that says?
 14   documentation different than what's in front of you       14        A. Buyer tried to title motorcycle and
 15   right now?                                                15   learned seller fraudulently filed a new title after
 16        A. I provided them the originals to all of           16   purchase. Seller will not give buyer new title unless
 17   this. They made copies and brought mine back, and I       17   buyer pays more money. On 10-22-22, seller stole
 18   kept in contact with several sheriffs.                    18   motorcycle from buyer's residence. Please refer to
 19            [A recess was taken.]                            19   Manchester Police Department Report Number 22-12985.
 20   BY MS. ROBERTSON:                                         20       Q. In this statement, your signature is at
 21        Q. Mr. Thompson, we talked about the steps           21   the bottom; correct?
 22   you took to report the title fraud to various agencies.   22        A. Yes.
 23        Did you make any of those reports in writing?        23       Q. Did you read this before you signed it?
 24        A. They did not -- no one requested that.            24        A. I did.
 25        Q. I'm going to show you what's been marked          25       Q. Who is the seller?


                                                                                           15 (Pages 57 to 60)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 16 of 76 PageID
                                                        #: 831
                                                          61                                                             63
  1        A. Nathan Rench.                                      1        A. I don't -- I can't remember offhand.
  2        Q. Who is the buyer?                                  2        Q. Do you know how much Nathan Rench was
  3        A. Ray Thompson.                                      3   requiring or requesting that you pay him to get the
  4        Q. That's you?                                        4   title?
  5        A. Yeah.                                              5        A. I don't, because we agreed on $5,000.
  6        Q. And then at the bottom of the complaint            6   And, you know, it seemed ridiculous.
  7   box it says any other agencies contacted, the Union        7        Q. Did you contact Nathan Rench after the
  8   Police Department, the Owensville Police Department,       8   October 22nd-23rd incident?
  9   and the Franklin County Sheriff's Department, the DMV,     9        A. No, I did not.
 10   Des Peres.                                                10        Q. Other than this lawsuit, do you know if
 11        Is that accurate?                                    11   the 2003 Harley trike we've been talking about is the
 12        A. As well as the DMV in Jeff City.                  12   subject of any other legal proceeding?
 13        Q. That you mentioned earlier?                       13        A. With -- involving me?
 14        A. Yes.                                              14        Q. Just involving anything.
 15        Q. What is the date of this complaint?               15        A. I -- I only know this lawsuit. Yeah.
 16        A. 10-25-22.                                         16        Q. Do you know if there are any other
 17        Q. Did you provide this document, Exhibit I,         17   investigations regarding the 2003 Harley trike we've
 18   to the Missouri Department of Revenue?                    18   been talking about, that we haven't discussed today?
 19        A. I did.                                            19        A. No. Not that I'm aware of.
 20        Q. Did you provide this document near in time        20        Q. Has any complaint been made against you
 21   to October 25th of 2022?                                  21   with respect to the 2003 Harley trike we've been
 22        A. I don't remember.                                 22   talking about?
 23        Q. Do you know if it would have been within          23        A. No.
 24   days of October 25th?                                     24        Q. Have you made any other reports to law
 25        A. I don't remember.                                 25   enforcement regarding Nathan Rench that aren't about

                                                          62                                                             64
  1        Q. Do you know if it was provided before              1   the trike?
  2   October 25th?                                              2        A. One time, I made a report to Franklin
  3        A. I don't remember that either. I remember           3   County because he -- I purchased some property from him
  4   providing the document, because I was referred to          4   after the trike, and he vandalized and stole off the
  5   provide this to the Department of Revenue to resolve       5   property.
  6   the title issue.                                           6        Q. Any other reports about Nathan Rench?
  7        I don't remember the time frame.                      7        A. I don't believe so.
  8        Q. Who told you to provide this form to the           8        Q. Do you know an individual by the name of
  9   Department of Revenue?                                     9   Dallas Smith?
 10        A. The Franklin County -- or the Owensville          10        A. I don't.
 11   Police.                                                   11        Q. Are you aware of any other complaints that
 12        Q. That second sentence in that nature of            12   have been made against Nathan Rench not by you, just by
 13   complaint, it says seller will not give buyer new title   13   anybody else?
 14   unless buyer paid more money.                             14            MR. GELFAND: Object to the form of the
 15        A. Yeah.                                             15   question. You can answer.
 16        Q. Can you tell me more about that?                  16        A. I'm sure there are many. I don't -- I'm
 17        A. He wanted -- he said the only way he              17   sure there are many, but I don't -- I'm not aware of
 18   would -- I can't remember if it was -- how it was         18   any specific.
 19   communicated, but he said the only way he would get       19   BY MS. ROBERTSON:
 20   the -- give the title was through more money, you know.   20        Q. Why do you say, I'm sure there are many?
 21        Q. When did Nathan Rench tell you this?              21        A. He has a long criminal history.
 22        A. I don't know that he even told me that            22        Q. How do you know that?
 23   directly. He may have told that to someone else to        23        A. CaseNet, and in working with Manchester
 24   relay to me.                                              24   Police to break into my property and steal my
 25        Q. Do you know that someone else?                    25   motorcycle.


                                                                                           16 (Pages 61 to 64)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 17 of 76 PageID
                                                        #: 832
                                                          65                                                            67
  1        Q. Are you aware that Nathan Rench is being           1   in the Gasconade County case?
  2   prosecuted in Gasconade County for felony theft in         2        A. No.
  3   connection with your trike?                                3        Q. At the time you purchased the -- kind of
  4        A. I am. Yes.                                         4   changing gears here.
  5        Q. Have you offered any testimony in that             5        A. Okay.
  6   case?                                                      6        Q. At the time you purchased the trike, did
  7        A. Yeah, I was subpoenaed and gave testimony.         7   the ignition on -- what type of ignition did the trike
  8        Q. Do you know what type of hearing that was?         8   have?
  9        A. Criminal. I mean --                                9        A. It had a toggle switch.
 10        Q. Was it a deposition like this?                    10        Q. What does that mean?
 11        A. No, it was a court.                               11        A. It means it's keyless. You flip a switch
 12        Q. You went to court?                                12   on and off to turn it on and off, the motorcycle.
 13        A. Yeah. I was subpoenaed by the Gasconade           13        There is actually two forms of -- to turn it on,
 14   prosecuting attorney, and I appeared.                     14   you flip a toggle switch and you hit the ignition
 15        Q. Was there a jury?                                 15   button on the handlebars. There is no key.
 16        A. No, it was continued. I just appeared the         16        Q. Do you have to have any sort of fob in
 17   once, and then it was continued for, I guess,             17   your pocket?
 18   sentencing or court, you know.                            18        A. No.
 19        I got -- I was put on the stand to answer            19        Q. Do you know if the toggle switch is how
 20   questions by the prosecutor after being subpoenaed in     20   the trike was delivered from the factory?
 21   regards to this, and then I don't know what happened      21        A. I -- no, I believe that was after,
 22   after that.                                               22   after-market.
 23        Q. Does a preliminary hearing sound familiar?        23        Q. Did you install the toggle switch?
 24        A. That's probably what it was, yes.                 24        A. No.
 25        Q. But you took the stand, you were put under        25        Q. At the time -- excuse me.

                                                          66                                                            68
  1   oath, and you provided testimony?                          1        At the time you purchased the trike from Nathan
  2        A. Yes. Correct.                                      2   Rench, you indicated it was in pieces.
  3        Q. Did you -- have you provided any other             3        Did the former ignition come with the trike?
  4   testimony in the criminal case that we're talking          4            MR. GELFAND: Sorry. You said former?
  5   about, this Gasconade County case with Rench?              5   F-O-R-M-E-R?
  6        A. No.                                                6            MS. ROBERTSON: Yeah -- yes.
  7        Q. Have you been deposed in the Gasconade             7            MR. GELFAND: I just didn't hear it.
  8   County criminal case against Nathan Rench?                 8   BY MS. ROBERTSON:
  9        A. No.                                                9        Q. Just so -- you said when you got it, it
 10        Q. Have you provided any victim impact               10   had a toggle switch.
 11   statements to the prosecutor's office?                    11        A. Correct.
 12        A. Other than my subpoena and -- no.                 12        Q. So was there a separate piece that was the
 13        Q. You haven't written any -- have you               13   ignition that had previously been on the bike?
 14   written any letters to the Gasconade County prosecutor?   14            MR. GELFAND: Yeah, I just didn't hear.
 15        A. No. No.                                           15        A. Yeah. There was -- so they had -- there
 16        Q. Have you provided any -- has the Gasconade        16   is an actual -- there's several ways to start them.
 17   County prosecutor asked you for documents supporting      17        You flip an ignition button on the tank, and
 18   restitution?                                              18   then there is -- on the handlebars, there is a
 19        A. No. They -- I provided these documents to         19   ignition.
 20   her, the prosecuting attorney, Gasconade County           20        And this one had an added feature which was a
 21   prosecuting attorney. (Indicating.)                       21   toggle switch hidden under the seat. We added that --
 22        Q. Have you received any restitution payments        22   or that was added on there after -- after the factory.
 23   from Nathan Rench in connection?                          23   BY MS. ROBERTSON:
 24        A. No.                                               24        Q. I don't mean to make you go through this
 25        Q. Have you provided any written statements          25   again, but I want to make sure I understand this.

                                                                                           17 (Pages 65 to 68)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 18 of 76 PageID
                                                        #: 833
                                                          69                                                            71
  1        A. Okay.                                              1        Q. I have kind of got my right hand down here
  2        Q. So on this trike --                                2   by my right hip.
  3        A. Correct.                                           3        Am I in the ballpark of where the --
  4       Q. -- when it was delivered to you, you                4        A. Yes, it would be under -- you lift under
  5   mentioned there were several ways to establish, and I      5   the seat, reach down under the seat, and it's located
  6   don't know if you were just talking about Harleys          6   under there.
  7   generally or this particular trike.                        7        Q. So in Exhibit -- are we on J?
  8        And I want to focus on this particular trike.         8        A. Uh-huh.
  9        A. Okay.                                              9        Q. So at the top of Exhibit J, is that the
 10        Q. So when this particular trike was                 10   seat cushion?
 11   delivered to you, how many ways were there to start it?   11        A. That's the seat.
 12        A. There was one way to start it. With the           12        Q. Okay.
 13   toggle switch, and then hitting the ignition button on    13        And so is this on the right or the left side of
 14   the handlebars.                                           14   the --
 15        Factory, they will come with a key.                  15        A. The right side.
 16           MS. ROBERTSON: I'm not going to use               16        Q. And to -- if I wanted to start this trike,
 17   everything yet, but --                                    17   what do I do?
 18   BY MS. ROBERTSON:                                         18        A. You would flip that up.
 19        Q. Mr. Thompson, I'm going to show you what's        19        Q. This lever, flip it just straight up?
 20   been marked for identification as Defendant's Exhibit     20        A. Right. Yeah.
 21   J.                                                        21        Q. Does it need to be on one -- it says off,
 22           [Defendant's Exhibit J                            22   ACC, and ignition.
 23           marked for identification.]                       23        A. No, you just flip it up.
 24   BY MS. ROBERTSON:                                         24        Q. Just flip it up?
 25        Q. Do you see Defendant's Exhibit J?                 25        A. Correct.

                                                          70                                                            72
  1        A. I do.                                              1        Q. Does -- do I have to turn it afterwards?
  2       Q. What is that?                                       2        A. You flip it up, and then you hit your
  3        A. That's the toggle switch, the ignition.            3   ignition on the handlebars.
  4       Q. Is that something you produced in                   4        Q. So --
  5   discovery in this lawsuit?                                 5        A. That's an on and off switch.
  6        A. Yes.                                               6        Q. So if this is down and I hit the button on
  7       Q. And so is that the toggle switch we have            7   the handlebar, the trike is not going to start?
  8   just been talking about?                                   8        A. Correct.
  9        A. Yes.                                               9        Q. And if I have flipped this up and hit the
 10       Q. Where is this toggle switch located on the         10   ignition on the trike, and I've driven it around, and
 11   Harley -- or on the trike?                                11   now I want to park and turn it off, what do I do?
 12        A. Behind the battery under the seat on the          12        A. You turn off the -- turn -- you can turn
 13   right side of the motorcycle.                             13   it off from the handlebars, the on and off switch, and
 14        Q. So --                                             14   then you hit that down.
 15        A. Hidden -- kind of hidden up under there.          15        Q. Just hit it down?
 16       Q. Do you have to lift up the seat cushion?           16        A. Correct.
 17        A. No, you have to feel back in there to know        17        Q. What happens if I turn it off on the
 18   where it's located. You would kind of have to know        18   handlebar, and I don't hit it down?
 19   where it's located to start it.                           19        A. The accessory might be on, and it might
 20        Q. Okay.                                             20   drain the battery.
 21       So I'll use myself kind of --                         21        Q. Are there any anti-theft devices or
 22        A. Uh-huh.                                           22   mechanisms on the trike?
 23       Q. I'm seating here, and this chair let's             23        A. Just -- just that.
 24   pretend is the seat of the Harley, of the trike.          24        Q. How does that function as an anti-theft
 25        A. Okay.                                             25   mechanism?

                                                                                           18 (Pages 69 to 72)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 19 of 76 PageID
                                                        #: 834
                                                          73                                                            75
  1        A. You have to know where it's located. I            1   factory, and you turn the ignition with the key, that's
  2   mean, you would have to look -- you can lock, lock the    2   not starting the Harley?
  3   ignition, you know, the factory ignition as well.         3       A. No.
  4        But in order to start it, you'd have to use that     4       Q. That's just unlocking it to be able to
  5   toggle switch.                                            5   start it from the handlebars?
  6        Q. When you say --                                   6       A. Correct. Correct.
  7        A. So that is an anti-theft, because you have        7       Q. And so this acts as an additional
  8   to know where that's at, and you have to have, you        8   anti-theft device, because -- and you correct me if I'm
  9   know -- if the bike is -- if the original factory         9   wrong here; okay?
 10   ignition is locked, you can't -- you cannot start the    10       A. Right.
 11   bike with that -- with just that.                        11       Q. Because to start the trike, you have to
 12        Q. How does the --                                  12   make sure the ignition is unlocked.
 13        A. So it's an added feature to an anti-theft.       13       A. Uh-huh.
 14        Q. Let me ask you this.                             14       Q. And then flip this -- the toggle switch
 15        At the time a toggle switch is installed --         15   up, and then also start it on the handlebar?
 16        A. Uh-huh.                                          16       A. Correct.
 17        Q. -- is the factory ignition removed?              17       Q. As of October 22nd, 2022, had the ignition
 18        A. No.                                              18   locking mechanism been removed from your trike?
 19        Q. So when you buy a trike from the factory         19       A. I never received a key, so I never
 20   and I just take it however it comes off the truck --     20   unlocked it or locked it. It just -- I just started it
 21        A. Right.                                           21   with this, and then the ignition from the handlebars.
 22        Q. -- does Harley give you a key?                   22       Q. Was there still, for lack of a better,
 23        A. They do. They give you a key -- for the          23   more proper term, a keyhole?
 24   ignition that's on the tank, they give you a key for     24       A. Yeah. It's still there, but --
 25   that ignition.                                           25       Q. It's still there?

                                                          74                                                            76
  1        And then you have the hand ignition, the             1         A. But there was -- I was never given a key,
  2   starter, you know.                                        2   nor did I --
  3        And then that's how they come factory.               3         Q. Mr. Rench never gave you a key?
  4        This was added on as an extra safety device,         4         A. No.
  5   because you would need to know where that is as well.     5         Q. Did you ever write to Harley and say I
  6        So if someone even had the key, you would still      6   have a 2003 100 anniversary trike, VIN number whatever
  7   need to know where this is to access this to start the    7   it is, I'd like a key?
  8   motorcycle.                                               8         A. No.
  9        Q. Okay.                                             9         Q. So to this date, you have never had a key
 10        Let me back up.                                     10   to lock or unlock the ignition on your trike?
 11        Fresh off the truck from Harley, I've done          11         A. I never needed one.
 12   nothing to it.                                           12         Q. I'm sorry?
 13        A. Uh-huh.                                          13         A. I never needed one.
 14        Q. So the key that Harley gives you does            14         Q. Well, that wasn't exactly the answer to --
 15   not -- if you get in a normal passenger vehicle, you     15         A. Okay.
 16   know, four wheeled vehicle --                            16         Q. I'm going to ask you that in a second.
 17        A. Uh-huh.                                          17         A. Okay.
 18        Q. -- usually you stick the key -- well,            18         Q. But you never possessed a key --
 19   sometimes we don't even have keys anymore.               19         A. No.
 20        But for cars that have a key, you stick the key     20         Q. -- to the ignition locking mechanism?
 21   in, you turn it, and the ignition turns on and it's      21         A. Right.
 22   running.                                                 22         Q. Okay.
 23        Would you agree with that?                          23         Why did you never need one?
 24        A. Yeah.                                            24         A. Because I have the toggle switch on there.
 25        Q. So on the Harley, when it comes from the         25         Q. Does what we are looking at in Exhibit


                                                                                          19 (Pages 73 to 76)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW            Doc. #: 39-10THOMPSON
                                               RAYMOND        Filed: 01/11/24        Page: 20 of 76 PageID
                                                       #: 835
                                                        77                                                             79
  1   J -- that's J; right?                                    1   he said he had a motorcycle -- a trike, a Harley --
  2        A. Yeah.                                            2   2003 anniversary trike in a barn garage out in Union --
  3        Q. I'm sorry, I can't remember that.                3   or out in Beaufort.
  4        Does this get covered up?                           4       Q. And we've talked about that the purchase
  5        A. The photo is deceiving, because it -- I          5   date was, I think, March 30th, and some checks were
  6   took this picture for Justin. So I stuck my phone        6   exchanged in early March for the purchase of the
  7   under the seat and everything.                           7   vehicle.
  8        So it would take someone -- you couldn't just       8       A. Uh-huh.
  9   find this in seconds. You would have to actually look    9       Q. Do you know how much before that you had
 10   and look under the seat, you know, get down low and     10   met Mr. Rench?
 11   look.                                                   11       A. I believe one time.
 12        So it's not -- the photo is deceiving.             12       Q. Do you know if that was -- do you know if
 13        Q. And I apologize if I've asked you this          13   you were introduced to him in February of 2020?
 14   before.                                                 14       A. I don't know.
 15        When you took possession of the trike from Mr.     15       Q. Do you know if it was January of 2020?
 16   Rench, was the toggle switch already installed?         16       A. It was cold out. That's all I remember,
 17        A. Yes.                                            17   it was cold out.
 18        Q. Did you move the toggle switch during your      18       Q. Did you communicate with Mr. Rench via
 19   repairs, or is this the same location that the toggle   19   telephone, e-mail, text message?
 20   switch was in at the time you took possession of the    20       A. Garrett communicated -- Garrett Gist knew
 21   Harley from Mr. Rench?                                  21   Mr. Rench.
 22        A. Same location.                                  22       Mr. Rench had a motorcycle repair company, and
 23        Q. Did your trike have any other anti-theft        23   Garrett -- and he had motorcycles. Garrett knew him.
 24   mechanisms?                                             24   He introduced us. I never spoke to him before.
 25        A. Sometimes -- sometimes they have fork           25       Q. The first time you spoke to Mr. Rench, was

                                                        78                                                             80
  1   locks with a key, where you can't turn.                  1   it the first time you met him in person? Were those
  2       I'm not sure that that one does or doesn't.          2   one and the same?
  3   Some of my other bikes do. I don't know. I don't         3        A. Uh-huh.
  4   think that one does.                                     4        Q. Was that a yes?
  5       Q. And I apologize if I asked this.                  5        A. Yes. Sorry.
  6       But some modern vehicles today, you need -- you      6        Q. That's okay.
  7   don't even need a physical key; you just have a fob.     7        And if my recollection is correct, I believe the
  8       A. Right.                                            8   check to Mr. Rench is dated March 4th.
  9       Q. Was there a fob that went with this trike?        9        So would on or about March 4th be the first time
 10       A. No.                                              10   you spoke with Mr. Rench?
 11       Q. I'd like to shift gears just a little bit        11        A. No, I spoke to him before that.
 12   and talk about Nathan Rench, if that's all right.       12        Q. You met him in-person before that?
 13           MR. GELFAND: No pun intended? Shift             13        A. With Garrett, to look at the bike.
 14   gears? That's my joke for the day.                      14        Q. To -- okay.
 15   BY MS. ROBERTSON:                                       15        Do you know if that was --
 16       Q. Let's see. I know you told me that               16        A. It was cold outside. I don't remember the
 17   someone introduced you to Nathan Rench. I do not        17   date.
 18   remember what that person's -- was it Garrett Gist?     18        Q. Do you know if it was days, weeks, or
 19       A. Gist.                                            19   months before you gave Rench that check?
 20       Q. Introduced you to Nathan Rench?                  20        A. Probably months. We were negotiating the
 21       A. Yes.                                             21   price.
 22       Q. Okay.                                            22        Q. How many times in total do you think you
 23       When did you first become acquainted with Nathan    23   met Nathan Rench, through the history -- the course of
 24   Rench?                                                  24   your life?
 25       A. When Garrett introduced us to, you know --       25        A. Maybe five, six times. I met -- well,


                                                                                         20 (Pages 77 to 80)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 21 of 76 PageID
                                                        #: 836
                                                          81                                                             83
  1   including going to court, with -- or Gasconade County,     1   of Exhibit K, it looks like it's dated June 13th of
  2   I saw him in court. So if that counts, maybe five or       2   2020.
  3   six times.                                                 3        Is that accurate?
  4        Q. When you went to court in Gasconade                4        A. Uh-huh.
  5   County, did you stay for the entire hearing?               5        Q. And I don't want to be tedious and go
  6        A. Yes.                                               6   through everything, but it looks like Mr. Rench is --
  7        Q. Did anybody else testify?                          7   the first message is from him.
  8        A. Police officers.                                   8        Is that right?
  9        Q. Did Mr. Rench testify?                             9        A. Uh-huh.
 10        A. No.                                               10        Q. So the black messages are Mr. Rench, and
 11        Q. Prior to March 30th of 2020, did you have         11   the green messages are from you?
 12   any other conversations with Mr. Rench that were on       12        A. Correct.
 13   topics other than the trike?                              13        Q. And it looks like Mr. Rench is asking you
 14        And I don't care if you had talked about the         14   to come to -- I think that means accountant's office.
 15   weather or small talk.                                    15        Is that accurate?
 16        But any other substantive conversations about        16        A. Yes.
 17   anything else?                                            17        Q. What is that in reference to?
 18        A. I don't know if it was prior to 2020. We          18        A. A property purchase from Nathan after the
 19   talked about purchasing some -- purchasing some           19   motorcycle incident.
 20   property from him, the property where the trike was       20        Q. What -- what property did you purchase?
 21   actually located.                                         21        A. The 3676 Fox Creek Avenue, Beaufort,
 22        Q. Did you ever communicate with Mr. Rench           22   Missouri.
 23   via text message?                                         23        Q. What type of property is that?
 24        A. Yes.                                              24        A. It's just rural property.
 25        Q. I'm going to mark this as a packet rather         25        Q. Is it a residence?

                                                          82                                                             84
  1   than marking each page. So I believe we are on             1        A. No. I mean, I have since put up some
  2   Defendant's Exhibit K.                                     2   cabins, like campground -- hunt and camp, fish and
  3           [Defendant's Exhibit K                             3   camp, all that.
  4           marked for identification.]                        4        Q. How many acres is it?
  5   BY MS. ROBERTSON:                                          5        A. Two. I believe two.
  6        Q. Mr. Thompson, feel free to review the              6        Q. And you purchased this property from Mr.
  7   entirety of Exhibit K if you need to, but I will submit    7   Rench?
  8   that these are the -- everything I've handed you has       8        A. Yes.
  9   been given to me by your attorney.                         9        Q. What were the terms of your sales, of the
 10        A. Right.                                            10   purchase with Mr. Rench?
 11        Q. So if you don't need time to look at it,          11        A. It was unique. He had a bunch of debris
 12   do you recognize what Exhibit K is?                       12   and things on the property, and there was some
 13        A. I kind of do.                                     13   buildings and things on the property that he wanted --
 14        Q. What is Exhibit K?                                14   that -- and I gave him 90 days to remove everything off
 15        A. It's communication between Nathan Rench           15   the property.
 16   and myself.                                               16        So I believe the closing cost was $23,000,
 17        Q. At the time it's got N, and it says Nathan        17   something like that, $23,000 for the property. I can't
 18   Beaufort?                                                 18   remember the exact amount.
 19        A. Right. Because I have several Nathans in          19        Q. But amount of money; correct?
 20   my phone, and I could not remember his last name. I       20        A. Amount of money.
 21   just knew him from Beaufort.                              21        Q. Were there any other terms? Were you
 22        Q. So Nathan Beaufort and Nathan Rench are           22   paying off liens?
 23   one and the same?                                         23        A. Yes.
 24        A. Correct.                                          24        Q. On top of --
 25        Q. And if -- I'm looking at the first message        25        A. Not originally. He did not tell me he had

                                                                                           21 (Pages 81 to 84)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 22 of 76 PageID
                                                        #: 837
                                                          85                                                            87
  1   liens on the property we went to the title company, and    1             MS. ROBERTSON: And the communications
  2   the title company informed me he had many liens against    2   between them. I think it's fair.
  3   his property.                                              3             MR. GELFAND: Even though they have
  4        Q. Were those -- okay -- tax liens?                   4   literally nothing to do with the basis of the lawsuit?
  5        A. Various. Tax liens, personal liens.                5             MS. ROBERTSON: I don't know -- I don't
  6        Q. Is the $23,000, ballpark, give or take --          6   know that, because I haven't had an opportunity to ask
  7   does that include the liens you paid off?                  7   your client about it.
  8        A. Actually, I paid him more for the property         8             MR. GELFAND: So ask him -- I don't think
  9   than the agreed amount because of the liens.               9   that -- let's move on.
 10        Q. Okay.                                             10   BY MS. ROBERTSON:
 11        And I guess I probably didn't actually ask you       11        Q. Do you have an actual sales agreement with
 12   that.                                                     12   Mr. Rench, like written up?
 13        Did you pay off the liens?                           13        A. Yeah, contract with Union Title Company
 14        A. Yes.                                              14   for the property and everything. Yes. I have -- the
 15        Q. How much more than the agreed-upon price          15   property is titled to my name. I pay personal property
 16   do you think you paid?                                    16   tax and everything on it.
 17        A. I can't remember offhand. Probably in the         17        None of this text pertains to the bike, the
 18   ballpark of $5,000 to $10,000.                            18   motorcycle, though, until maybe the latter part, you
 19        Q. On top of the $23,000?                            19   know.
 20        A. Yes, I -- yeah.                                   20        Q. When Rench is saying accountant's office,
 21        Q. How did you become interested in this, in         21   does he mean the title office or something else? Do
 22   purchasing this property?                                 22   you know?
 23        A. When I went up there to purchase the              23        A. That is his accountant's office. Like I
 24   motorcycle, Mr. Rench said he was interested in just      24   assume -- we met in his accountant's office before
 25   selling all the property.                                 25   going to the title company.

                                                          86                                                            88
  1        At first I wasn't interested in it, and then I        1        Q. For what purpose was that?
  2   noticed it backed up to a conservation area and was        2        A. I don't know that. He just requested it,
  3   near the Missouri Anglers Club and canoe rental places,    3   for whatever reason.
  4   and I thought it might be neat to turn into a              4        Q. So then you get a text in July 2020 from
  5   campground and eventually rent out cabins.                 5   Rench, and he says that somebody ransacked his truck
  6        But it had lots of garbage on the property and        6   and stole a winch and a boom and some other stuff.
  7   stuff, you know, he just collected over the years. And     7        And -- but on the next page, there's another
  8   there were buildings -- old buildings full of debris.      8   text that he's talking about a trailer along with that
  9        And so I wanted -- I gave him an extension to         9   bike.
 10   closing, three months, to removal all of the stuff, and   10        He talks about a gun safe.
 11   I gave him $5,000 escrow to help fund that initial        11        And then he says he's going to report it all
 12   escrow payment, just to fund -- help him fund getting     12   stolen tomorrow. The trailer, my bike, my toolbox,
 13   rid of the debris that he never got rid of.               13   everything else that was there.
 14        Q. Do you know when you closed on the                14        Do you know what Mr. Rench is talking about?
 15   property?                                                 15           MR. GELFAND: Objection to the form of the
 16        A. I have it at home. I don't know a year,           16   question. You can answer.
 17   but I have all the closing -- closing paperwork from      17        A. Yeah -- huh?
 18   the title -- meeting title company.                       18           MR. GELFAND: I said objection to the form
 19             MR. GELFAND: I'm just going to generally        19   of the question. But you can answer.
 20   object. What does this have to do with anything?          20        A. So on the property, he was given a certain
 21             MS. ROBERTSON: Well, you produced -- I          21   amount of time to remove all this stuff. I don't even
 22   just want to understand what these text messages are      22   know what was on the property.
 23   that you've produced and the relationship between Mr.     23        And he did not do that, so I called the title
 24   Thompson and Mr. Rench.                                   24   company. I called Franklin County Title Company in
 25             MR. GELFAND: Okay.                              25   Union.


                                                                                           22 (Pages 85 to 88)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 23 of 76 PageID
                                                        #: 838
                                                          89                                                             91
  1         I called the realtor, and I asked them, what do      1   totally irrelevant to anything that has to do with this
  2   I do with this?                                            2   lawsuit.
  3         And they said it belongs to you. Just get rid        3             MS. ROBERTSON: These are communications
  4   of it.                                                     4   between two witnesses in this lawsuit. You know --
  5         So I paid Garrett Gist to remove everything on       5            MR. GELFAND: Nathan Rench actually wasn't
  6   the property.                                              6   there. He's literally not a witness in this lawsuit.
  7   BY MS. ROBERTSON:                                          7        A. I don't know that there was even a piano
  8         Q. When you say you called Franklin County,          8   on the property. I didn't know what was on there. It
  9   do you just mean their government offices or the           9   was all refuse to me. So I paid Garrett to get rid of
 10   sheriff's department, or something else?                  10   it. If there was a burnt piano, then I know nothing
 11         A. Their government office as well as the           11   about that.
 12   title company where we closed that.                       12   BY MS. ROBERTSON:
 13         And I said, I don't think he is ever going to       13        Q. Do you know what Nathan Rench's daughter's
 14   get all of this stuff off of here. I've given him         14   name is?
 15   three months prior to closing, and then I've given him    15        A. I think he has two daughters. I believe
 16   another two months. What can I do about this?             16   one of them's name is Madeline.
 17         And they said you can just dispose of it however    17        Q. Do you know what the other one's name is?
 18   you want at this point. You own whatever is on the        18        A. I don't.
 19   property.                                                 19        Q. Have you ever met them?
 20         So that's what I did. I paid someone to come        20        A. I met Madeline at the closing with Nathan.
 21   out there with tractors and trucks and load everything    21        Q. Is she an adult or --
 22   up and get it off.                                        22        A. Yeah.
 23         Q. And that person was Garrett Gist?                23        Q. On Page 2, Nathan says, that trailer is
 24         A. Yes.                                             24   titled to me as well as that bike.
 25         Q. What is Garrett Gist's occupation?               25        Do you know what he's referring to?

                                                          90                                                             92
  1        A. He does -- well, he has got various -- you         1             MR. GELFAND: Object to the form of the
  2   know, various -- he owns a warehouse in Union. He          2   question. Calls for speculation. Calls for the state
  3   rents out space. He does carpentry. He is a builder.       3   of mind of a third party.
  4   He does -- there's lots -- he's a jack-of-all-trades.      4        A. There were apparently -- he said there was
  5       Q. So is removing the things described in              5   another bike on the property. Not the trike, another
  6   these text messages part of Garrett's like normal          6   bike on the property.
  7   business?                                                  7        I have no knowledge of it, because I just paid
  8           MR. GELFAND: Objection to the form of the          8   Garrett to get rid of everything. I didn't know what
  9   question. I think it calls for speculation.                9   was -- there were several trailers, enclosed trailers.
 10        A. He does -- like I said, he's a                    10   There were buildings. And I don't know what was in
 11   jack-of-all-trades. He had dump trucks and loaders,       11   them. I had never seen inside them.
 12   and he offered to do it, so I said, how much do you       12        So I paid Garrett to remove everything. And if
 13   want, you know.                                           13   there was a bike in there, I don't know anything about
 14   BY MS. ROBERTSON:                                         14   it. So it's not referring to the bike that I
 15       Q. How much did you pay him?                          15   purchased.
 16        A. $5,000.                                           16   BY MS. ROBERTSON:
 17       Q. Do you know what Mr. Gist did with the             17        Q. There's a message in here about -- where
 18   items he removed?                                         18   Nathan accuses you of hammering the ignition out of his
 19        A. I have no idea.                                   19   truck?
 20       Q. There's a text message in here where               20        A. I never touched the truck.
 21   Nathan seems to be making an accusation that you burned   21        Q. Do you know what kind of truck it was?
 22   his daughter's piano.                                     22             MR. GELFAND: Objection to the form of the
 23       Do you know anything about that?                      23   question. Calls for speculation.
 24           MR. GELFAND: Object to the form of the            24   BY MS. ROBERTSON:
 25   question. Calls for speculation. And again, this is       25        Q. You can answer.

                                                                                           23 (Pages 89 to 92)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 24 of 76 PageID
                                                        #: 839
                                                          93                                                             95
  1         A. Okay.                                             1   going to leave the gate open today for you to get the
  2         There was an old truck out there that Nathan was     2   trailers, camper shell, and remainder of your things
  3   supposed to get off the property.                          3   and garbage that is left. I will lock up the gate
  4         After -- after -- once the title company and the     4   tomorrow. Nobody will be allowed to access the
  5   police said that I -- everything on the property I         5   property. Please bring back the lumber that put into
  6   could do whatever I wanted with, I let Nathan come get     6   the barn. Thanks, Ray."
  7   the truck and some other things, and that's when I --      7        What are you referring to there?
  8   he vandalized the cabins I had already put on the          8        A. Because I let him and his family come out
  9   property and stole building materials. So that's when      9   and retrieve some of these items, even after I was told
 10   I filed the police report.                                10   that I owned everything. I was just being kind, and
 11         I don't know anything about ignition on a truck.    11   let him come out and get some things.
 12   I let him come get the truck. Him and his family.         12        And then they stole composite flooring out of
 13         Q. So on Page 4, Nathan says, Ray, I was kind       13   the cabins. I was finishing the cabins. They stole
 14   enough to let you move four cabins out there that I was   14   composite flooring. They stole stuff off the property.
 15   liable for, and nothing ever happened to them.            15        So I filed a police report. And I was just
 16         So he's talking about cabins, you're talking        16   telling him, bring it back.
 17   about cabins.                                             17        Q. So the flooring, is that what you mean by
 18         Are these the same cabins?                          18   the lumber?
 19             MR. GELFAND: Objection to the form of the       19        A. Lumber. There was lumber. The cabins had
 20   question. Calls for speculation. Calls for the state      20   lofts, so I had two-by-fours there for ladders for the
 21   of mind of a third party.                                 21   lofts.
 22         You can answer.                                     22        I had various other lumber, and steps -- to make
 23         A. Yeah, they're the same cabins. He was            23   steps for the cabins, and the prefab flooring, yes.
 24   confused. Nathan was confused.                            24        Q. So I don't know how many pages -- 12 pages
 25   BY MS. ROBERTSON:                                         25   in, there is a photograph that it looks like you sent.

                                                          94                                                             96
  1        Q. Okay.                                              1        A. Yeah.
  2        When -- are these -- the cabins -- I mean, are        2        Q. Can you tell me what that photograph is?
  3   these like mobile home-type cabins, you can move them      3        A. That's something -- that was vandalism
  4   different places?                                          4   that sent to the police that when I let him come out
  5         A. They're -- they're prefab cabins that I           5   and get his things, the truck -- they spray painted the
  6   purchased and moved out on the property.                   6   inside of one of the cabins with that.
  7        Q. Okay.                                              7        Q. What does that say?
  8        Mr. Rench has, I think, a lawsuit with a entity       8        A. I'm not sure. Your guess is as good as
  9   called Graceland Properties.                               9   mine. The spelling looks -- yeah. I know as much
 10        Are you familiar with that?                          10   about what that says as you do.
 11         A. No.                                              11        It was just van -- I took a picture because it
 12        Q. It says something about cabins.                   12   was vandalism.
 13        Are you familiar with that? Do you know what         13        Q. A little bit later, Nathan sends a text
 14   I'm talking about?                                        14   that Garrett wants to charge him $7,000 for his stuff
 15        A. I settled a lien with a cabin that he             15   back.
 16   bought, but that's not -- has nothing to do with this.    16        Do you know anything about the dealings between
 17        Q. Not these cabins?                                 17   Garrett and Mr. Rench?
 18        A. No. I purchased these outright from a             18        A. I do not.
 19   different place.                                          19        Q. And I cannot find the exact message here,
 20        He had one repoed. I think you are referring to      20   but one of these messages I think you referenced that
 21   that. Years prior to this.                                21   the flooring and lumber we were just talking about was
 22        Q. So I'm not sure of the date.                      22   worth several thousand dollars.
 23        It looks to me like it's July 17th, 2020, but        23        A. Yes.
 24   it's a few pages in here.                                 24        Q. Is that an accurate --
 25        You sent a message that says, "Hi Nathan, I'm        25        A. Yes.

                                                                                           24 (Pages 93 to 96)
Golkow Litigation Services
           Case: 4:23-cv-00133-SRW            Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 25 of 76 PageID
                                                        #: 840
                                                          97                                                           99
  1        Q. -- estimate? Okay.                                 1        Q. And the text messages that are in green on
  2        A. That's why I filed a police report.                2   the right side are messages from you?
  3        Q. Aside from the trike we've been talking            3        A. Yes.
  4   about and the purchase of this property at Fox Creek,      4        Q. That photograph on the first page, the
  5   are there any other transactions that you've entered       5   sort of right-hand side, it looks similar to the back
  6   into with Nathan Rench?                                    6   of the title.
  7        A. No.                                                7        And there's a box that says purchaser's name. I
  8        Q. Have you bought any other vehicles from            8   don't know if that says Aaron or Adam Phillips.
  9   Mr. Rench?                                                 9        Do you know an individual by the name Aaron or
 10        A. No.                                               10   Adam Phillips?
 11        Q. Bought any other real property?                   11        A. I have no idea who that is.
 12        A. No.                                               12        Q. Do you know the name of Nathan Rench's
 13        Q. On August 26th of 2020, it looks like you         13   father?
 14   sent a photograph.                                        14        A. Steve Rench. I think he has passed away.
 15        It's the second-to-last page.                        15        Q. Do you know if he has passed away in the
 16        A. Yeah.                                             16   last two years?
 17        Q. Do you know who -- or what is that photo          17        A. I believe so.
 18   of?                                                       18        Q. Do you know what -- do you know who Tina
 19        A. There was a car there. I put cameras up           19   is?
 20   on the property, because Nathan stole.                    20        A. I believe that's Nathan's cousin or aunt.
 21        And so I put up cameras, and there was just --       21   I don't -- it's some relation to Nathan.
 22   that car pulled into the driveway, and I think I -- in    22        Q. Do you know who -- and these are names I
 23   the course of -- I was just letting Nathan know there's   23   picked out of the text messages.
 24   cameras, you can no longer go on the property.            24        A. Yeah.
 25        You know, this is your car. I'm definitely           25        Q. Do you know who Mullins is?

                                                          98                                                          100
  1   giving the picture to the police.                          1        A. Mullins? Mullins is a refuse hauling
  2       Q. I'll mark this as another packet,                   2   company.
  3   Exhibit -- Defendant's Exhibit L.                          3        Q. You said hauling?
  4            [Defendant's Exhibit L                            4        A. Hauling, yeah. They have a waste yard
  5            marked for identification.]                       5   at -- in between Union and Beaufort.
  6   BY MS. ROBERTSON:                                          6        Q. You don't know Aaron Phillips?
  7       Q. Mr. Thompson, have you had an opportunity           7        A. No. I've already said that.
  8   to review Defendant's Exhibit L?                           8        Q. Sorry?
  9        A. I know -- no, but I know what this is              9        A. I said that already. Yeah.
 10   pertaining to. Yeah.                                      10        Q. I'm sorry.
 11       Q. I will submit to you that these are text           11        Exhibit L looks to be -- excuse me -- text
 12   messages your attorney provided.                          12   messages beginning in June of 2021.
 13        A. Right.                                            13        Is that accurate?
 14       Q. The top text message, do you know what             14        A. Yes, that's what it says.
 15   that is?                                                  15        Q. On June 13th of 2021, you sent a message
 16        A. I -- I don't. Honestly, I don't know. It          16   to Mr. Rench.
 17   was in -- in my text messages.                            17        It said, you don't have to pay -- and I'm sorry.
 18       Q. And Defendant's Exhibit L also has Nathan          18   That's one, two, three, four, five -- the sixth page
 19   Beaufort at the top.                                      19   in.
 20       Do you agree that Defendant's Exhibit L is text       20        It's a green message at the bottom. There's a
 21   message communications between yourself and Mr. Rench?    21   black message at the top.
 22        A. Yes.                                              22        A. Okay.
 23       Q. And the texts that are on the left side            23        Q. Do you see -- you do see the timestamp?
 24   that are in black are messages from Mr. Rench?            24        A. Yeah.
 25        A. Yes.                                              25        Q. Is there any reason these timestamps would

                                                                                         25 (Pages 97 to 100)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 26 of 76 PageID
                                                        #: 841
                                                        101                                                            103
  1   be inaccurate?                                            1   and Nathan Rench.
  2        A. I don't think -- I don't -- I'm not sure          2       And if you turn to the next page at the top and
  3   what that means, what you mean.                           3   go to Bullet Point C, you state, "Since October
  4        Q. What type of phone do you use, an Android         4   22nd-23rd, 2022, Nathan Rench has sent me text
  5   or an Apple?                                              5   messages. I have not responded to the messages."
  6        A. Apple iPhone.                                     6       I don't see those messages in what you've
  7        Q. Does your phone automatically update with         7   produced.
  8   time changes?                                             8       A. I may have been confused with the dates.
  9        A. Yes.                                              9   I don't know.
 10        Q. Could you read for me June 13th message at       10       Q. Has Nathan Rench contacted you since
 11   12:33 AM? And actually you just have to read the first   11   October 22nd of 2022?
 12   sentence.                                                12       A. No.
 13        A. You don't have to pay taxes on the trike,        13       Q. Has he sent you any text messages?
 14   because I already paid them.                             14       A. No. Since that -- since October 22nd,
 15        Q. Are you talking about the trike that forms       15   2022? No.
 16   the basis of this lawsuit?                               16       Q. Correct.
 17        A. Yes.                                             17       With respect to the removal of the debris in
 18        Q. Did you pay taxes on that trike?                 18   those text messages, did you -- was that included in
 19        A. No. I tried, because I had intentions of         19   your sales agreement?
 20   paying them. And I tried, but he had already -- or       20       A. No. I had to pay that after the fact.
 21   he -- shortly after he did the title fraud.              21   He --
 22        Q. Bear with me a moment.                           22       Q. I think you misunderstand my question.
 23        Do you have -- do you have a -- never mind.         23   I'm sorry.
 24        Have you ever -- I thought there was a reference    24       A. Okay.
 25   in here. I can't find it.                                25       Q. I thought you said you gave Nathan Rench

                                                        102                                                            104
  1        But have you ever gotten pulled over and             1   like an amount of time, 90 days, something like that.
  2   received a traffic ticket on the trike?                   2        A. I did. And he failed to do that. He
  3        A. No.                                               3   failed to close on the closing date. So we arranged a
  4        Q. Did you tell Nathan that you received             4   new close date.
  5   tickets on the trike?                                     5        I wasn't required to give him more time, but I
  6        A. No.                                               6   did give him more time, empathetically, and he didn't
  7        Q. Did he tell you that you had received             7   fulfill that.
  8   tickets?                                                  8        So then I hired Garrett to haul everything, get
  9        A. No.                                               9   everything off the property.
 10        Q. Are these Exhibits K and L -- are those          10        Q. Okay.
 11   the only text messages you have ever exchanged with      11        Just so I understand, a closing was held;
 12   Nathan Rench?                                            12   correct?
 13        A. I believe so.                                    13        A. Yes.
 14        Wait. I go through phones, so maybe a former        14        Q. And after that closing, did Mr. Rench have
 15   phone there was a couple text messages. I think these    15   a certain period of time to remove items from the
 16   are all of them.                                         16   property?
 17        Q. I'm going to mark this as Defendant's            17        A. No. That was -- I gave that to him --
 18   Exhibit M. It's a copy of your interrogatory.            18        Q. Prior to closing?
 19            [Defendant's Exhibit M                          19        A. Prior to closing. We had a special real
 20            marked for identification.]                     20   estate closing agreement. He had 90 days.
 21   BY MS. ROBERTSON:                                        21        Q. Prior to closing?
 22        Q. In your -- these are your answers to             22        A. Prior to closing.
 23   Officer Cockrell's interrogatories.                      23        Q. Okay.
 24        And if you turn to Page 6, Interrogatory Number     24        Did you send him any letters, communications, or
 25   11 is asking you about communications between yourself   25   notices after closing that you were going to remove the

                                                                                       26 (Pages 101 to 104)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 27 of 76 PageID
                                                        #: 842
                                                         105                                                           107
  1   property?                                                  1   backyard.
  2        A. No.                                                2        Q. Is that where it was the last time you saw
  3       Q. Did you have any contact with him after             3   it?
  4   closing, before removal of the items from the property?    4        A. Yes.
  5        A. I did. That's when he came out and                 5        Q. Had you driven it that day?
  6   vandalized and stole from the property, and I let him      6        A. I was changing the oil, and -- it was the
  7   come out and remove some -- what items -- what he          7   day before, I was changing the oil and draining some
  8   wanted.                                                    8   fuel out of it.
  9       Q. Now I want to -- I'd like to switch gears           9        Q. I'm going to show you what's been marked
 10   here to October 22nd of 2022.                             10   for identification as Defendant's Exhibit --
 11       On that date, where did you normally store the        11            MS. ROBERTSON: Do you know what we're on?
 12   trike?                                                    12            THE REPORTER: The next one's N.
 13        A. In my garage.                                     13            MS. ROBERTSON: N?
 14       Q. Where is your garage located?                      14            [Defendant's Exhibit N
 15        A. Behind my house.                                  15            marked for identification.]
 16       Q. Is your garage visible from the front of           16   BY MS. ROBERTSON:
 17   your house?                                               17        Q. Mr. Thompson, do you recognize Defendant's
 18        A. No.                                               18   Exhibit N?
 19           [Discussion off the record.]                      19        A. I do.
 20   BY MS. ROBERTSON:                                         20        Q. How do you recognize that?
 21       Q. Mr. Thompson, I'm going to show you what's         21        A. That's my backyard.
 22   been marked for identification as Plaintiff's Exhibit     22        Q. And there is a blue marking in that
 23   Number 8.                                                 23   photograph.
 24       Can you take a look at that and tell me if you        24        A. Uh-huh.
 25   recognize that?                                           25        Q. Do you know what that is?

                                                         106                                                           108
  1       A. I do.                                               1       A.   Inside the blue marking?
  2       Q. How do you recognize that?                          2       Q.   Well, do you know who made that marking?
  3       A. That's my home.                                     3       A.   I don't.
  4       Q. Would you agree there's a driveway                  4       Q.   Okay.
  5   depicted in that photograph?                               5           MR. GELFAND: Sorry. Which one is N?
  6       A. Yes.                                                6           MS. ROBERTSON: Are we all looking at --
  7       Q. And would you agree there's a vehicle in            7   do we have the same?
  8   the driveway of that photograph?                           8           MR. GELFAND: I'm not, but that's okay.
  9       A. Yes.                                                9           MS. ROBERTSON: Is it not? It should be.
 10       Q. To the right of that vehicle, I can see            10           MR. GELFAND: It's okay. Is it this one?
 11   some shutters and a window.                               11           MS. ROBERTSON: Yeah.
 12       A. Uh-huh.                                            12           MR. GELFAND: Okay. There.
 13       Q. What room of that -- is that in your               13   BY MS. ROBERTSON:
 14   residence?                                                14       Q. Does that blue marking have any
 15       A. It's the garage.                                   15   significance to you?
 16       Q. Where's the door, the vehicle door to the          16       A. Yeah, that's where the motorcycle was
 17   garage?                                                   17   parked.
 18       A. The back side of the home.                         18       Q. On October 22nd?
 19       Q. Okay.                                              19       A. Yes.
 20       And I think I've -- so is that the garage where       20       Q. The last time you saw it?
 21   you stored your trike?                                    21       A. Yeah. The helmet's next to it there, the
 22       A. Yes.                                               22   brown -- that black thing on the ground is the helmet.
 23       Q. On October 22nd of 2023 (sic), where was           23   And the bike was right there next to it.
 24   your trike?                                               24       Q. Which side of the helmet was the bike on?
 25       A. Outside of -- in my driveway, in my                25       As you're looking at this photograph --

                                                                                       27 (Pages 105 to 108)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 28 of 76 PageID
                                                        #: 843
                                                        109                                                            111
  1        A. It was in front of that Jeep top. See the         1       A. No.
  2   hard top for the Jeep?                                    2       Q. Was anyone else anywhere else on your
  3        Q. Uh-huh.                                           3   property -- and let me back up here.
  4        A. It was -- the bike was located in front of        4       The photograph we're looking at in Exhibit N and
  5   that Jeep top.                                            5   Plaintiff's Exhibit 8, is that your residence at 1209
  6        Q. Okay.                                             6   Cottagemill?
  7        So is this -- was the trike within this blue         7       A. This?
  8   circle?                                                   8       Q. Yes.
  9        A. A little bit -- a little bit to the right         9       A. Exhibit N? Yes, that's the backyard of my
 10   of it.                                                   10   property.
 11        Q. Mr. Thompson, one thing I forgot to              11       Q. Okay.
 12   mention earlier I wanted to confirm.                     12       Was anyone else outside your residence on
 13        We've had some other depositions in this case       13   October 22nd that you knew of?
 14   this week.                                               14       A. No.
 15        Would you agree?                                    15       Q. Did you reside with anyone on October 22nd
 16        A. Yeah.                                            16   of 2022?
 17        Q. And you sat through all of those                 17       A. I had my daughter. I shared custody with
 18   depositions.                                             18   my daughter, 15-year-old daughter. And like we
 19        Is that correct?                                    19   established earlier, my cousin stays with me
 20        A. Right.                                           20   periodically. I don't know when that is. He comes and
 21        Q. And so you heard the testimony of all the        21   stays when he's in between -- he works around the
 22   witnesses that were deposed earlier this week.           22   country, so in between jobs.
 23        Is that correct?                                    23       Q. Well, we talked about earlier, neither of
 24        A. I think, yeah, parts of them. Yeah.              24   those two individuals were home?
 25        Q. Did anyone else have access to your trike        25       A. No.

                                                        110                                                            112
  1   on October 22nd of 23rd -- or 2023 -- 2022? Sorry.        1        Q. Okay.
  2       A. No.                                                2        Is it fair to say, then, the only person, to
  3       Q. Did anyone else have permission to use             3   your knowledge, with your permission that was at your
  4   your trike on October 22nd, 2022?                         4   residence on the 22nd was you?
  5       A. No.                                                5        A. Correct.
  6       Q. Were you home on the evening of October            6        Q. In your answer in Exhibit M, which I think
  7   22nd, 2022?                                               7   you have.
  8       A. I believe I got home after, in the early           8        A. Uh-huh.
  9   morning hours of October 23rd.                            9        Q. If you turn to Interrogatory Number 4.
 10       Q. What time -- what time did you leave your         10        A. Page 4?
 11   home?                                                    11        Q. Page 3.
 12       A. That day?                                         12        You wrote, Jeremiah Thompson witnessed Defendant
 13       Q. Did you leave your house on the 22nd, or          13   Gerholdt telling Plaintiff that he went on his
 14   had you been gone prior to that?                         14   property.
 15       A. I left the house in the morning, went to          15        And I'll submit that your answer is analogous in
 16   work, and worked all day, and then I stayed working at   16   your answers to Officer Gerholdt's interrogatories.
 17   my office most of the night.                             17        What are you alleging your brother witnessed?
 18       Q. Do you know what time you left your house         18             MR. GELFAND: I would object to the form
 19   on October 22nd?                                         19   of the question to the extent that it states that he is
 20       A. I don't. I'm going to guess somewhere             20   alleging anything.
 21   around 10:00 AM. 9:00 to 10:00 AM.                       21             MS. ROBERTSON: I can rephrase it.
 22       Q. And you did not return until the 23rd?            22   BY MS. ROBERTSON:
 23       A. Yeah.                                             23        Q. So what are you saying your brother
 24       Q. Was anyone else home, to your knowledge,          24   witnessed?
 25   while you were gone on the 22nd?                         25             MR. GELFAND: I would just object to the


                                                                                       28 (Pages 109 to 112)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 29 of 76 PageID
                                                        #: 844
                                                        113                                                            115
  1   form of the question. I'm not trying to be difficult.     1   trespassed, violated my every right, every homeowner
  2   If you're just asking what he observed, I have no         2   right imaginable.
  3   problem with that. I just don't want to -- I want to      3        And I said, how did you know it was the right
  4   know what you're actually asking.                         4   motorcycle?
  5   BY MS. ROBERTSON:                                         5        And Gerholdt said, you know, well, we didn't go
  6        Q. Well, it says Jeremiah Thompson                   6   in the backyard.
  7   witnessed -- so let me back up.                           7        Initially Officer Gerholdt told me he did not go
  8            MR. GELFAND: If you ask him what he's            8   in the backyard. Neither of them would admit to that.
  9   referring to, I think that gets you there.                9        And then he said -- I said, well, how did you
 10   BY MS. ROBERTSON:                                        10   know it was the right motorcycle? I own several.
 11        Q. In that statement, what are you referring        11        And he said, well, we checked the VIN.
 12   to?                                                      12        And I said, well, that would have been hard to
 13        A. Okay. Do I tell the whole --                     13   do from such a distance, and in the dark.
 14        Q. Well, you start where you would like, and        14        And Officer Gerholdt and Cockrell said this is a
 15   we might stop and come back to it later. But --          15   civil matter.
 16        A. Okay. Okay.                                      16        And then they both decided to leave my property.
 17        So I came home. I noticed my gate was open.         17        And I was angry, and I said, you know, I
 18        I walked in the back. Normally I enter through      18   forgot -- you know, I forgot what I said exactly, but I
 19   the front door, but I noticed the gate was open.         19   said, where are you going? Do you want to see my
 20        I have a puppy, so I normally keep the gate         20   paperwork that I own this bike that you just stole from
 21   shut. And I was worried that the puppy was out.          21   my property?
 22        And then when I walked back there, I noticed my     22        And they said -- they said this is a civil
 23   motorcycle was gone, so I called 911. They referred me   23   matter. We're the police. We can go anywhere -- I
 24   to Manchester Police Department.                         24   said you trespassed, and they said we're the police.
 25        I noticed the bike was gone, and I was              25   We can go anywhere we want.

                                                        114                                                            116
  1   hysterical and panicking. I ran over to my neighbor's     1        And then they drove -- they just drove away.
  2   house and asked them if their ring camera was             2        So then I was panicked and upset that they just
  3   functional. And that's Maria. And then I -- and I         3   basically violated everything, you know, and my
  4   woke them up, her and her fiancé, Christian.              4   property and me, and my personal property.
  5        And then I -- I called 911, and they referred me     5        So I called I believe it was 911 back. And they
  6   to Manchester.                                            6   referred me back to -- it was either 911 or Manchester
  7        I called Manchester. They dispatched Officer         7   Police.
  8   Gerholdt and Officer Cockrell to my house.                8        And I said I need to speak to a supervisor. And
  9        I was still in my driveway, talking to my            9   then I need somebody to come out here, because your
 10   neighbors to the left or west of my house. You can see   10   officers just stole my motorcycle, and they left.
 11   their house in the photos. And so to see if they         11        And so that's when Officer Waters and Gerholdt
 12   had -- their cameras were functioning, and -- when       12   and Cockrell returned to my property.
 13   Officer Gerholdt and Cockrell pulled up in front and     13        And then Officer Waters came up to my door, my
 14   met me in the driveway.                                  14   front door. I was sitting out there.
 15        Then I said I need to report my motorcycle as       15        I called -- in between the time they came there,
 16   stolen.                                                  16   I called my brother, and I said basically, you're not
 17        And they went to tell me that they let two          17   going to believe what happened. The police just
 18   people -- they let two people onto my property, take     18   totally went on my property and stole my motorcycle.
 19   the motorcycle, because they had a title.                19   And I go, it's insane, you know.
 20        I informed them I was in a title dispute and had    20        And so my brother goes -- he said, I'll be over
 21   other law enforcement agencies involved in this, and I   21   there in a few minutes. He lives over in Kirkwood.
 22   asked them do they want to see the paperwork?            22        So he came over to my house, and he showed up
 23        You know, I was visibly upset, because I just       23   right as -- he showed up right after Cock -- or
 24   lost this motorcycle, right, and I had put a lot of      24   Cockrell and Waters had left the second -- or left --
 25   work and time into it. And I was upset that they         25   Cockrell left the second time and Waters left.

                                                                                      29 (Pages 113 to 116)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 30 of 76 PageID
                                                        #: 845
                                                         117                                                           119
  1        When Waters came to my door, he asked for my          1   me they never went -- Cockrell and Gerholdt said they
  2   documents proving that the motorcycle is mine.             2   never went into the backyard.
  3        He said Mr. Thompson, can we see your paperwork.      3       And then they both -- or not both, but Gerholdt
  4        And I showed him the title.                           4   admitted to going in the backyard, after.
  5        Then I offered to show Cockrell and Gerholdt          5       Q. I kind of want to come back and break that
  6   this stuff, and they said this is a civil matter. We       6   down and make sure that I understand it.
  7   don't need to see anything, originally.                    7       A. Uh-huh.
  8        And they left, and then Officer Waters came to        8       Q. But I'm going to ask a few different
  9   my door and said, Mr. Thompson, can I see your             9   questions first.
 10   paperwork?                                                10       A. Yeah, it's crazy. Yeah, it's crazy.
 11        I showed it to him. They all went out into the       11   Yeah.
 12   street with the original title, all of the paperwork.     12       Q. Do you have any security cameras at your
 13   Viewed it, and Officer Waters instructed Officer          13   residence at 1209 Cottagemill?
 14   Gerholdt to call them and retrieve the bike.              14       A. I do now.
 15        And my -- and then my brother -- then Officer        15       Q. But did you on October 22nd of 2022?
 16   Gerholdt stayed in his car, and Officer Waters told me,   16       A. No.
 17   don't worry, we'll get this taken care of.                17       Q. Did you have a Ring doorbell or any other
 18        And Officer Cockrell and Waters left and             18   Ring cameras?
 19   Gerholdt stayed there.                                    19       A. No. I have many cameras now, though.
 20        And then my brother came in, came to my house.       20       Q. Did you have any other audio or visual
 21   We were out sitting on my front porch.                    21   recording devices at the home on October 22nd of 2022?
 22        And Officer Gerholdt gave me a police report --      22       A. No. Just my phone and my brother's phone.
 23   a report, and he handed me a police report and said,      23       Q. You mentioned that you went over to your
 24   well, I'm going to wait here and see if they bring back   24   neighbor's home. That's the Wagner's; correct?
 25   the bike. But until then -- and then I think Mr. Rench    25       A. Maria and Christian, yeah.

                                                         118                                                           120
  1   told him no, I'm not bringing it back.                     1        Q. And you mentioned them having a Ring?
  2         So he gave me a police report.                       2        A. It's on the front of their house.
  3         My brother was there when that happened, and he      3   Doorbell.
  4   had conversations with Officer Gerholdt in regards to      4        Q. And does the front of their house face
  5   this.                                                      5   your backyard?
  6         Then they admitted to my brother that they had       6        A. No.
  7   actually went into the backyard after that as well.        7        Q. Do you know if they have any other audio
  8         Q. Were you present when officers -- well,           8   or visual recording devices at their home?
  9   let's back up.                                             9        A. I don't.
 10         You just said they admitted to my brother that      10        Q. Where did the Wagners live in connection
 11   they went into the backyard.                              11   to you?
 12         A. Yes.                                             12        A. To the left -- if you're facing my house,
 13         Q. Who is they?                                     13   to the left or west of my property.
 14         A. Well, not they. Gerholdt did.                    14        Q. And do they live on the same street as
 15         Q. Were you present?                                15   you?
 16         A. Yes.                                             16        A. Their house faces Parkfield. They back
 17         Q. So did you also hear that?                       17   up -- it's on a corner, so we're both on the corner.
 18         A. Yes.                                             18        Q. So the left side of their house and --
 19         Q. What specifically did Officer Gerholdt           19   well.
 20   say?                                                      20        The two sides of your houses kind of are near
 21         A. I don't remember all of the details of the       21   each other?
 22   conversation, but he was -- he said that he went into     22        A. My house faces south, and their house
 23   the back, because I had asked him how did you know the    23   faces west.
 24   bike was the right one?                                   24        Q. And so then your backyards are near each
 25         And then he admitted -- initially they both told    25   other? Is that --

                                                                                       30 (Pages 117 to 120)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 31 of 76 PageID
                                                        #: 846
                                                         121                                                           123
  1         A. Yes.                                              1   time you spoke with Maria or Christian?
  2         Q. Okay.                                             2        A. I spoke with them the other day, telling
  3         Did you -- did you speak to Maria on the 23rd?       3   them I was sorry that they were getting dragged into
  4         A. Yes.                                              4   this, and apologizing for not remembering that they
  5         Q. What did you say to her?                          5   were fiancées then, they're now married. So I didn't
  6         A. I said -- I asked her if she had cameras.         6   remember their wedding.
  7         Maria and her fiancé, Christian, came out.           7        Q. I'm sorry. You said what about their --
  8         And I said, "Do you have cameras on the back of      8        A. I didn't remember that they got, their
  9   your home? Because someone stole my motorcycle. I'm        9   wedding day. I should have -- I apologized for not
 10   sorry to wake you up so late."                            10   being a good neighbor and not --
 11         And they indicated that they didn't, but that       11        Q. Did you go to their wedding?
 12   they heard the motorcycle start late at night, and they   12        A. No.
 13   said that was not -- that was unusual, because normally   13        Q. Are you anything more than neighbors with
 14   I drive the motorcycles during the day, and they heard    14   Maria and Christian?
 15   it at 11:00 or 11:30 at night, which was not typical      15        A. No. No.
 16   for me.                                                   16        Q. Do you hang out socially?
 17         They said it was actually so loud that it woke      17        A. No.
 18   them up.                                                  18        Q. I'll show you what's been marked for
 19         Q. Did you go ring their doorbell?                  19   identification as Defendant's Exhibit O.
 20         A. Yes.                                             20            [Defendant's Exhibit O
 21         Q. Is that how you made contact with them?          21            marked for identification.]
 22         A. Yes.                                             22   BY MS. ROBERTSON:
 23         Q. And did -- where did you speak with them?        23        Q. Mr. Thompson, do you recognize Defendant's
 24         A. On just -- to the west of my driveway,           24   Exhibit O?
 25   behind their -- behind their house, and in between        25        A. I do.

                                                         122                                                           124
  1   their house and my driveway.                               1        Q. How do you recognize that?
  2        Q. So did they then -- they came out of their         2        A. It's a copy of a letter that Maria and her
  3   house and walked around --                                 3   now-husband Christian provided for me, because I asked
  4        A. Yeah.                                              4   them what time they heard the motorcycle leave the
  5        Q. -- to you --                                       5   property, and they were -- they said it woke them up,
  6        A. Yeah, were standing there, talking to me.          6   so they were pretty specific about the time, you know.
  7   We were waiting for the police to show up.                 7        Q. I don't -- I don't want to know anything
  8        Q. Do you know what time this was,                    8   between you and your attorney.
  9   approximately?                                             9        When did you first see this letter?
 10        A. Somewhere around 2:00 AM, I guess. 1:00           10        A. I had them print it for me a long time
 11   to 2:00 AM.                                               11   ago. I mean, it was pretty much right after the
 12        Q. And just to confirm, did either Chris or          12   incident happened.
 13   Maria tell you they saw anything?                         13        Q. Is it dated October 24th of 2022?
 14        A. They did not say that.                            14        A. Probably, yeah.
 15        Q. They did not say that?                            15        Q. Okay.
 16        A. Yeah, they did not tell me that.                  16        And do you believe that that may be close in
 17        Q. Did they tell you they heard anything             17   time to when you first --
 18   other than the motorcycle?                                18        A. Yeah.
 19        A. No.                                               19        Q. -- received this?
 20        Q. Did they tell you they heard voices?              20        A. Yeah. I asked them to provide this even
 21        A. I don't recall.                                   21   before, you know, anything, because I just wanted a
 22        Q. Did they tell you they heard anyone say           22   record.
 23   anything?                                                 23        Q. Did -- and so Maria and Christian provided
 24        A. I don't recall.                                   24   this to you?
 25        Q. When -- prior to today, when was the last         25        A. Yes.

                                                                                       31 (Pages 121 to 124)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW            Doc. #: 39-10THOMPSON
                                               RAYMOND        Filed: 01/11/24        Page: 32 of 76 PageID
                                                       #: 847
                                                        125                                                           127
  1       Q. Did they just walk it over to your house,          1        Q. There's a -- I think it's a Jeep. Is that
  2   or how did you receive this?                              2   a Jeep?
  3       A. They walked it over to my house. I asked           3        A. Yeah.
  4   them if they could make a statement.                      4        Q. Is that where that vehicle is normally
  5       Q. Have you discussed this incident any               5   parked?
  6   further with Maria and Chris?                             6        A. No.
  7       A. No. They don't -- they don't know the              7        Q. Where is that vehicle normally parked?
  8   specifics or details as much.                             8        A. That's parked -- at the time I had that
  9       I mean, I did tell them that the police stole         9   vehicle, the Corvette, and the blue Ford F-150. So you
 10   the motorcycle, invaded my privacy, trespassed, and      10   know, they kind of -- I would move them around.
 11   they agreed that they would be willing to help in this   11        In one of the pictures, the Jeep -- that Jeep is
 12   regard. So --                                            12   in front of the gate, and then in another vehicle
 13       Q. Okay.                                             13   picture, this picture, it's in the yard.
 14       So now I kind of want to go back with what you       14        Q. Okay. Let's --
 15   explained to me and kind of break this down to make      15        A. As they get used, I pull -- sometimes I
 16   sure I understand.                                       16   have to move two or three cars.
 17       A. Okay.                                             17            MS. ROBERTSON: We could mark these, I
 18       Q. So October 22nd of 2022, you left at 10:00        18   guess, P through V, I guess.
 19   AM and returned home on the 23rd around 1:00 AM.         19            [Defendant's Exhibits P through V
 20       Is that correct?                                     20            marked for identification.]
 21       A. Vaguely, yeah. Somewhere around those             21            [Discussion off the record.]
 22   times. I don't know the exact time, but yeah.            22   BY MS. ROBERTSON:
 23       Q. Okay.                                             23        Q. Mr. Thompson, if you look at Defendant's
 24       And you have a puppy also?                           24   Exhibit P, there appears to be one or two vehicles in
 25       A. He's no longer a puppy, but yes, I had a          25   your driveway. Let's see.

                                                        126                                                           128
  1   puppy at the time.                                        1        Defendant's Exhibit S might have a better visual
  2        Q. Did anyone come to your house on the 22nd         2   of the rear vehicle.
  3   to let the puppy out to go potty?                         3        A. Uh-huh.
  4        A. No, he's kennelled.                               4        Q. Do you know whose vehicles those are?
  5        Q. Does he just do his business in the               5        A. Those are mine.
  6   kennel?                                                   6        Q. Okay.
  7        A. He -- when he was that small, he did.             7        Is the vehicle in -- it looks like there's a
  8   Yes. He's since potty-trained, yes.                       8   Jeep Rubicon there?
  9        Q. And when you left your residence on the           9        A. Right.
 10   22nd, was your gate open or closed or something else?    10        Q. Is that Jeep the same -- is that Jeep the
 11        A. Closed.                                          11   same as the Jeep that's in Exhibit N?
 12        Q. How do you normally -- prior to October          12        A. No.
 13   22nd of 2022, how did you normally keep your gate?       13        Q. What's the vehicle behind the Rubicon?
 14        A. I would pull it shut. It has handles, and        14        A. That's a Ford F-150.
 15   I pull, you know, the one side -- there's two separate   15        Q. Okay.
 16   gates, and so I pulled them shut.                        16        And Exhibit N, is that a Renegade?
 17        Q. In Defendant's Exhibit N, if you could           17        A. It's a -- yeah. Wrangler.
 18   take a look at that for me. It's one of them.            18        Q. Exhibit N is a Wrangler?
 19            MR. GELFAND: This one?                          19        A. N? Wait a minute.
 20            MS. ROBERTSON: Yeah, it's that photo with       20        Q. Well, to be fair, I guess a Rubicon is a
 21   the blue circle.                                         21   Wrangler also. They're just different trim levels.
 22        A. Okay. This one? (Indicating.)                    22        A. Yeah. Right. Right.
 23   BY MS. ROBERTSON:                                        23        Q. Are you also a Jeep enthusiast, Mr.
 24        Q. Yeah.                                            24   Thompson?
 25        A. Okay.                                            25        A. Also, yeah. Also.

                                                                                      32 (Pages 125 to 128)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 33 of 76 PageID
                                                        #: 848
                                                         129                                                           131
  1         Q. Okay.                                             1        A. Yeah.
  2         A. Yeah, that's a Wrangler.                          2        Q. Blue circles.
  3         Q. Okay.                                             3        Did you make those circles?
  4         Now, you also have -- okay, that -- that's an        4        A. Yeah. Because when the -- you know, the
  5   F-150 behind the Rubicon in Exhibit S?                     5   fairing on the trike is wide, so whoever tried to
  6         A. Yes.                                              6   squeeze it through, I mean, I'm surprised that they
  7         Q. You also have a Corvette?                         7   were supposed to squeeze it through there.
  8         A. Yes.                                              8        Q. You said the fairing?
  9         Q. Where do you park the Corvette?                   9        A. The fairing. So you know, the normal
 10         A. It's in storage. Sometimes -- sometimes          10   motorcycles are narrow, two wheels.
 11   it's at the house in the summer. Sometimes I put -- I     11        This is a wide fairing.
 12   have a storage unit.                                      12        So when they tried to squeeze it through there,
 13             MR. GELFAND: Are you asking him about the       13   they hit both of these -- so there's scratches on --
 14   date at issue, or generally?                              14   and broken fiberglass on both corners of -- when I got
 15             MS. ROBERTSON: Just generally.                  15   the trike back, there was damage to both fairings, or
 16         A. Oh.                                              16   both sides of the --
 17   BY MS. ROBERTSON:                                         17        Q. On the trike?
 18         Q. So prior to October 22nd, did you have a         18        A. Yeah, the rear wheel fairings.
 19   usual parking spot for each of those vehicles?            19        Q. Is there any damage depicted in this
 20         A. No, just random. Just whatever I felt            20   photograph?
 21   like driving.                                             21        A. Yeah. There's scratches on the Jeep, the
 22         Q. Okay.                                            22   front of the Jeep, and then there's damage to the
 23         Was there a vehicle that was usually parked in      23   fence, too, as well.
 24   the garage?                                               24        Q. Have you obtained any repair estimates as
 25         A. The trike motorcycle.                            25   to the damage to the Jeep?

                                                         130                                                           132
  1       Q. The trike's home was in the garage?                 1        A. No.
  2        A. Right.                                             2        Q. Have you obtained any repair estimates as
  3       Q. Okay.                                               3   to the damage to the fence?
  4        A. I had another bike in the garage as well.          4        A. No.
  5       Q. And the Corvette was at the storage unit,           5        Q. Do you intend to get those items repaired?
  6   you said?                                                  6        A. I don't know. Maybe.
  7        A. Uh-huh.                                            7        Q. Do you -- do you have any estimate,
  8       Q. And so then there's two Jeeps and a F-150?          8   yourself, of the damage to the fence or the Jeep?
  9        A. Correct.                                           9        A. I don't. I don't know what it would cost
 10       Q. And is it fair to say, then, the two Jeeps         10   to fix them.
 11   and the F-150 kind of had moving places that they might   11        The damage was worse to the bike, trying to
 12   be parked, different places they might be parked?         12   squeeze it through there.
 13        A. Right, depending on which one I was               13        Q. Defendant's Exhibit Q. If you would turn
 14   driving, and -- right.                                    14   to that, please.
 15       Q. Okay.                                              15        A. Okay.
 16       In Exhibit -- Defendant's Exhibit P, we talked        16        Q. There's what kind of looks to me like an X
 17   about a puppy.                                            17   and an O?
 18       Is that the puppy?                                    18        A. Uh-huh.
 19        A. Yeah, that's him. Chewy. Yeah.                    19        Q. Do you see what I'm referring to?
 20       Q. What's his name?                                   20        A. I do.
 21        A. Chewy.                                            21        Q. Did you make those markings?
 22            MR. GELFAND: We'll stipulate that that's         22        A. I don't remember making them, but that's
 23   Chewy.                                                    23   the helmet for the bike and that's where the bike was
 24   BY MS. ROBERTSON:                                         24   parked.
 25       Q. There are two circles in Exhibit P.                25        Q. And I haven't been out to your property.

                                                                                       33 (Pages 129 to 132)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 34 of 76 PageID
                                                        #: 849
                                                        133                                                            135
  1        A. Uh-huh.                                           1        Q. I'm sorry. I can't read my own
  2        Q. Is that some sort of handwriting on the           2   handwriting.
  3   photo, or is that spray paint on the pavement?            3        Exhibit V?
  4        A. That's handwriting on the photo.                  4        A. Yes.
  5        Q. Okay.                                             5        Q. Somewhere, I believe it's in your
  6        And in Exhibit Q. If you look, there is a Jeep       6   interrogatory answers, but you state these photographs
  7   in the right hand -- upper right corner of Exhibit Q;     7   were taken on November 8th of 2022.
  8   correct?                                                  8        Does that sound right?
  9        A. Uh-huh.                                           9        A. I don't remember, but it could.
 10        Q. And then if you go to the left of -- the         10        Q. Did you take these photographs?
 11   left --                                                  11        A. I did.
 12        A. Behind the Jeep?                                 12        Q. In your interrogatory answers, I believe
 13        Q. Behind the Jeep.                                 13   you referenced some damage to the grass or that you --
 14        Is that your gate?                                  14   something of that fashion.
 15        A. Yes.                                             15        Do any of these photographs depict what you were
 16        Q. And is that where you -- your driveway           16   referring to?
 17   extends to go out to the street?                         17        A. Well, when they pulled through the grass,
 18        A. Correct.                                         18   like they drove through the grass, because they
 19        Q. And if you go to Exhibit R.                      19   couldn't get around the vehicles -- there were two
 20        Is that the gate that is -- that we just            20   vehicles in the driveway, so they drove -- they
 21   discussed?                                               21   squeezed through the Jeep and the gate, damaged the
 22        A. Yes.                                             22   bike, and then they drove through the grass.
 23        Q. And then the driveway we just discussed?         23        Q. Are you able to -- so --
 24        A. Yes.                                             24        A. They not only trespassed my yard, but my
 25        Q. And then continuing to the right off the         25   neighbor's yard as well.

                                                        134                                                            136
  1   page would be how you would back out into the street?     1        Q. I'll show what's been marked for
  2        A. Yeah, to the right. Yes.                          2   identification as Defendant's Exhibit W.
  3        Q. And then if you turn to Exhibit S, we can         3           [Defendant's Exhibit W
  4   see the Jeep and backing out into the street; correct?    4           marked for identification.]
  5        A. That -- well, that's the Rubicon. And             5   BY MS. ROBERTSON:
  6   then the F-150 there. But yeah.                           6        Q. Mr. Thompson, can you turn to Page 3 of
  7        Q. A different Jeep.                                 7   Defendant's Exhibit W?
  8        A. Yeah.                                             8        A. Yes.
  9        Q. And I'm not trying to suggest vehicles are        9        Q. And I would direct your attention to your
 10   doing anything.                                          10   answer to Interrogatory Number 4, specifically the
 11        A. Right.                                           11   fourth bullet point.
 12        Q. I'm just talking about that's the                12        You state, "Plaintiff took a photo of tracks in
 13   driveway --                                              13   his lawn that were made when his motorcycle was removed
 14        A. That's how you would get out to the              14   from his property at 1209 Cottagemill Drive on October
 15   street, yes.                                             15   22nd-23rd, 2022. He took the photo on November 8th,
 16        Q. Thank you.                                       16   2022."
 17        Is Defendant's Exhibit T another photograph of      17        Can you tell me which of the photos, which of
 18   your property?                                           18   the exhibits we've just looked at, depicts what you've
 19        A. Yes.                                             19   answered there?
 20        Q. Is Defendant's Exhibit U another                 20        A. I'm not sure. I did take a picture of the
 21   photograph of your property?                             21   tracks. Maybe it's -- it's hard to tell from the
 22        A. Yes.                                             22   photos. But there were clearly tracks going out on the
 23        Q. Is Defendant's Exhibit K another                 23   grass.
 24   photograph of your property?                             24        Q. Did you have to conduct repairs to your
 25        A. I don't have K.                                  25   grass or yard?


                                                                                       34 (Pages 133 to 136)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 35 of 76 PageID
                                                        #: 850
                                                         137                                                            139
  1        A. No. No. I just mowed it.                           1   with St. Louis County Police, and they directed me --
  2       Q. Did you incur any costs in connection with          2   when I gave them my address, they said you need to call
  3   the tracks?                                                3   Manchester Police.
  4        A. No.                                                4       Q. Did you -- did they just transfer you, or
  5       Q. After you returned home on October 23rd of          5   did you look up the phone number?
  6   2022 and realized your motorcycle was gone -- strike       6       A. I think they gave me the phone number.
  7   that.                                                      7       Q. And did you then call Manchester?
  8       On October 22nd, 2022, when your left your             8       A. I called Manchester.
  9   residence, was your gate closed?                           9       Q. Excuse me.
 10        A. When I left?                                      10       Do you recall what you said to whoever answered
 11       Q. When you left.                                     11   the phone?
 12        A. Are you referring -- in the morning, yes.         12       A. I said, I need to report a stolen vehicle.
 13       Q. On the 22nd?                                       13   My motorcycle has been stolen off my property.
 14        A. Correct.                                          14       Q. And then is the next thing you did to go
 15       Q. And did you return home at all on the              15   to your neighbor Maria and Christian's?
 16   22nd?                                                     16       A. Yes.
 17        A. I don't believe so.                               17       Q. Did you do anything between calling
 18       Q. So is the next time that you were at your          18   Manchester and going to your neighbors?
 19   residence on October 23rd of 2022?                        19       A. No.
 20        A. Yes.                                              20       Q. After you spoke with Maria or --
 21       Q. And when you returned home, I believe you          21       A. Maria and Christian.
 22   told me the gate was open.                                22       Q. Maria and Christian -- strike that.
 23       Is that correct?                                      23       At some point did a law enforcement officer
 24        A. Yes.                                              24   respond?
 25       Q. Do you know how far the gate was open?             25       A. At some point?

                                                         138                                                            140
  1        A. It was -- the left side -- there are two           1        Q. At some point.
  2   gates. The left side was completely open.                  2        A. Yes.
  3        Q. Does your gate have any locking mechanism?         3        Q. When did an officer respond?
  4        A. It has got a hasp on it. There is a hasp.          4        A. I'm guessing approximately 15, 20 minutes
  5   You know -- you know what a hasp --                        5   later, after calling Manchester.
  6        Q. I don't.                                           6        Q. Were you still speaking with Maria and
  7        A. Okay. So a hasp is like -- closes, and             7   Christian?
  8   then there's a hole that you could drop a pin or a lock    8        A. Yes.
  9   on.                                                        9        Q. Was Christian still outside?
 10        I don't lock it, because I never thought I had       10        A. Both of them were still there when the
 11   to. But I usually just put a pin in it, like there's a    11   police pulled up.
 12   pin that hangs through the hole, and it keeps it from     12        And then I left talking to them and went over to
 13   opening so the dog can't get out.                         13   talk to the police in my driveway.
 14        Q. So is it fair to say, then, any                   14        We were in between our properties, and I walked
 15   able-bodied person could lift the pin and open the        15   closer to the police to greet them.
 16   gate?                                                     16        Q. Do you know what Maria and Christian did?
 17        A. Yes.                                              17        A. I think they went back inside at some
 18        Q. They didn't need a key?                           18   point, once the police arrived.
 19        A. They did not need a key.                          19        Q. Do you know who the police officer was
 20        Q. Didn't need a code?                               20   that arrived first?
 21        A. No.                                               21        A. I think they both arrived about the same
 22        Q. And then you said you called 911?                 22   time, but I'm guessing Gerholdt arrived first, and then
 23        A. Called 911.                                       23   Cockrell arrived shortly after.
 24        Q. And they directed you to Manchester?              24        Q. Did you -- did you make contact with one
 25        A. Yeah. I think originally I got connected          25   of -- with the officers?

                                                                                        35 (Pages 137 to 140)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 36 of 76 PageID
                                                        #: 851
                                                         141                                                            143
  1        A. I approached them. They got out of their           1        A. That's fair.
  2   cars and were approaching me, and I approached them,       2        Q. And what vehicles were still at your
  3   and then we kind of met in my driveway.                    3   residence when you left on the 22nd?
  4        Q. Do you know who spoke first?                       4        A. The Jeep Gladiator, the Jeep Wrangler, and
  5        A. I think it was -- I think I spoke first.           5   the -- the Harley-Davidson trike, and the motorcycle --
  6   I said I want to report my motorcycle as stolen.           6   the custom motorcycle, Hardtail, in my garage.
  7        Q. Is that verbatim what you said?                    7        Q. The Hardtail was in the garage?
  8        A. I'm -- I'm fairly confident, yes.                  8        A. Inside my garage.
  9        Q. Were you upset at that point in time?              9        Q. Where was the Gladiator?
 10        A. Yes. Extremely. I was panicked.                   10        A. It was up close to the gate.
 11        Q. Did you know what had happened at that            11        Q. Inside the gate, or outside?
 12   point in time?                                            12        A. Outside the gate, up close to the gate.
 13        A. No. I just assumed somebody had broken            13        Q. And then by process of elimination, the
 14   into my yard and stolen my bike, though I had no reason   14   Wrangler was inside?
 15   to believe the police stole it at that time.              15        A. Correct. Inside the backyard.
 16        Q. Did you have any thoughts about who might         16        Q. What will did you -- what, if anything,
 17   have taken your motorcycle?                               17   did you say to Officer Gerholdt when he told you that
 18        A. No. I thought -- no. I mean, it was -- I          18   Nathan Rench's daughter provided a title?
 19   was just -- I was assuming it was just a random, you      19        A. I -- I was upset. I was -- I said a lot
 20   know.                                                     20   of things. I mean, I said, you did what? You know,
 21        Q. So what did -- did the officers reply to          21   and then I said, it's an ongoing -- ongoing issue with
 22   you?                                                      22   this title. I have already had law enforcement
 23        A. Yes.                                              23   involved in this. They're obtaining a fraud -- you
 24        Q. What did they say?                                24   know, the fraudulent title.
 25        A. Officer Gerholdt said, "Mr. Thompson, we          25        And I said, can -- and I offered to show him and

                                                         142                                                            144
  1   were here earlier."                                        1   Cockrell the documents, my documents.
  2        I can't remember word for word what was said.         2        And they said, this is a civil matter.
  3   Should be on his body cam. But I can't remember word       3        I think I might have called them both idiots at
  4   for word what was said.                                    4   one time.
  5        But he said, "We -- we were here earlier, Mr.         5        And they said this is -- they said this is a
  6   Thompson, and Nathan Rench's daughter provided a title     6   civil matter. We -- and they --
  7   or showed us a title, and we let them take the             7        I said do you want to see my documents?
  8   motorcycle."                                               8        And they said no.
  9        Q. What was Officer Gerholdt's demeanor like          9        And then Gerholdt walked to his car, and
 10   at that time?                                             10   Cockrell walked to his car. Cockrell's car was parked
 11        A. He seemed calm.                                   11   in front of my home, directly in front of my front
 12        Q. Did Officer Cockrell say anything?                12   door. And with his driver side -- so he was parked on
 13        A. Not originally. I think he was just               13   the opposite side of the road.
 14   standing there next to Gerholdt.                          14        And Gerholdt was parked on the right side of the
 15        Q. Do you recall where on your property this         15   driveway.
 16   conversation --                                           16        And I said -- they got into their cars to leave.
 17        A. This was in the driveway, like maybe              17   They said, this is a civil matter.
 18   behind the truck, the F-150.                              18        And I said, you guys just trespassed and
 19        Q. Do you recall which vehicle you were              19   facilitated stealing my bike. You guys came on my
 20   driving the 22nd and the 23rd?                            20   property without a warrant.
 21        A. I believe it was the F-150.                       21        And Cockrell -- or Cockrell responded, in his
 22        Q. Okay.                                             22   car, with the window down, we're the police, we can go
 23        So while you were away from the residence, the       23   anywhere we want.
 24   F-150 would not have been in the driveway.                24        Q. Cockrell said that?
 25        Is that fair?                                        25        A. Cockrell said that.

                                                                                        36 (Pages 141 to 144)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 37 of 76 PageID
                                                        #: 852
                                                         145                                                           147
  1         And then they drove off.                             1       Q. Did you -- did you know Officers Cockrell
  2         Then I called my brother Jeremiah, because I         2   or Gerholdt prior to this incident?
  3   didn't know who else to call at 2:00 in the morning to     3       A. Never. Never saw them before.
  4   tell him -- I was just like -- I'm dumbfounded at what     4       Q. Had you ever met Amara Elmore (ph)?
  5   just happened here. The cops just basically violated       5       A. No.
  6   me, and the police, Cockrell and Gerholdt, just            6       Q. Had you ever met Stephen Mackenzie?
  7   violated me. And, you know, they let people on my          7       A. No.
  8   property, steal and break into my property.                8       Q. Had you ever heard of them --
  9         And then I didn't know who else to call at 2:00      9       A. No.
 10   in the morning, so I called my brother. And I go,         10       Q. -- through the course of any of your
 11   you're not going to believe what just happened here.      11   dealings with Nathan Rench?
 12         And so he is like, you know, are you serious?       12       A. Never.
 13   I'll be over there in a few minutes.                      13       Q. And you testified in the preliminary
 14         So he drove over, and while he was on his way       14   hearing in the criminal case against Nathan Rench
 15   over, that's when I called -- I called Manchester back,   15   regarding your trike.
 16   and I said, I need some solutions here. The police        16       That's right?
 17   officers left my residence, and they just let -- your     17       A. Right.
 18   officers let someone steal my motorcycle, and I need to   18       Q. And --
 19   speak to a supervisor.                                    19       A. Their names were never mentioned in that.
 20         And so there should be a response call. I           20       Q. Are you mad at Nathan Rench?
 21   called there numerous times to Manchester that night.     21       A. Is that rhetorical?
 22         And so anyway, they -- I said, I need a             22       Q. No, I mean -- no, it's an honest question.
 23   supervisor out here. And that's when Waters, Cockrell,    23       A. Okay. Yes, of course.
 24   and Gerholdt came back to my house.                       24       Q. Do you have any knowledge as to whether
 25         And then that's when Waters -- I was sitting on     25   Officers Gerholdt or Cockrell knew Nathan Rench prior

                                                         146                                                           148
  1   the front porch with my puppy, Chewy, on a leash. And      1   to this incident?
  2   that's when Waters -- Officer Waters came up.              2         A. I assume they did at first, because why
  3        By that time, I had went inside, and I had            3   would they -- why would they have done this?
  4   gotten all of the paperwork, my title and everything.      4         Like I assume they knew them, because they
  5        And Officer Waters said, can I see your               5   allowed the theft, or they were participants in the
  6   paperwork?                                                 6   theft of the motorcycle.
  7        And I said yes, and I provided it to him.             7         So I don't know that they know them, but for a
  8        He met me at the front door. He walked out to         8   while I was assuming that they were somehow in
  9   the street with Cockrell and Gerholdt.                     9   collusion with this, or maybe they were -- I had no
 10        And they -- it was dark, so they all had             10   idea what was going on.
 11   flashlights, and they were looking at my paperwork.       11         Q. As we sit here today, you have not
 12        And then Officer Waters instructed Officer           12   registered the trike in your name?
 13   Gerholdt to call Nathan and get the motorcycle back.      13         A. I still don't have the title.
 14        Q. Did it make you mad when the officers said        14         Q. And so do you know whose name the trike is
 15   this was a civil matter?                                  15   still registered in?
 16        A. After the fact, yeah, I was furious. I            16         A. Probably Nathan Rench's, because I still
 17   was -- I mean, they just -- they just violated my         17   have not -- don't have the title. I've applied, and
 18   rights. I felt violated. Yeah, of course. They            18   it's --
 19   were -- I mean, they broke into my property and stole,    19         Q. Would it be -- would it be fair to say,
 20   you know, the -- I mean, the two people wouldn't have     20   then, as of October 22nd of 2022, the trike would have
 21   come onto my property if Officer Cockrell and Gerholdt    21   been, according to Department of Revenue records, then
 22   didn't allow them to come steal.                          22   registered to Nathan Rench?
 23        You know, they facilitated the whole thing. I        23            MR. GELFAND: Objection to the form of the
 24   thought I was at least safe from the police, you know.    24   question, and calls for speculation.
 25   I mean --                                                 25         A. I don't know -- I don't know how -- what

                                                                                       37 (Pages 145 to 148)
Golkow Litigation Services
           Case: 4:23-cv-00133-SRW            Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 38 of 76 PageID
                                                        #: 853
                                                         149                                                            151
  1   their guidelines are. I don't know that.                   1   by the following day. I guess he had been up.
  2        I paid for it. You know, obviously I paid for         2         I went to bed on the 22nd, and then he came by
  3   it and restored it. You know, did everything. You          3   at 3:00 the following day and wanted the original title
  4   know, but -- so I don't know why he has any entitlement    4   and information.
  5   to that whatsoever.                                        5         And I said I would not provide that, but I'll
  6   BY MS. ROBERTSON:                                          6   provide copies.
  7        Q. Have you filed any civil lawsuits or               7         So he came by, knocked on the door, and I said
  8   claims against Nathan Rench with respect to the trike?     8   I'll provide you copies. I'm not going to give you the
  9        A. No.                                                9   original of that.
 10        Q. Have you received a response from the             10         So I made folders with Officer Gerholdt, Officer
 11   Missouri Department of Revenue regarding Exhibit I,       11   Cockrell, and Officer Waters, and dropped them off at
 12   this complaint form you submitted?                        12   Manchester the following day.
 13        A. I did.                                            13         Q. With copies of the --
 14        Q. What did they say?                                14         A. Copies of my -- all my information. But I
 15        A. They said I need to -- that they could not        15   was suspect, because they took photos, and -- or they
 16   help with that matter. That's what they said.             16   had -- I provided them to them the night of the theft,
 17        Q. Do you have a -- was that a written               17   and then he came by the next day and wanted the
 18   response?                                                 18   originals to take with him to make copies.
 19        A. I believe so.                                     19         And I said I'm not -- I'm not giving my
 20        Q. Do you have a copy of that?                       20   originals to anyone. So I'll make you copies, and
 21        A. Somewhere, yeah. I have it with -- I have         21   provide them to you.
 22   another folder with -- pertaining to all of this with     22         And so that's what I did. I dropped them off at
 23   Nathan and the title information.                         23   Manchester.
 24            MR. GELFAND: If he is able to locate             24         Q. Did he object to that?
 25   that, we're happy to provide it.                          25         A. No. He was -- he was shocked. He thought

                                                         150                                                            152
  1   BY MS. ROBERTSON:                                          1   I would just hand him the originals.
  2        Q. Do you know now the Officers Gerholdt and          2        But he was like, oh, okay. He was like -- you
  3   Cockrell didn't know Amara Elmore or Stephen Mackenzie     3   know.
  4   or Nathan Rench prior to this incident?                    4        Q. Was he pleasant with you during that
  5            MR. GELFAND: Object to the form of the            5   interaction?
  6   question. Calls for the state -- I'm sorry. Calls for      6        A. Yeah, I think so. Yeah.
  7   state of mind of a third party, and calls for              7        Q. Was he polite?
  8   speculation.                                               8        A. Yeah.
  9        You can answer.                                       9        Q. Do you recall anything else that was --
 10        A. Sorry. I don't know that.                         10   that he said to you during that interaction?
 11   BY MS. ROBERTSON:                                         11        A. I don't. I think he was polite.
 12        Q. Did you ever call Officer Gerholdt on the         12        Q. Aside from what we have already talked
 13   on the telephone?                                         13   about on October 23rd of 2022, have you had any other
 14        A. No.                                               14   contact with Officer Cockrell?
 15        Q. Did you ever call Officer Cockrell on the         15        A. I have not.
 16   telephone?                                                16        Q. Aside from the contact that -- that we've
 17        A. Never.                                            17   just discussed and that you had with Officer Gerholdt,
 18        Q. Did you ever call Sergeant Waters on the          18   have you had any other contact with Officer Gerholdt?
 19   telephone?                                                19        A. No.
 20        A. Never.                                            20        Q. Did -- was your motorcycle ultimately
 21        Q. After your initial reports on the 23rd --         21   recovered?
 22        A. Uh-huh.                                           22        A. Yeah. Almost a year later, yeah.
 23        Q. -- to Manchester, have you ever called            23        Q. And I'll ask you about that in just a
 24   Manchester Police by phone?                               24   second.
 25        A. No. I -- I had -- Officer Gerholdt came           25        A. Yeah.

                                                                                       38 (Pages 149 to 152)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 39 of 76 PageID
                                                        #: 854
                                                         153                                                           155
  1       Q. But how did you find out the motorcycle             1   way of putting it, Mr. Bailey, who also represents Mr.
  2   had been recovered?                                        2   Thompson, is going to take my place. So obviously
  3       A. Owensville Police called me, told me they           3   there was always only one lawyer for our side at any
  4   had it.                                                    4   given time participating in the deposition.
  5       Q. Did Officer Gerholdt also go to your door           5        But he'll bring this to conclusion, and I'll
  6   and let you know?                                          6   step out.
  7       A. He did after Owensville called me and let           7            MS. ROBERTSON: No objection.
  8   me know.                                                   8            MR. GELFAND: Thank you.
  9       Q. What did he say to you?                             9            [Discussion off the record.]
 10       A. He said they recovered your motorcycle.            10            MS. ROBERTSON: Mr. Bailey, you can hear
 11   Owensville Police has it.                                 11   me?
 12       Q. Did he say anything else?                          12            MR. BAILEY: I can. Thank you.
 13       A. I don't think so.                                  13            MS. ROBERTSON: Okay.
 14       Q. Was he polite?                                     14   BY MS. ROBERTSON:
 15       A. Yes.                                               15        Q. Mr. Thompson, we were talking about the
 16       Q. Do you know if your brother had any phone          16   first time that you stated that Officer Gerholdt
 17   conversations with any law enforcement officers           17   admitted to you that he was in your backyard.
 18   connected to this case?                                   18        What was the -- did Officer Gerholdt ever state
 19       A. I don't think so, no.                              19   to you where in your backyard he went?
 20       Q. When -- you mentioned that Officer                 20        A. Initially they told me they never crossed
 21   Gerholdt admitted to going in the backyard of your        21   the gate. He said, we didn't go into the gate, because
 22   residence --                                              22   I accused them of trespassing, and you know, of going
 23       A. Uh-huh.                                            23   on my property without a search warrant.
 24       Q. -- did you hear him say that?                      24        And then he said, we didn't.
 25       A. Uh-huh.                                            25        And then I said -- I said, well, how did you

                                                         154                                                           156
  1        Q. What did he -- is that a yes?                      1   check the VIN -- I said, how did you know it was the
  2        A. Yes. I'm sorry. Yes.                               2   right motorcycle?
  3        Q. Sorry.                                             3        And he goes, we checked the VIN.
  4        You heard him say that?                               4        So he didn't admit going into the backyard at
  5        A. Yes.                                               5   that time. He admitted later to going into the
  6        Q. Do you recall verbatim what he said?               6   backyard, with me and my brother.
  7        A. No. But originally both he and Cockrell            7        But I said, how did you -- how did you --
  8   denied going past the fence, and then later admitted to    8   without going into the backyard, how did you check the
  9   going -- because I questioned them on how they verified    9   VIN?
 10   the VIN on the motorcycle at night.                       10        And so he said -- I can't remember how he
 11        And then they admitted to going into the             11   responded. But he --
 12   backyard.                                                 12        Q. You said the officers initially denied
 13        Q. Who was present for that conversation?            13   going into the backyard?
 14        A. Me and the two officers, and later                14        A. They did.
 15   Gerholdt admitted it to me and my brother Jeremiah on     15        Q. Did both officers deny that?
 16   my front porch.                                           16        A. Yes.
 17        Q. Okay.                                             17        Q. Okay.
 18        Let's go back to the first conversation.             18        How --
 19        A. Okay.                                             19        A. They said they -- they said that only --
 20            MR. GELFAND: I'm sorry. Can we just go           20   that the other two people, Amara, whatever their names
 21   off the record for one second?                            21   are -- "McKinney" and Amara -- only them two went in
 22            MS. ROBERTSON: Sure.                             22   the backyard.
 23            [Discussion off the record.]                     23        Q. Let me ask you this.
 24            MR. GELFAND: Just by agreement of the            24        When you first made contact with the officers,
 25   parties as a scheduling courtesy, for lack of a better    25   how did they explain to you what happened?

                                                                                       39 (Pages 153 to 156)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 40 of 76 PageID
                                                        #: 855
                                                         157                                                            159
  1       A. They said they provided -- they said                1   what did you guys do here? You know, stuff like that.
  2   Nathan's daughter provided a title, and we let them        2        And then Gerholdt tried to explain himself. I
  3   take the bike. She said that you were borrowing the        3   don't remember every word. My brother would probably
  4   bike, and -- you were borrowing the bike, and they came    4   remember more of that, but -- and then --
  5   to get it back. You were just borrowing the bike, and,     5       Q. Do you remember what Officer Gerholdt said
  6   they came to get it back.                                  6   in response to your brother's questions?
  7       Q. Did they say anything else?                         7        A. We're going to get it fixed. We're going
  8        A. No. That's --                                      8   to get it taken care of. We're going to get the bike
  9       Q. Is the next thing that happened that you            9   back.
 10   asked some questions?                                     10       Q. After -- is there any other contact you
 11        A. Right. And I was upset, and asked some            11   had with Officers Gerholdt or Cockrell or Waters that
 12   questions and told them this was an ongoing title issue   12   we have not discussed today?
 13   with other law enforcement agencies.                      13        A. I don't believe so.
 14       Q. Mr. Thompson, have you ever worked in law          14       Q. What was the -- after the 23rd, did you
 15   enforcement?                                              15   have contact with other law enforcement agencies?
 16        A. No.                                               16        A. Yes, with Owensville Police Department.
 17       Q. Do you have any training and experience in         17       Q. And what contact did you have with
 18   law enforcement?                                          18   Owensville?
 19        A. No.                                               19        A. Just trying to see if they were able to
 20       Q. Does your brother?                                 20   locate Nathan and the motorcycle. I called them
 21        A. No.                                               21   periodically, to see, every couple days, if they were
 22       Q. Do your parents?                                   22   able to locate the motorcycle and Nathan Rench.
 23        A. No.                                               23       Q. When did you learn the motorcycle had been
 24       Q. Any siblings have --                               24   recovered?
 25        A. No. I mean, I probably have cousins. My           25        A. It was in late -- early spring. It was

                                                         158                                                            160
  1   ex-wife's husband was a detective for Sunset Hills.        1   March or -- March of -- March this past year. March
  2   But --                                                     2   or -- March of 2024 (sic).
  3        Q. The second time that you spoke with the            3        Q. What did you do once you learned the
  4   officers, was your brother present for the entirety of     4   motorcycle had been recovered?
  5   that conversation?                                         5        A. My -- it was at an impound yard out near
  6        A. Yeah, but by that time, Officer Waters and         6   Owensville, Missouri, and me -- myself and Justin and
  7   Officer Cockrell had left.                                 7   Joe Lambson (ph) met out at the impound yard to pick up
  8        So my brother was present for the entirety of         8   the motorcycle.
  9   the conversation with Gerholdt, because they had left,     9        Q. And again, I don't want to know what you
 10   and Officer Waters instructed Officer Gerholdt to         10   did or discussed with your attorneys.
 11   call --                                                   11        A. Uh-huh.
 12        Q. Mr. Rench?                                        12        Q. But was the motorcycle immediately
 13        A. Mr. Rench and his daughter to bring back          13   released from the impound yard to you?
 14   the motorcycle.                                           14        A. Yeah. I had to pay -- I think I paid $300
 15        And so she agreed to bring it back. And so           15   and some dollars -- 25 or something -- and then they
 16   Officer Waters, I assume, felt comfortable enough to      16   released it.
 17   leave, and he told Officer Cockrell to leave, and then    17        My mechanic, Derick Compton, met us out there
 18   Officer Gerholdt stayed and waited for the motorcycle     18   with a trailer to tow it back.
 19   to come back.                                             19            MS. ROBERTSON: Greg, I'm going to mark as
 20        And then he got a call -- I assume he got a call     20   an exhibit, and it's this -- some sort of a tow receipt
 21   from Nathan, who said, I'm not bringing the motorcycle    21   dated February -- there's a couple different dates.
 22   back.                                                     22   But I don't know if you can see this.
 23        So that's when he came up, and my brother asked      23            MR. BAILEY: I can't really -- is he still
 24   Officer Gerholdt some questions when he came up to the    24   in the room there?
 25   porch and, you know, basically like, this is crazy,       25            MS. ROBERTSON: No.

                                                                                        40 (Pages 157 to 160)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW            Doc. #: 39-10THOMPSON
                                               RAYMOND        Filed: 01/11/24       Page: 41 of 76 PageID
                                                       #: 856
                                                       161                                                          163
  1            MR. BAILEY: Okay. That's fine. I'll             1   been marked as Defendant's Exhibit Y.
  2   pull it up digitally.                                    2           [Defendant's Exhibit Y
  3            MS. ROBERTSON: Okay. I believe it was           3           marked for identification.]
  4   something that -- or that plaintiffs produced.           4   BY MS. ROBERTSON:
  5            MR. BAILEY: Okay. Great.                        5        Q. Do you recognize Defendant's Exhibit Y?
  6   BY MS. ROBERTSON:                                        6        A. I do.
  7         Q. Mr. Thompson, I'm going to show you what's      7        Q. How do you recognize that?
  8   been marked for identification as Defendant's Exhibit    8        A. I took that picture on my front porch.
  9   X.                                                       9        Q. With what did you take that photo?
 10            [Defendant's Exhibit X                         10        A. My phone.
 11            marked for identification.]                    11        Q. Your cell phone?
 12   BY MS. ROBERTSON:                                       12        A. Yes.
 13         Q. Mr. Thompson, do you recognize Defendant's     13        Q. When did you take that photo?
 14   Exhibit X?                                              14        A. The night of -- the night that Officer
 15         A. Yes.                                           15   Gerholdt and Officer Cockrell stole the motorcycle.
 16         Q. How do you recognize that?                     16        Q. Did you take that the first time you spoke
 17         A. That's the receipt for the tow, for the        17   with the officers or the second time?
 18   impound yard -- that I paid the impound yard, and tow   18        A. The second time.
 19   bill.                                                   19        Q. I'm going to show you what's been marked
 20         Q. Does that reflect how much you paid?           20   for identification as Defendant's Exhibit Z.
 21         A. Yeah, $325.                                    21           [Defendant's Exhibit Z
 22         Q. Does refresh your recollection as to the       22           marked for identification.]
 23   date?                                                   23           MS. ROBERTSON: Greg, this is a picture of
 24         A. Yeah. It was cold outside. Yeah, it            24   an individual on the --
 25   does.                                                   25           MR. BAILEY: Okay. Thank you.

                                                       162                                                          164
  1        Q. If you see in the middle there, it says          1           MS. ROBERTSON: -- bike.
  2   storage from.                                            2   BY MS. ROBERTSON:
  3        Do you see that?                                    3        Q. Mr. Thompson, do you recognize Defendant's
  4        A. Storage from.                                    4   Exhibit Z?
  5        Q. And then it says February 12th, 2023, to         5        A. I do.
  6   February 16th, 2023, five days at $40?                   6        Q. How do you recognize that?
  7        A. Yeah.                                            7        A. That's a picture I pulled off of Facebook
  8        Q. So is February 16th, 2023, the day you           8   the day after the motorcycle was stolen by Manchester
  9   picked up the motorcycle?                                9   Police.
 10        A. Yes.                                            10        Q. Who is -- do you know the individual
 11        Q. And Mr. Thompson, I forgot to ask you.          11   depicted in the photo?
 12            MS. ROBERTSON: Greg, this is the               12        A. That's Nathan Rench.
 13   photograph of -- actually, you know what, let me make   13        Q. Do you know the -- do you recognize the
 14   it easier on you. I'll use the one that has already     14   motorcycle depicted in the photograph?
 15   been marked as an exhibit by plaintiffs.                15        A. Yeah, that's the 2003 Harley-Davidson
 16            MR. BAILEY: Okay.                              16   trike.
 17            MS. ROBERTSON: Well, I thought it had          17        Q. You stated that you pulled this off
 18   been marked. I -- Greg, I don't want to go through      18   Facebook?
 19   this. I don't see exhibit stickers on --                19        A. Uh-huh.
 20            MR. BAILEY: That's fine. You can mark --       20        Q. Would it be fair to say on October 23rd?
 21   I know that picture.                                    21        A. It was either the same day or the day
 22            MS. ROBERTSON: This one?                       22   after.
 23            MR. BAILEY: Yeah, I have that one. Yeah.       23        Q. So the 23rd or the 24th?
 24   BY MS. ROBERTSON:                                       24        A. Correct.
 25        Q. Mr. Thompson, I'm going to show you what's      25        Q. Was there -- when -- do you know when the


                                                                                     41 (Pages 161 to 164)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW            Doc. #: 39-10THOMPSON
                                               RAYMOND        Filed: 01/11/24       Page: 42 of 76 PageID
                                                       #: 857
                                                       165                                                          167
  1   photo was posted?                                        1   for identification as Defendant's Exhibits AA and BB.
  2        A. Yeah, it was posted the next day of -- it        2            [Defendant's Exhibits AA and BB
  3   was posted on I think the 23rd or 24th.                  3            marked for identification.]
  4        Q. And who --                                       4        A. Thank you.
  5        A. I took -- or I pulled -- screenshotted           5            MS. ROBERTSON: Greg, these are two
  6   this picture, and I provided it to the Owensville        6   photographs that plaintiff -- I feel like the screen
  7   Police.                                                  7   has moved so you can't see me now.
  8        Q. Are you Facebook friends with Nathan             8            MR. HENDRICKSON: In theory, it's motion
  9   Rench?                                                   9   activated. So maybe --
 10        A. No.                                             10            MS. ROBERTSON: If I wave my hands around?
 11        Q. Were you at the time?                           11   Okay.
 12        A. No. I just stalked his page, because I          12        I don't know if you can see this, but it's
 13   assumed he would do something like that.                13   photos I think that were recently produced of the
 14        Q. Did he -- is he who posted the photo?           14   motorcycle.
 15        A. Uh-huh.                                         15            MR. BAILEY: Okay. All right. Thank you.
 16        Q. Were there any comments with it?                16   BY MS. ROBERTSON:
 17        A. Yeah. Burn Ray's ass album.                     17        Q. Mr. Thompson, do you recognize Defendant's
 18        Q. I couldn't hear that.                           18   Exhibits AA and BB.
 19        A. Yeah. Burn Ray's ass album.                     19        A. Yeah. I do. Yes.
 20        Q. Does that have any meaning to you?              20        Q. How do you recognize those?
 21        A. Just that he wanted to be derogatory.           21        A. I took pictures of some of the damage.
 22        Q. When you -- when you got your motorcycle        22        Q. Why did you take pictures of this damage?
 23   back, was there any damage to it?                       23        A. They were -- my attorneys requested it.
 24        A. Yeah.                                           24        Q. Oh. I don't want to know what your
 25        Q. What was damaged?                               25   attorneys did.

                                                       166                                                          168
  1        A. There were parts missing, custom parts           1        A. Oh.
  2   missing. There was lots of damage to the fiberglass,     2        Q. But maybe let me ask that question a
  3   the new paint was scratched and completely damaged.      3   better way.
  4   And it's not operational. It wouldn't start at the       4        Can you tell me in Defendant's Exhibit AA what
  5   impound yard.                                            5   damage is depicted?
  6        I had to -- me and Derick had to -- Derick          6        A. AA? There's lots of scratching on the
  7   Compton, my mechanic, had to push it onto the trailer    7   chrome. There's broken fiberglass to the right of the
  8   because it wouldn't start.                               8   picture, like something was hit. It's --
  9        There was a substantial amount of damage to it.     9        Q. What part of the motorcycle is depicted in
 10        Q. What custom parts were missing?                 10   Defendant's Exhibit AA?
 11        A. He put new handlebars on it, and there is       11        A. That's -- that's the fairing and the right
 12   the air cleaner that I had engraved, this air cleaner   12   side. If you're sitting on it, this would be on the
 13   here. Air -- it's a custom chrome air cleaner that I    13   right side, near the forward controls.
 14   had engraved with a snake head on it. That's missing.   14        Q. Is there any other damage depicted?
 15        Q. In Exhibit C, is the air clean -- is the        15        A. On this picture?
 16   air cleaner depicted? Can you see it?                   16        Q. Yes.
 17        A. Yeah, it's by his shin.                         17        A. Just what you can see from the picture.
 18        Q. Is that -- is what's depicted in Exhibit Z      18        Q. Do you -- I'm sorry. Let me ask you.
 19   your -- the custom air cleaner you put on it?           19        Do you know the cause of the damage depicted in
 20        A. Right.                                          20   this picture?
 21        And then when I got the back -- when I got the     21        A. I do not.
 22   bike back, that is no longer on there. The handlebars   22        Q. Do you know who caused the damage depicted
 23   are different-sized. And there's lots of exterior       23   in this picture?
 24   damage to the paint, fiberglass, chrome.                24        A. I assume Nathan Rench.
 25        Q. Mr. Thompson, I'll show what's been marked      25        Q. Prior to October 22nd of 2022, did your --

                                                                                     42 (Pages 165 to 168)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW            Doc. #: 39-10THOMPSON
                                               RAYMOND        Filed: 01/11/24      Page: 43 of 76 PageID
                                                       #: 858
                                                       169                                                        171
  1   did these scratches exist on the trike?                  1   damage to the motorcycle.
  2        A. No. I'd just had it painted.                     2        Q. Is that Mr. Compton depicted in the
  3        Q. Did the fiber -- the damage to the               3   reflection --
  4   fiberglass exist?                                        4        A. Yes.
  5        A. It did not. I had just had it painted.           5        Q. -- in Defendant's CC?
  6        Q. Looking at Defendant's Exhibit BB.               6        A. Yes.
  7        Did you take this photo?                            7        Q. What damage is depicted in Exhibit CC?
  8        A. Either me or my mechanic, Derick. We took        8        A. There's damage to the paint, the
  9   a bunch of them. These are just two. And I don't know    9   fiberglass. The paint and fiberglass.
 10   why you don't have many more. So --                     10        Q. When were these photographs taken?
 11        Q. I might have some more, but --                  11        A. Probably a couple weeks ago.
 12        A. Okay.                                           12        Q. Where were these photographs taken?
 13        Q. What does this depict?                          13        A. At my shop in Valley Park, Missouri.
 14        A. That's the rear wheel fender.                   14        Q. When you say shop --
 15        Q. Is there any damage depicted in this            15        A. It's my office and -- where my trucks and
 16   photograph?                                             16   my office are.
 17        A. Yeah.                                           17        Q. For your tree service?
 18        Q. What is depicted?                               18        A. Correct.
 19        A. There's damage to the fiberglass and            19        Q. Is any other damage depicted in
 20   paint.                                                  20   Defendant's Exhibit CC?
 21        Q. Where is the damage to the fiberglass?          21        A. Just fiberglass, paint, and chrome.
 22        A. On the left side. On the left side, by          22        Q. What part of the motorcycle is depicted in
 23   the -- by the rear foot pegs.                           23   Exhibit CC?
 24        Q. Can you see the damage to the fiberglass        24        A. It is -- I believe that's the left -- left
 25   on this photo?                                          25   fender, rear fender.

                                                       170                                                        172
  1       A. Yeah, you can in here. It's dented in.            1         Q. In Exhibit DD, what part of the motorcycle
  2   (Indicating.)                                            2   is depicted?
  3       Q. Okay.                                             3         A. I believe that's the right rear fender.
  4       Do you know what the cause of this damage was?       4         Q. What damage, if any, is depicted in
  5       A. I have no idea.                                   5   Exhibit --
  6       Q. Do you know who caused this damage?               6         A. Paint, fiberglass --
  7       A. I assume either Amara or Nathan Rench.            7         Q. -- DD?
  8   Amara or whoever drove the bike.                         8         A. Decals.
  9       Q. Do you know -- did this damage exist prior        9         Q. When you say decals, can you explain that
 10   to October 22nd, 2022?                                  10   more?
 11       A. No.                                              11         A. So earlier remember I told you we had to
 12       Q. I'm going to mark for identification             12   search for those custom 100-year-old -- 100-year
 13   Defendant's Exhibit CC, DD, EE, FF, and GG.             13   anniversary decals?
 14           [Defendant's Exhibits CC through GG             14         So see how they're scratched and --
 15           marked for identification.]                     15         Q. Is the decal the pinstripe?
 16           MS. ROBERTSON: And Greg, these are more         16         A. Yes. So those are specific to the
 17   photos of damage I think that was recently sent.        17   100-year anniversary, those decals.
 18           MR. BAILEY: Okay. Thank you.                    18         Q. Any other damage depicted in Exhibit DD?
 19   BY MS. ROBERTSON:                                       19         A. Just fiberglass and paint decals.
 20       Q. Mr. Thompson, do you recognize Defendant's       20         Q. Turning to Exhibit EE.
 21   Exhibits CC through GG?                                 21         A. Yeah.
 22       A. Yes.                                             22         Q. What part of the motorcycle is depicted in
 23       Q. How do you recognize those?                      23   this photograph?
 24       A. Those are pictures Derick Compton, my            24         A. That's the right side engine and tank.
 25   employed mechanic, took of the damage -- some of the    25   It's the gas tank. Looking --

                                                                                    43 (Pages 169 to 172)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW            Doc. #: 39-10THOMPSON
                                               RAYMOND        Filed: 01/11/24        Page: 44 of 76 PageID
                                                       #: 859
                                                       173                                                            175
  1       Q. What, if any, damage is depicted in this          1        Q. Turning to Exhibit GG.
  2   photograph?                                              2        Do you recognize what's depicted in Exhibit GG?
  3       A. There's damage to the tank, paint, chrome.        3        A. That's the rear -- rear fairing.
  4   And then the custom air cleaner that I had made --       4        Q. Is there any damage depicted in this
  5   custom-made and put on there is replaced with this       5   photograph?
  6   factory air cleaner. I don't know why --                 6        A. Yeah, there's cracks in the fiberglass,
  7        Q. Do you know --                                   7   scratches in the paint.
  8       A. A generic one.                                    8        Q. Any other damage?
  9       Q. -- how this damage occurred?                      9        A. It's a small portion of the bike, but --
 10       A. I don't.                                         10   no, just every part of that is damaged right there.
 11        Q. Do you know who caused this damage?             11   So --
 12       A. I do not.                                        12        Q. Do you know who caused this damage?
 13        Q. Is there any other damage depicted in this      13        A. I don't.
 14   photograph that we haven't discussed?                   14        Q. Do you know how this damage occurred?
 15       A. No, just there again, chrome, paint,             15        A. No.
 16   decals.                                                 16        Q. Did this damage exist on October 22nd of
 17       Q. Did that damage exist prior to October           17   2022?
 18   22nd, 2022?                                             18        A. No.
 19       A. No.                                              19        Q. We talked a little bit that the -- I think
 20       Q. And then I don't think I asked you those         20   you mentioned the bike was not operational.
 21   questions for Defendant's Exhibit AA, BB, CC, and DD.   21        Do you know what caused the bike to be
 22        Do you know who caused the damage on any of        22   unoperational?
 23   these photographs?                                      23        A. I don't. I haven't taken it to a shop yet
 24       A. I don't.                                         24   or had it restored.
 25       Q. Do you know what caused the damage in any        25        Q. Do you know why it wouldn't start?

                                                       174                                                            176
  1   of those photographs?                                    1        A. I have no idea.
  2        A. I don't.                                         2        Q. Have you been able to get it started?
  3        Q. Do you -- did that damage exist prior to         3        A. No, I haven't -- I haven't taken it to a
  4   October 22nd, 2022?                                      4   shop yet.
  5        A. No.                                              5        Q. Do you have an estimate of the cost to
  6        Q. Okay.                                            6   make the repairs or replacements to the damage we just
  7        Turning to Exhibit FF.                              7   discussed in these photographs?
  8        What part of the motorcycle is depicted in this     8        A. No.
  9   photograph?                                              9        Q. Do you have an estimate of the value of
 10        A. That's the V-twin engine and tank, gas          10   the motorcycle on October 22nd of 2022 at the time you
 11   tank. And the foot pegs, the right forward controls.    11   left your house?
 12        Q. Is any damage depicted in this photograph?      12        A. To me, or to -- I mean, it depends. It's
 13        A. Yeah. There's damage to the paint on the        13   extremely valuable to me. It's personal. I've
 14   tank, and there's -- someone replaced the custom air    14   custom-made -- custom-made to fit like a custom suit.
 15   cleaner that I had made for this bike with some         15   So to me, it's extremely valuable.
 16   generic, whatever this is, air cleaner.                 16        So I don't know what the market value is. I
 17        Q. Do you know what caused this damage?            17   know for a 2003 anniversary trike, they're not -- it's
 18        A. I don't.                                        18   not something you can just go rent or, you know, easily
 19        Q. Do you know who caused this damage?             19   find. You may have to drive to California or New
 20        A. I don't.                                        20   Jersey to find one. So --
 21        Q. Do you know who replaced the air filter?        21        Q. Do you have an estimate of the loss of
 22        A. I don't.                                        22   value to the motorcycle?
 23        Q. Is this the condition the motorcycle was        23        A. I don't. I mean, to me, it's extremely,
 24   in on October 22nd of 2022?                             24   you know, troubling. So --
 25        A. No.                                             25        Q. Do you -- is there a number that you place

                                                                                      44 (Pages 173 to 176)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 45 of 76 PageID
                                                        #: 860
                                                         177                                                            179
  1   on the loss of use of the motorcycle, between October      1   interest, something else?
  2   22nd and February of 2023, when you regained possession    2       A. It's a -- it's a very enjoyable hobby to
  3   of the motorcycle?                                         3   me. I mean, I -- it's something I've done since I was
  4         A. I don't -- I don't know that. It's a huge         4   a child. I've collected particularly Harley-Davidsons
  5   loss, but I don't know what the number is. I mean,         5   and custom Harleys.
  6   it's a huge loss to me.                                    6       So yeah, avid hobby.
  7         Q. Have you made any social media posts              7       Q. What about motorcycles -- why do you enjoy
  8   regarding this incident?                                   8   them?
  9         A. No.                                               9       A. I just -- I just always have. I like the
 10         Q. Have you made any social media posts             10   freedom on the road, you know. Yeah.
 11   regarding the trike?                                      11       Q. When did you first become interested in
 12         A. No.                                              12   motorcycles?
 13         I mean, after this incident? Are you referring      13       A. As a child. I think I was probably 10
 14   to after this incident? I mean, I have a picture prior    14   years old when my dad bought me my first one.
 15   to all this of my nephew sitting on the trike, on my      15       Q. 10 years old?
 16   Facebook page, once I had it restored.                    16       A. Yeah. Yeah.
 17         But there's no -- after this happened, I have       17       Q. Did your father have motorcycles?
 18   not -- I have not.                                        18       A. He did.
 19         Q. Do you have other photos of the trike on         19       Q. Did -- could you ride a motorcycle at 10?
 20   your Facebook page?                                       20       A. Yeah. Little dirt bikes, the 50CC dirt
 21         A. Just the one.                                    21   bikes.
 22         Q. Do you have any photographs of the process       22       Q. Well, so my next question was how did you
 23   of restoring it?                                          23   learn to ride motorcycles?
 24         A. No.                                              24       A. My dad.
 25         Q. In your request -- your response to              25       Q. Did you ever take a class?

                                                         178                                                            180
  1   Request for Production Number 30, the request stated,      1        A. Just -- no. Just learned as a kid.
  2   "Please produce all documents evidencing or relating to    2        Q. Do you have a motorcycle endorsement on
  3   the registration of the motorcycle described in            3   your driver's license?
  4   plaintiff's complaint with the State of Missouri."         4        A. Yeah.
  5         And your response was, "Responsive documents are     5        Q. When did you obtain that, if you recall?
  6   attached."                                                 6        A. I got a permit. It was I think in 2002,
  7         I just want to clarify. We've discussed today        7   when I bought the Softail.
  8   that you never were able to actually register the          8        Q. When was -- is that -- when was the first
  9   motorcycle in your name; correct?                          9   motorcycle that you purchased?
 10         A. Correct.                                         10        A. I purchased -- I mean, street bike, Harley
 11         Q. And so any documents you are referring to        11   street bike, I've had them -- I don't know, I purchased
 12   that have been produced would be the title in Nathan      12   lots of them.
 13   Rench's name, the title that has the signature -- your    13        The first new bike I bought was in 2002, the
 14   signature on the back.                                    14   Softail.
 15         A. Right.                                           15        Q. Do you recall when as an adult, though,
 16         Q. But you don't have any documents where           16   you purchased your first?
 17   you -- that -- evidence that you went and registered      17        A. Well, I probably had bikes from when I was
 18   the motorcycle; correct?                                  18   a teenager to adulthood. So --
 19         A. Correct. I tried. I have evidence where          19        Q. Do you make any -- excuse me -- repairs
 20   I tried to multiple times.                                20   yourself?
 21         Q. Did you take any cell phone videos or            21        A. Sometimes. What I'm capable of.
 22   recordings on October 22nd or 23rd?                       22        Q. What kinds of repairs are you comfortable
 23         A. Just the photo of Officer Gerholdt.              23   making on your own?
 24         Q. How would you characterize your interest         24        A. Oil changes, you know, some things. You
 25   in motorcycles? Is it a hobby, an obsession, a minor      25   know, very limited.

                                                                                       45 (Pages 177 to 180)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW            Doc. #: 39-10THOMPSON
                                               RAYMOND        Filed: 01/11/24         Page: 46 of 76 PageID
                                                       #: 861
                                                        181                                                            183
  1        Q. Do you have -- you don't have any training        1   violated your rights.
  2   as a mechanic?                                            2             MR. BAILEY: I'm sorry. You got to speak
  3        A. No.                                               3   up a bit.
  4        Q. Do you have other hobbies?                        4             MS. ROBERTSON: I'm so sorry, Greg.
  5        A. Some. Yeah.                                       5   BY MS. ROBERTSON:
  6        Q. What other hobbies do you have?                   6        Q. Please tell me all of the reasons you
  7        A. Hunting, you know. Some -- do a little            7   believe my client Gerholdt -- or Robert Gerholdt
  8   bit of that. But mostly motorcycles.                      8   violated your rights.
  9        Q. Do you belong to any motorcycle-related           9             MR. BAILEY: Objection. Asked and
 10   clubs or groups?                                         10   answered.
 11            MR. BAILEY: I'm sorry. Could you repeat         11   BY MS. ROBERTSON:
 12   that? I just couldn't hear.                              12        Q. You can answer.
 13            MS. ROBERTSON: I'm sorry.                       13             MR. BAILEY: You can answer.
 14   BY MS. ROBERTSON:                                        14        A. Okay. He could have called me. He could
 15        Q. Do you belong to any motorcycle-related          15   have -- they could have not come to my house, 11:30 at
 16   clubs or groups?                                         16   night, broke into my property. Not let someone steal
 17            MR. BAILEY: We object to the form and           17   from two counties away, steal -- I've been a resident
 18   relevance.                                               18   of Manchester for 20-something years.
 19   BY MS. ROBERTSON:                                        19        They could have contacted me any time and said,
 20        Q. You can answer.                                  20   we have this title dispute. Do you want to come talk
 21            MR. BAILEY: You can answer.                     21   to us?
 22        A. Okay.                                            22        You know, at 11:30 at night, let people come
 23        No.                                                 23   onto my property and let other people onto my property,
 24   BY MS. ROBERTSON:                                        24   and -- you know, it's a total violation. I mean, I
 25        Q. When do you usually ride your motorcycles?       25   feel raped, you know.

                                                        182                                                            184
  1        A. Daylight hours, like my neighbor said.            1   BY MS. ROBERTSON:
  2        Q. Are there -- weekdays, weekends?                  2        Q. Is your answer the same for both officers?
  3        A. Weekends mostly. Yeah.                            3        A. Yes. They were both extremely rude and
  4        Q. Are there specific times of the year?             4   tried to cover up their actions. They were dishonest
  5        A. Not really. I mean, sometimes, you know.          5   the night of. When I was trying to get honest answers
  6   I have cold weather gear, so I ride in the summer, and    6   out of them, they lied.
  7   I have a bike in Florida, too. So when I'm down in        7        Q. Your --
  8   Florida in the south, I ride.                             8        A. I have -- you know, I have a
  9        Q. Do you ride in the winter?                        9   now-15-year-old daughter. And she could have been home
 10        A. Yeah.                                            10   that night, if I would have ran up to Schnucks and
 11        Q. Do -- where do you usually ride?                 11   grabbed food while all this went on, and they brought
 12        A. Out, you know, out in Franklin County a          12   criminals onto my property.
 13   lot. My parents have a farm in Robertsville. Out to      13        You know, that's -- I mean, where does it end?
 14   Beaufort.                                                14   They violated me in every way possible.
 15        Q. Do you have anyone you regularly ride            15        Q. How were the officers rude?
 16   with?                                                    16        A. They were rude when they left, when I was
 17        A. I have several friends, yeah, that I ride        17   trying to have a discussion with them to find out where
 18   with.                                                    18   is my motorcycle?
 19        Q. What are their names?                            19        They were like, civil matter, after they had
 20        A. Tom Weaver, Jack Setzer (ph).                    20   already committed the act of theft.
 21        Q. Anybody else?                                    21        I said, how do we resolve this?
 22        A. Garrett Gist. Sometimes -- there's lots          22        And they said, civil matter, and they just left.
 23   more, but yeah.                                          23        Q. Did you --
 24        Q. Please tell me all of the reasons that you       24        A. And then I asked Cockrell, what do you
 25   believe that my client, Officer Robert Gerholdt,         25   mean you're leaving? You just trespassed, and you

                                                                                       46 (Pages 181 to 184)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24         Page: 47 of 76 PageID
                                                        #: 862
                                                         185                                                           187
  1   stole my motorcycle.                                       1            MS. ROBERTSON: I'm sorry, Greg. I'm
  2        And they said, we're the police, we can go            2   asking questions regarding punitive damages and your
  3   anywhere we want, and they drove off.                      3   allegations that the officers acted intentionally,
  4        Q. I want to separate -- so Cockrell said             4   outrageously, demonstrated evil motive, demonstrated
  5   that?                                                      5   reckless indifference, and I was just going to go
  6        A. Cockrell said that.                                6   through those one by one.
  7        Q. Did Gerholdt say, we're the police, we can         7   BY MS. ROBERTSON:
  8   go anywhere we want?                                       8        Q. So Mr. Thompson, can you please tell me
  9        A. No. Gerholdt said, civil matter, we're             9   all the reasons you believe Officer Gerholdt acted
 10   leaving. Both of them said that.                          10   intentionally?
 11        And I said, what do you mean you're leaving? I       11            MR. GELFAND: I'm going to object. Calls
 12   know it's a -- it was a civil matter until you broke      12   for a legal conclusion.
 13   into my property and stole my bike.                       13        A. Yeah.
 14        Q. You referenced that the officers lied.            14        Because he could have just called me. It was as
 15        Is there anything additional that we haven't         15   simple as a phone call. He could have -- when I
 16   already discussed with respect to what you believe the    16   offered to show him the property documentation, they
 17   officers lied about?                                      17   refused to see it, initially. And they said, civil
 18        A. They lied about coming onto the property,         18   matter, and they just left.
 19   and then they lied about how many times they came to my   19        I mean, it was intentional from -- obviously it
 20   house, which would be easy to verify through phone        20   was intentional. You know, I mean -- and then the next
 21   records with Manchester, you know, or their --            21   day, I had suspect of motives on his behalf when he
 22        Q. What do you mean, about how many times            22   tried to get the original title from me and the
 23   they came --                                              23   original paperwork.
 24        A. Well, in their depositions, they're saying        24        I mean, why he else would he want that when he
 25   they only came to my house twice.                         25   had it the night before, you know, I handed it to him

                                                         186                                                           188
  1        Q. How many times did they come to your               1   and his supervisor Waters the night before?
  2   house?                                                     2   BY MS. ROBERTSON:
  3        A. They went to my house three times, because         3         Q. What did you believe Officer Gerholdt
  4   they went there, stole the motor -- Officer Cockrell       4   wanted to do with the title?
  5   and Gerholdt went there originally, responded to Amara     5         A. I think he wanted to make it all go away.
  6   and McKenzie, stole the motorcycle. I called them.         6         Q. How so?
  7   Then they -- I called them. They responded to do my        7         A. I mean, wouldn't that change the whole
  8   home.                                                      8   dynamic of everything?
  9        Then they left and said this is -- once I             9         Q. No, I really don't understand what you're
 10   started questioning them, they said, this is a civil      10   saying, Mr. Thompson. How would --
 11   matter. I was just trying to get a bearing of what was    11         A. Oh, okay.
 12   happening, and they said, this is a civil matter, we're   12         I believe he wanted the title -- I mean, to make
 13   leaving, and they just left me hanging without any        13   it go away. Why would he need the original when he had
 14   explanation.                                              14   it the night before, he had all of the information on
 15        And then, you know -- and then I had to call         15   that title the night before?
 16   Manchester and request a supervisor, and that's when      16         Gerholdt, Waters, and Cockrell had -- they had
 17   Officer Waters came out, again, with Cockrell and         17   it all. Why would they need all my originals the next
 18   Gerholdt.                                                 18   day? It's just --
 19        And they totally just forgot that whole part,        19         Q. So on the 20 -- evening of the 23rd, --
 20   coincidentally, you know.                                 20         A. Uh-huh.
 21        Q. Mr. Thompson, please tell me all the              21         Q. -- did the officers make copies of your
 22   reasons you believe Officer Gerholdt acted                22   title at that time?
 23   intentionally.                                            23         A. I believe they were taking pictures of
 24            MR. BAILEY: I'm sorry. Can you repeat it         24   them. They had it out in the street and they were --
 25   again?                                                    25   had camera -- or not cameras, but flashlights, the


                                                                                       47 (Pages 185 to 188)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 48 of 76 PageID
                                                        #: 863
                                                        189                                                            191
  1   originals of everything.                                  1   the hasp.
  2        I don't know why they needed them again the          2        Q. Would you please tell me all of the
  3   second day.                                               3   reasons you believe Officer Gerholdt acted
  4        Q. Do you know if they took pictures?                4   outrageously?
  5        A. I -- I don't know that for a fact, but I          5            MR. BAILEY: Objection. Calls for a legal
  6   thought I saw them taking pictures.                       6   conclusion.
  7        Q. Is it possible they just wanted to have a         7        Go ahead. Sorry.
  8   copy in evidence, based on what you had --                8        A. Because he -- when I asked him what
  9            MR. BAILEY: Objection. Calls for                 9   happened, he said, this is -- I asked him and Cockrell
 10   speculation.                                             10   what happened, they said, this is a civil matter.
 11   BY MS. ROBERTSON:                                        11        I said, do you want to see my paperwork?
 12        Q. You can answer, if you know.                     12        And they said, civil matter. We don't need to
 13        A. I don't know. I was already -- after             13   see anything. We're the police, we go anywhere we
 14   they -- after they broke onto my property without my     14   want. And they left.
 15   consent, I was already suspect of them by then.          15        I've repeated that.
 16        They had already stolen from me, broken onto my     16   BY MS. ROBERTSON:
 17   property, let people, potentially dangerous people, on   17       Q. Is your answer any different for --
 18   my property when I have a teenage daughter, you know.    18        A. No.
 19        And then, you know, didn't -- didn't call,          19       Q. -- Officer Gerholdt or Cockrell?
 20   didn't get a search warrant, anything. They just took    20        A. I mean, they both say the civil matter,
 21   it upon themselves.                                      21   we're leaving.
 22        Q. Let me ask you.                                  22        Q. I just --
 23        You have used the term broke onto or something      23        A. The only difference is Cockrell was the
 24   similar a few times --                                   24   one that said, we're the police, we can go anywhere we
 25        A. Yeah.                                            25   want. That's the only difference.

                                                        190                                                            192
  1        Q. -- in the last few minutes.                       1        Q. Okay. That's for -- when I asked
  2        Was anything broken to get onto your property?       2   you about --
  3        A. Well, I mean -- I don't -- they --                3        A. Gerholdt and Cockrell both said, this is a
  4   somebody opened up my gate. It was either them --         4   civil matter, we're leaving, when I was saying, can you
  5   somebody opened it up to get -- to steal the              5   help me figure this out? I want to know what happened
  6   motorcycle. So --                                         6   here.
  7        Q. Were any windows broken?                          7        And they said, civil matter.
  8        A. No.                                               8        And I said, do you want to see my paperwork,
  9        Q. Were any doors kicked in?                         9   my -- showing I have ownership of this vehicle that you
 10        A. No.                                              10   let them come in and steal?
 11        Q. Was the gate forcibly opened?                    11        Q. Is there -- and that's as to your -- your
 12        A. I don't know. The gate was opened. I             12   allegation that they acted outrageously.
 13   don't --                                                 13        With respect to your allegation that they acted
 14        Q. Was the gate still functional when you           14   intentionally, is your answer any different for Officer
 15   returned home?                                           15   Gerholdt than Cockrell?
 16        A. It's not as functional, but yeah -- if           16        A. No. They both acted similarly.
 17   somebody pushed it, you know.                            17        Q. Please tell me all the reasons you believe
 18        Q. In what way is it not functional?                18   any officer acted with evil motive?
 19        A. It's on a wheel, and the two-by-four             19           MR. BAILEY: Objection. Calls for a legal
 20   holding the wheel is broke now. I have to lift it when   20   conclusion.
 21   I close it.                                              21        A. Because they could have -- I've been a
 22        Q. There wasn't a lock your gate, though. We        22   resident of Manchester for 20-something years. They
 23   discussed that.                                          23   could have contacted me. They could have come by my
 24        Correct?                                            24   house at a normal business hour, and we could have
 25        A. Right. There was a hasp, and a bolt in           25   spoke about it. I could have offered up all the

                                                                                       48 (Pages 189 to 192)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW             Doc. #: 39-10THOMPSON
                                                RAYMOND        Filed: 01/11/24        Page: 49 of 76 PageID
                                                        #: 864
                                                         193                                                          195
  1   information they wanted.                                   1   either officer was negligent.
  2        But they break into my house on my property --        2            MR. BAILEY: Objection. Calls for a legal
  3   break into my property at 11:30 at night. That is evil     3   conclusion. Thank you.
  4   motive.                                                    4        A. I mean, they broke onto my property. They
  5   BY MS. ROBERTSON:                                          5   stole from me. They offered no help when I tried to
  6        Q. And I just want to -- they did not break           6   request help from them to understand what was
  7   into your home?                                            7   happening. They just left.
  8        A. They broke onto my property.                       8        And they let strangers who I don't know anything
  9        Q. Okay.                                              9   about onto my property. I don't know even know that
 10        Any other reason you believe they acted with         10   they're people -- you know, they could be serial
 11   evil motive?                                              11   killers. I don't know who they let on the property. I
 12        A. I just explained that, I feel.                    12   have a child.
 13        Q. Please tell me all the reasons you believe        13        I have since put up cameras all over my house,
 14   either officer acted with reckless indifference?          14   inside and out, because of this situation.
 15            MR. BAILEY: Objection. Calls for a legal         15   BY MS. ROBERTSON:
 16   conclusion.                                               16        Q. Mr. Thompson, do you wish to add anything
 17        A. Because when I tried to ask them for an           17   or change any answer you've given me today?
 18   explanation, they said, we're no longer want any part     18        A. I don't think so.
 19   of this, basically, by saying this is a civil matter,     19        Q. Have all of your answers been truthful?
 20   and just left me hanging there.                           20        A. Yes.
 21        And then I had to call back their superior and       21        Q. I don't think I have any further
 22   request a superior out there to give me some sort of      22   questions.
 23   explanation of what happened and why this happened.       23            MR. BAILEY: Thank you.
 24   BY MS. ROBERTSON:                                         24        I have no questions for you, Mr. Thompson.
 25        Q. When Officers Cockrell and Gerholdt were          25        A. Okay. Thank you.

                                                         194                                                          196
  1   at your residence the first time, do you have any          1         MS. ROBERTSON: Off the record -- oh, do
  2   reason to believe -- and this would be on October 22nd,    2 you want to waive or read and sign?
  3   when you were not there.                                   3         MR. BAILEY: We'd like to read and sign,
  4        A. Right.                                             4 please.
  5        Q. Do you have any reason to believe either           5         [2:43 p.m.]
  6   of them had your phone number?                             6
  7        A. They had -- I don't know that they -- I            7           [SIGNATURE RESERVED.]
  8   mean, I'm easy to find.                                    8
  9        And they had -- they ran -- in Officer                9
 10   Cockrell's -- or Officer Gerholdt's testimony, they       10
 11   looked up my license plate. They could have easily        11
 12   accessed my phone number. There's a million ways to do    12
 13   that. If they can look up license plates, they can get    13
 14   my phone number.                                          14
 15        They could have asked my neighbor. They could        15
 16   have done -- there's a million ways they could have       16
 17   gotten my phone number.                                   17
 18        Q. Please tell me every reason you believe           18
 19   either officer was negligent.                             19
 20            MR. BAILEY: I -- you trailed off again.          20
 21   I --                                                      21
 22            MS. ROBERTSON: I'll give you your                22
 23   objection on this one, Greg.                              23
 24   BY MS. ROBERTSON:                                         24
 25        Q. Please tell me all the reasons you believe        25

                                                                                       49 (Pages 193 to 196)
Golkow Litigation Services
          Case: 4:23-cv-00133-SRW              Doc. #: 39-10THOMPSON
                                                 RAYMOND        Filed: 01/11/24       Page: 50 of 76 PageID
                                                         #: 865
                                                         197                                                         199
  1             CERTIFICATE                                      1          DEPOSITION ERRATA SHEET
  2                                                              2
  3           I, Jude Arndt, a Certified Shorthand               3   Page No._____Line No._____Change to:______________
  4   Reporter and Certified Court Reporter, do hereby           4   __________________________________________________
  5   certify that RAYMOND THOMPSON, prior to the                5   Reason for change:________________________________
  6   commencement of the examination, was sworn by me to        6   Page No._____Line No._____Change to:______________
  7   testify the truth, the whole truth and nothing but the     7   __________________________________________________
  8   truth.                                                     8   Reason for change:________________________________
  9           I DO FURTHER CERTIFY that the foregoing is a       9   Page No._____Line No._____Change to:______________
 10   true and accurate transcript of the proceedings as        10   __________________________________________________
 11   taken stenographically by and before me at the time,      11   Reason for change:________________________________
 12   place and on the date hereinbefore set forth.             12   Page No._____Line No._____Change to:______________
 13           I DO FURTHER CERTIFY that I am neither a          13   __________________________________________________
 14   relative nor employee nor attorney nor counsel of any     14   Reason for change:________________________________
 15   of the parties to this action, and that I am neither a    15   Page No._____Line No._____Change to:______________
 16   relative nor employee of such attorney or counsel, and    16   __________________________________________________
 17   that I am not financially interested in this action.      17   Reason for change:________________________________
 18                                                             18   Page No._____Line No._____Change to:______________
 19                                                             19   __________________________________________________
 20             ______________________________                  20   Reason for change:________________________________
 21             JUDE ARNDT, CSR, CCR, RPR                       21
 22             CSR NO. 084-004847                              22   SIGNATURE:_______________________DATE:____________
 23             CCR NO. 1450                                    23        Raymond Thompson
 24                                                             24
 25                                                             25


                                                         198
  1
  2
  3            I, RAYMOND THOMPSON, the witness herein,
  4   having read the foregoing testimony of the pages of
  5   this deposition, do hereby certify it to be a true and
  6   correct transcript, subject to the corrections, if any,
  7   shown on the attached page.
  8
  9
 10
 11                    ______________________
 12                     Raymond Thompson
 13
 14
 15
 16
 17   Sworn and subscribed to before me,
 18   This ________ day of __________, 202_.
 19
 20
 21   _______________________________
 22       Notary Public
 23
 24
 25


                                                                                       50 (Pages 197 to 199)
Golkow Litigation Services
Case: 4:23-cv-00133-SRW       Doc. #: 39-10 Filed: 01/11/24         Page: 51 of 76 PageID
                                        #: 866
                                  RAYMOND THOMPSON
                                                                                  Page 200

       A            actions 184:4      air 45:7 166:12       195:17             140:20,21,22
a.m 4:1             activated 167:9      166:12,13,13      answered 51:19       140:23
AA 3:16 167:1,2     acts 75:7            166:15,16,19        136:19 139:10    Ashley 10:4,5,7
  167:18 168:4,6    actual 68:16         173:4,6 174:14      183:10             10:14
  168:10 173:21       87:11              174:16,21         answers 102:22     aside 19:16 97:3
Aaron 37:16         Adam 99:8,10       album 165:17,19       112:16 135:6       152:12,16
  38:22 40:3        add 21:1 195:16    allegation 192:12     135:12 184:5     asked 6:3 13:1
  42:24 44:4        added 34:20          192:13              195:19             36:16 51:19
  45:22 46:4 49:6     68:20,21,22      allegations 187:3   Anthony 4:20         54:9 66:17
  49:24 52:3 99:8     73:13 74:4       alleging 112:17     anti-theft 72:21     77:13 78:5 89:1
  99:9 100:6        addition 41:23       112:20              72:24 73:7,13      114:2,22 117:1
Abigail 7:18 9:23     42:3 45:9        allow 146:22          75:8 77:23         118:23 121:6
ability 5:25        additional 42:4    allowed 95:4        anybody 64:13        124:3,20 125:3
able 36:23 43:5,7     75:7 185:15        148:5               81:7 182:21        157:10,11
  43:9,10,23 57:5   address 7:4 8:23   Amara 147:4         anymore 74:19        158:23 173:20
  75:4 135:23         41:9 139:2         150:3 156:20      anyway 145:22        183:9 184:24
  149:24 159:19     admit 115:8          156:21 170:7,8    apologize 36:17      191:8,9 192:1
  159:22 176:2        156:4              186:5               77:13 78:5         194:15
  178:8             admitted 118:6     amount 29:18,22     apologized 123:9   asking 53:4,11
able-bodied           118:10,25          42:12 84:18,19    apologizing          83:13 102:25
  138:15              119:4 153:21       84:20 85:9          123:4              113:2,4 129:13
ACC 71:22             154:8,11,15        88:21 104:1       apparently 92:4      187:2
access 74:7 95:4      155:17 156:5       166:9             appear 31:20       ass 165:17,19
  109:25            adult 91:21        analogous 112:15    APPEARANC...       assessments 37:2
accessed 194:12       180:15           and/or 16:1           2:4              assignment 27:9
accessory 72:19     adulthood          Android 101:4       appeared 65:14       27:15
accountant's          180:18           Anglers 86:3          65:16            associated 40:15
  83:14 87:20,23    after-market       angry 115:17        appears 127:24     assume 25:10
  87:24               67:22            anniversary         Apple 101:5,6        87:24 148:2,4
accurate 27:24      age 21:5             15:23 17:7,24     applied 50:12        158:16,20
  40:14 59:14       agencies 52:14       20:22,23 21:16      148:17             168:24 170:7
  60:1 61:11 83:3     53:16,18 58:22     22:1,4,11,14,17   appraisal 14:2     assumed 141:13
  83:15 96:24         61:7 114:21        22:21 23:15,17    appraiser 14:7       165:13
  100:13 197:10       157:13 159:15      30:6 41:15,22     approached         assuming 141:19
accusation 90:21    ago 50:20,21         44:17 76:6 79:2     141:1,2            148:8
accused 155:22        124:11 171:11      172:13,17         approaching        attached 43:21
accuses 92:18       agree 6:2,18         176:17              141:2              178:6 198:7
acquainted 78:23      74:23 98:20      answer 5:8 13:2     approximately      attempted 52:16
acquired 17:21        106:4,7 109:15     51:19 64:15         122:9 140:4      attention 136:9
acres 84:4          agreed 63:5 85:9     65:19 76:14       area 86:2          attest 22:19
act 54:15 184:20      125:11 158:15      88:16,19 92:25    Arizona 8:21       attorney 4:22
acted 186:22        agreed-upon          93:22 112:6,15    Arndt 1:15 2:2       54:24 55:20
  187:3,9 191:3       85:15              136:10 150:9        197:3,21           56:4,10 65:14
  192:12,13,16      agreement 87:11      181:20,21         Arnold 40:19,23      66:20,21 82:9
  192:18 193:10       103:19 104:20      183:12,13           41:7,11 42:23      98:12 124:8
  193:14              154:24             184:2 189:12      arranged 104:3       197:14,16
action 197:15,17    ahead 191:7          191:17 192:14     arrived 140:18     attorneys 6:22,24

Golkow Litigation Services
Case: 4:23-cv-00133-SRW     Doc. #: 39-10 Filed: 01/11/24         Page: 52 of 76 PageID
                                      #: 867
                                RAYMOND THOMPSON
                                                                                 Page 201

  160:10 167:23  backing 134:4         83:21 98:19         46:20,25 49:24    bolt 190:25
  167:25         backyard 107:1        100:5 182:14        58:1,3 68:13      Bonhomme 2:2,7
auctions 17:22    107:21 111:9       bed 151:2             73:9,11 80:13     boom 88:6
  17:23           115:6,8 118:7      beginning 40:12       87:17 88:9,12     borrowing 157:3
audio 119:20      118:11 119:2,4       100:12              91:24 92:5,6,13    157:4,5
  120:7           120:5 143:15       behalf 2:6,14         92:14 108:23      bottom 32:3 34:2
August 97:13      153:21 154:12        187:21              108:24 109:4       60:21 61:6
aunt 99:20        155:17,19          believe 5:15 8:1      113:25 115:20      100:20
automatically     156:4,6,8,13,22      9:2,6,7,11 22:3     117:14,25         bought 17:16,18
  101:7          backyards             22:18 24:21         118:24 130:4       17:22 19:1
available 22:23   120:24               28:7 32:1,24        132:11,23,23       30:18 94:16
  23:4           Bailey 2:13 155:1     35:21 36:3          135:22 141:14      97:8,11 179:14
Avenue 2:2,7      155:10,12            41:17,17,20         144:19 157:3,4     180:7,13
  83:21           160:23 161:1,5       47:16 51:20         157:4,5 159:8     box 26:23,25
avid 179:6        162:16,20,23         55:24 56:15,20      164:1 166:22       27:9 59:17,20
aware 57:11       163:25 167:15        58:10 64:7          170:8 174:15       59:24,24 60:7,9
  63:19 64:11,17  170:18 181:11        67:21 79:11         175:9,20,21        60:9 61:7 99:7
  65:1            181:17,21            80:7 82:1 84:5      180:10,11,13      boxes 33:15
                  183:2,9,13           84:16 91:15         182:7 185:13      break 12:24 13:3
        B         186:24 189:9         99:17,20          bikes 16:21 18:10    64:24 119:5
B-L-U-M-H-O...    191:5 192:19         102:13 110:8        42:23,24 46:25     125:15 145:8
 37:22            193:15 194:20        116:5,17            78:3 179:20,21     193:2,3,6
back 8:5 26:17    195:2,23 196:3       124:16 135:5        180:17            bring 42:15 95:5
 34:4 45:22 46:1 balance 28:18         135:12 137:17     bill 161:19          95:16 117:24
 47:23 50:22      30:24 32:18          137:21 141:15     Biology 13:17        155:5 158:13
 54:24 56:13     ballpark 71:3         142:21 145:11     bit 15:14 43:2       158:15
 58:17 70:17      85:6,18              149:19 159:13       44:20 78:11       bringing 118:1
 74:10 95:5,16   bank 28:8 33:7        161:3 171:24        96:13 109:9,9      158:21
 96:15 99:5      barn 79:2 95:6        172:3 182:25        175:19 181:8      brings 42:10,11
 106:18 111:3    barns 16:13           183:7 185:16        183:3             broke 146:19
 113:7,15,18,22 based 189:8            186:22 187:9      black 22:10,11       183:16 185:12
 116:5,6 117:24 basic 43:1             188:3,12,23         22:12,18 83:10     189:14,23
 118:1,9,23      basically 7:19        191:3 192:17        98:24 100:21       190:20 193:8
 119:5 120:16     116:3,16 145:5       193:10,13           108:22             195:4
 121:8 125:14     158:25 193:19        194:2,5,18,25     blank 56:23         broken 131:14
 131:15 134:1    basis 20:15 87:4    belong 181:9,15     Bless 47:18          141:13 168:7
 140:17 145:15    101:16             belongs 89:3        blue 22:11,12        189:16 190:2,7
 145:24 146:13   battery 36:3        best 8:7              107:22 108:1      brother 12:7
 154:18 157:5,6   70:12 72:20        better 75:22          108:14 109:7       32:12 50:11
 158:13,15,19    BB 3:17 167:1,2       128:1 154:25        126:21 127:9       53:7 59:9
 158:22 159:9     167:18 169:6         168:3               131:2              112:17,23
 160:18 165:23    173:21             big 20:6 39:11      Blumhorst 37:20      116:16,20
 166:21,22       Bear 101:22           41:5                37:20 38:4,7,12    117:15,20
 178:14 193:21   bearing 186:11      bike 21:6 23:12       38:13,15 39:6      118:3,6,10
backed 86:2      Beaufort 8:20,23      28:17,22,23         39:14,19 42:24     145:2,10
background        25:25 26:7 79:3      30:17 42:25         49:6               153:16 154:15
 12:19            82:18,21,22          43:4,17 46:14     body 47:25 142:3     156:6 157:20

Golkow Litigation Services
Case: 4:23-cv-00133-SRW     Doc. #: 39-10 Filed: 01/11/24         Page: 53 of 76 PageID
                                      #: 868
                                RAYMOND THOMPSON
                                                                                 Page 202

 158:4,8,23        93:8,14,16,17       121:6,8 188:25     178:21               123:1,14 124:3
 159:3             93:18,23 94:2,3     195:13           certain 21:11          124:23 139:21
brother's 119:22   94:5,12,17        camp 84:2,3          88:20 104:15         139:22 140:7,9
 159:6             95:13,13,19,23    camper 95:2        certainly 53:9         140:16
brought 33:14,15   96:6              campground         certificate 47:24    Christian's
 37:6 56:13      calculator 34:20      84:2 86:5        certificates 13:7      139:15
 58:17 184:11    California          canoe 86:3           13:11,13           chrome 166:13
brown 108:22       176:19            Canyon 8:21        certifications         166:24 168:7
builder 90:3     call 54:15 117:14   capable 180:21       14:4,7               171:21 173:3
building 35:10     139:2,7 145:3,9   car 18:23 21:14    Certified 2:2,2        173:15
 93:9              145:20 146:13       97:19,22,25        197:3,4            circle 109:8
buildings 84:13    150:12,15,18        117:16 144:9     certify 197:5,9,13     126:21
 86:8,8 92:10      158:11,20,20        144:10,10,22       198:5              circled 32:5
builds 38:1 40:20  186:15 187:15     card 35:8,9,11     chair 70:23          circles 130:25
bullet 103:3       189:19 193:21       38:25 42:19      change 188:7           131:2,3
 136:11          called 21:2 49:11     55:19              195:17 199:3,5     City 31:13,18
bunch 84:11        54:6,14,17,19     care 81:14           199:6,8,9,11,12      49:10 53:16,19
 169:9             55:11,14 57:2       117:17 159:8       199:14,15,17         54:1,4,5,13
bureau 35:10       88:23,24 89:1,8   carpentry 90:3       199:18,20            55:10 61:12
 54:8              94:9 113:23       Carrie 9:17        changes 101:8        civil 115:15,22
Burn 165:17,19     114:5,7 116:5     cars 74:20           180:24               117:6 144:2,6
burned 90:21       116:15,16           127:16 141:2     changing 67:4          144:17 146:15
burnt 91:10        138:22,23           144:16             107:6,7              149:7 184:19
Bushmaster 45:8    139:8 144:3       case 36:5 65:6     characterize           184:22 185:9
business 12:6,8    145:2,10,15,15      66:4,5,8 67:1      178:24               185:12 186:10
 12:17 20:1,2,8    145:21 150:23       109:13 147:14    charge 56:4            186:12 187:17
 20:9 28:10 33:5   153:3,7 159:20      153:18             96:14                191:10,12,20
 90:7 126:5        183:14 186:6,7    CaseNet 64:23      chassis 35:24          192:4,7 193:19
 192:24            187:14            cash 33:8 35:8       36:15 41:18        claims 149:8
button 67:15     calling 54:12         38:14            check 24:21 29:1     clarify 54:2
 68:17 69:13       139:17 140:5      Catawissa 41:8       30:5,8,20,23         178:7
 72:6            calls 52:13 90:9    Cate 4:11            32:17,19,20,23     class 179:25
buy 73:19          90:25 92:2,2,23   Catherine 2:17       33:8 35:7 42:18    clean 166:15
buyer 32:9 60:14   93:20,20          cause 168:19         80:8,19 156:1,8    cleaner 45:7
 60:16,17 61:2     148:24 150:6,6      170:4            checked 115:11         166:12,12,13
 62:13,14          150:7 187:11      caused 168:22        156:3                166:16,19
buyer's 60:18      189:9 191:5         170:6 173:11     checks 18:17           173:4,6 174:15
                   192:19 193:15       173:22,25          79:5                 174:16
        C          195:2               174:17,19        Chewy 130:19,21      clear 5:5,11
C 3:4 23:21,25   calm 142:11           175:12,21          130:23 146:1         11:16
  24:9,17 47:23  cam 142:3           CC 3:17 170:13     child 179:4,13       clearly 136:22
  103:3 166:15   camera 114:2          170:14,21          195:12             client 87:7
  197:1,1          188:25              171:5,7,20,23    children 9:25          182:25 183:7
C-O-M-P-T-O-N cameras 97:19            173:21           Chris 122:12         close 46:4,8
  33:20            97:21,24          CCR 1:15,16          125:6                104:3,4 124:16
cabin 94:15        114:12 119:12       197:21,23        Christian 114:4        143:10,12
cabins 84:2 86:5   119:18,19         cell 163:11          119:25 121:7         190:21

Golkow Litigation Services
Case: 4:23-cv-00133-SRW        Doc. #: 39-10 Filed: 01/11/24        Page: 54 of 76 PageID
                                         #: 869
                                   RAYMOND THOMPSON
                                                                                  Page 203

closed 9:10 86:14     182:6             commute 18:22        86:2               71:25 72:8,16
  89:12 126:10      collected 86:7        19:19            consider 14:15       75:6,6,8,16
  126:11 137:9        179:4             company 19:12        14:18,25           80:7 82:24
closer 140:15       collector 15:2,3      79:22 85:1,2     construction         83:12 84:19
closes 138:7        collector's 23:18     86:18 87:13,25     7:22               103:16 104:12
closing 84:16       college 12:21         88:24,24 89:12   contact 57:1,12      109:19,23
  86:10,17,17         13:16,18            93:4 100:2         58:18 63:7         112:5 119:24
  89:15 91:20       collusion 148:9     company-owned        105:3 121:21       125:20 130:9
  104:3,11,14,18    color 22:7            19:13              140:24 152:14      133:8,18 134:4
  104:19,20,21      colors 22:6,16      compared 18:10       152:16,18          137:14,23
  104:22,25         come 5:11 25:19     complaint 59:13      156:24 159:10      143:15 164:24
  105:4               36:13 68:3          59:25 60:8,10      159:15,17          171:18 178:9
Club 86:3             69:15 74:3          61:6,15 62:13    contacted 61:7       178:10,18,19
clubs 181:10,16       83:14 89:20         63:20 149:12       103:10 183:19      190:24 198:6
cmr@reichard...       93:6,12 95:8,11     178:4              192:23           corrections 198:6
  2:17                96:4 105:7        complaints 64:11   continued 65:16    corresponds 25:7
Co-owner 12:5         113:15 116:9      complete 52:3        65:17            Corvette 15:22
Cock 116:23           119:5 126:2       completed 45:23    continuing           19:25 127:9
Cockrell 1:6 4:12     146:21,22           51:12 52:6         133:25             129:7,9 130:5
  114:8,13            158:19 183:15     completely 138:2   contract 87:13     cost 42:4 84:16
  115:14 116:12       183:20,22           166:3            controls 168:13      132:9 176:5
  116:24,25           186:1 192:10      components           174:11           costs 40:15 41:24
  117:5,18 119:1      192:23              43:25 44:2,8     conversation         137:2
  140:23 142:12     comes 43:4 73:20    composite 95:12      118:22 142:16    Cottagemill 7:6
  144:1,10,21,21      74:25 111:20        95:14              154:13,18          111:6 119:13
  144:24,25         comfortable         Compton 33:18        158:5,9            136:14
  145:6,23 146:9      158:16 180:22       33:21 37:2       conversations      counsel 2:4 3:20
  146:21 147:1      coming 185:18         160:17 166:7       31:9 55:19         197:14,16
  147:25 150:3      commencement          170:24 171:2       81:12,16 118:4   counties 183:17
  150:15 151:11       197:6             conclusion 155:5     153:17           country 23:5
  152:14 154:7      comments              187:12 191:6     copies 56:13         111:22
  158:7,17            165:16              192:20 193:16      58:17 151:6,8    counts 81:2
  159:11 163:15     Commercial            195:3              151:13,14,18     County 7:8 50:7
  184:24 185:4,6      12:10             condition 174:23     151:20 188:21      53:18 54:18,20
  186:4,17          committed           conduct 136:24     cops 145:5           54:24 55:2,17
  188:16 191:9        184:20            confident 141:8    copy 50:24           55:23 56:3,9,23
  191:19,23         commonly 25:15      confirm 109:12       102:18 124:2       57:2,3 61:9
  192:3,15          communicate           122:12             149:20 189:8       62:10 64:3 65:2
  193:25              79:18 81:22       confused 54:10     corner 120:17,17     66:5,8,14,17,20
Cockrell's          communicated          93:24,24 103:8     133:7              67:1 81:1,5
  102:23 144:10       62:19 79:20       connected 138:25   corners 131:14       88:24 89:8
  194:10            communication         153:18           correct 8:14         139:1 182:12
code 138:20           82:15             connection 65:3      35:17 37:11      couple 4:9,13,24
coincidentally      communications        66:23 120:10       42:13,14 46:21     8:5 23:11 31:8
  186:20              31:10 87:1 91:3     137:2              56:2 59:19         31:23 39:9
cold 79:16,17         98:21 102:25      consent 189:15       60:21 66:2         49:25 102:15
  80:16 161:24        104:24            conservation         68:11 69:3         159:21 160:21

Golkow Litigation Services
Case: 4:23-cv-00133-SRW        Doc. #: 39-10 Filed: 01/11/24        Page: 55 of 76 PageID
                                         #: 870
                                   RAYMOND THOMPSON
                                                                                   Page 204

  171:11              166:1,10,13,19   date 27:1,19,22      38:25              Defendants 1:7
course 6:23 11:9      172:12 173:4      30:8,14 32:19      debris 84:11 86:8    2:14
  20:12 31:14         174:14 176:14     32:22 33:12         86:13 103:17       definitely 97:25
  80:23 97:23         179:5             35:12 40:9 46:4    decal 172:15        degree 14:20
  146:18 147:10     custom-built        49:14 61:15        decals 22:13        deliver 40:6
  147:23              15:24             76:9 79:5 80:17     39:20 41:16,21     delivered 40:4
court 1:1 2:2       custom-made         94:22 104:3,4       41:22,25 42:6       45:23,24,25
  50:23 65:11,12      48:6,7 173:5      105:11 129:14       42:12 172:8,9       46:12 49:6,24
  65:18 81:1,2,4      176:14,14         161:23 197:12       172:13,17,19        67:20 69:4,11
  197:4                                 199:22              173:16             demeanor 142:9
courtesy 154:25             D          dated 80:8 83:1     deceived 30:17      demonstrated
cousin 7:20 99:20   D 3:5 26:10,14      124:13 160:21      deceiving 77:5,12    187:4,4
  111:19             34:11             dates 57:8 103:8    December 1:13       denied 154:8
cousins 157:25      D-E-R-I-C-K         160:21              2:3                 156:12
cover 36:5 184:4     33:20             daughter 7:18       decided 115:16      dented 170:1
covered 77:4        D.C 2:12            9:22 111:17,18     declaration 50:6    deny 156:15
COVID 56:11         dad 179:14,24       111:18 142:6       defendant 14:10     department
CPR 13:12           daily 19:19 20:6    143:18 157:2        112:12              49:16 50:12,14
cracks 175:6        Dallas 64:9         158:13 184:9       Defendant's 3:4      50:17 54:4
crazy 119:10,10     damage 131:15       189:18              3:5,5,6,6,7,7,8     59:12 60:19
  158:25             131:19,22,25      daughter's 90:22     3:8,9,9,10,10       61:8,8,9,18
credit 12:21 35:7    132:3,8,11         91:13               3:11,11,12,12       62:5,9 89:10
  38:24 42:19        135:13 165:23     daughters 91:15      3:13,13,14,14       113:24 148:21
Creek 8:25 83:21     166:2,9,24        day 34:15 78:14      3:15,15,16,16       149:11 159:16
  97:4               167:21,22          107:5,7 110:12      3:17,17,18,18      depending
crews 12:14,15       168:5,14,19,22     110:16 121:14       3:19,19 23:21       130:13
criminal 49:12       169:3,15,19,21     123:2,9 151:1,3     23:25 26:10,13     depends 176:12
  54:15 64:21        169:24 170:4,6     151:12,17           29:12 59:1,3,6     depict 135:15
  65:9 66:4,8        170:9,17,25        162:8 164:8,21      59:8 69:20,22       169:13
  147:14             171:1,7,8,19       164:21 165:2        69:25 82:2,3       depicted 106:5
criminals 184:12     172:4,18 173:1     187:21 188:18       98:3,4,8,18,20      131:19 164:11
crossed 155:20       173:3,9,11,13      189:3 198:18        102:17,19           164:14 166:16
CSR 1:15,16          173:17,22,25      Daylight 182:1       107:10,14,17        166:18 168:5,9
  197:21,22          174:3,12,13,17    days 4:9,13,24       123:19,20,23        168:14,19,22
cubic 21:19          174:19 175:4,8     8:5 49:25 61:24     126:17 127:19       169:15,18
  36:19 48:18        175:12,14,16       80:18 84:14         127:23 128:1        171:2,7,19,22
currently 9:12       176:6              104:1,20            130:16 132:13       172:2,4,18,22
  15:15 16:23       damaged 135:21      159:21 162:6        134:17,20,23        173:1,13 174:8
  50:7               165:25 166:3      DD 3:18 170:13       136:2,3,7 161:8     174:12 175:2,4
cushion 70:16        175:10             172:1,7,18          161:10,13          depicts 136:18
  71:10             damages 187:2       173:21              163:1,2,5,20,21    deposed 66:7
custody 7:17        dangerous          dealer 48:12         164:3 167:1,2       109:22
  111:17             189:17            dealing 55:3 56:9    167:17 168:4       deposition 1:12
custom 16:5 17:6    Danny 40:19,23     dealings 96:16       168:10 169:6        2:1,1 5:13 6:21
  19:24 20:23,23     42:23              147:11              170:13,14,20        18:8 25:6 65:10
  22:21 45:4,5,7    dark 115:13        dealt 54:10          171:5,20            155:4 198:5
  46:6 52:4 143:6    146:10            debit 35:9,11        173:21              199:1

Golkow Litigation Services
Case: 4:23-cv-00133-SRW        Doc. #: 39-10 Filed: 01/11/24        Page: 56 of 76 PageID
                                         #: 871
                                   RAYMOND THOMPSON
                                                                                 Page 205

depositions 4:24    dirt 16:21 179:20    178:5,11,16       duly 4:3          empathetically
  109:13,18           179:20            dog 138:13         dumbfounded         104:6
  185:24            discount 39:10      doing 134:10        145:4            employed 11:24
Derick 33:18        discovery 70:5      dollars 96:22      dump 90:11          12:1 33:24
  37:2 160:17       discuss 52:17,22     160:15            duties 12:13        170:25
  166:6,6 169:8       53:3,7            door 106:16,16     dynamic 188:8     employee 197:14
  170:24            discussed 40:17      113:19 116:13                         197:16
derogatory            44:1,2,9 53:8,9    116:14 117:1,9             E        employees 52:20
  165:21              53:14,15,16,17     144:12 146:8      E 3:5 29:11,12,17   53:5
Des 49:18,20          63:18 125:5        151:7 153:5         30:1 34:4,6     enclosed 92:9
  53:22 54:7,7        133:21,23         doorbell 119:17      35:2,3 197:1,1  encompass 48:20
  61:10               152:17 159:12      120:3 121:19      e-mail 79:19      encompasses
described 90:5        160:10 173:14     doors 190:9        earlier 12:23       48:18
  178:3               176:7 178:7       DOR 50:16,19,25      41:13 42:1      endorsement
detached 41:5         185:16 190:23     dragged 123:3        51:24 61:13       180:2
details 118:21      discussion 25:1     drain 72:20          109:12,22       Enduro 16:19
  125:8               105:19 127:21     draining 107:7       111:19,23       Enduros 16:2,9
detective 158:1       154:23 155:9      drive 2:15 7:6       142:1,5 172:11    16:18
deteriorating         184:17             23:3 37:4 46:14   early 79:6 110:8 enforcement
  21:4              dishonest 184:4      121:14 136:14       159:25            57:13 63:25
device 74:4 75:8    dispatch 12:14       176:19            easier 162:14       114:21 139:23
devices 72:21       dispatched 114:7    driven 72:10       easily 176:18       143:22 153:17
  119:21 120:8      dispose 89:17        107:5               194:11            157:13,15,18
difference 191:23   dispute 114:20      driver 144:12      EASTERN 1:1,2       159:15
  191:25              183:20            driver's 180:3     easy 185:20       engine 36:1,18,24
different 17:22     distance 115:13     drivers 20:7         194:8             43:5 172:24
  22:2,3,6 24:23    DISTRICT 1:1,1      driveway 97:22     eBay 16:18 17:23    174:10
  38:5 39:3,3       DIVISION 1:2         106:4,8,25          39:4            engraved 45:8
  45:11 56:18       divorce 9:18         114:9,14          education 13:8      166:12,14
  58:14 94:4,19     divorced 7:21        121:24 122:1      educational       enjoy 179:7
  119:8 128:21        9:13,14            127:25 133:16       12:19           enjoyable 179:2
  130:12 134:7      DMV 49:5,7,10        133:23 134:13     EE 3:18 170:13    enter 113:18
  160:21 191:17       52:7,7,12,16,19    135:20 140:13       172:20          entered 97:5
  192:14              53:4,9,13,16       141:3 142:17      eight 40:3        enthusiast 25:22
different-sized       54:13 55:10        142:24 144:15     either 10:22 17:1   128:23
  166:23              59:10 61:9,12     driving 129:21       62:3 116:6      entire 81:5
differently 5:1     document 24:1,3      130:14 142:20       122:12 164:21   entirety 82:7
difficult 45:16       26:20 27:2        drop 138:8           169:8 170:7       158:4,8
  113:1               53:20 56:14       dropped 151:11       190:4 193:14    entitlement
digitally 161:2       61:17,20 62:4      151:22              194:5,19 195:1    149:4
dip 13:11           documentation       drove 45:23 46:1   electronic 44:8   entity 94:8
diplomas 13:6         53:23 58:14        54:20 55:4        elimination       errands 18:22
direct 136:9          187:16             116:1,1 135:18      143:13          ERRATA 199:1
directed 138:24     documents 7:2        135:20,22         Elmore 147:4      escrow 86:11,12
  139:1               29:8 31:20         145:1,14 170:8      150:3           establish 69:5
directly 62:23        66:17,19 117:2     185:3             embodiment        established
  144:11              144:1,1,7 178:2   drug 5:22,24         24:20             111:19

Golkow Litigation Services
Case: 4:23-cv-00133-SRW        Doc. #: 39-10 Filed: 01/11/24         Page: 57 of 76 PageID
                                         #: 872
                                   RAYMOND THOMPSON
                                                                                    Page 206

estate 104:20         69:25 71:7,9      explanation            148:19 164:20       95:15 97:2
estimate 97:1         76:25 82:2,3,7      186:14 193:18     fairing 131:5,8,9      149:7
  132:7 176:5,9       82:12,14 83:1       193:23               131:11 168:11    fill 12:18
  176:21              98:3,3,4,8,18     extends 133:17         175:3            filled 59:9
estimates 131:24      98:20 100:11      extension 86:9      fairings 131:15     filter 174:21
  132:2               102:18,19         extensive 14:22        131:18           final 30:23
evening 110:6         105:22 107:10     extent 112:19       fairly 141:8        financially
  188:19              107:14,18         exterior 166:23     familiar 48:15         197:17
eventually 86:5       111:4,5,9 112:6   extra 74:4             65:23 94:10,13   find 77:9 96:19
everybody 11:11       123:19,20,24      extremely 141:10    family 93:12 95:8      101:25 153:1
evidence 178:17       126:17 127:24       176:13,15,23      far 137:25             176:19,20
  178:19 189:8        128:1,11,16,18      184:3             farm 16:12 45:25       184:17 194:8
evidencing 178:2      129:5 130:16                             182:13           fine 161:1 162:20
evil 187:4 192:18     130:16,25                  F          fashion 135:14      finished 40:3
  193:3,11            132:13 133:6,7    F 3:6 29:11,12,17   father 99:13        finishing 95:13
ex-wife's 158:1       133:19 134:3        29:24 30:1,2,2       179:17           first 4:2 17:17
exact 33:12 46:4      134:17,20,23        30:4 32:2 197:1   feature 68:20          45:20,20 46:19
  84:18 96:19         135:3 136:2,3,7   F-150 19:2,8,21        73:13               49:19 51:7,16
  125:22              149:11 160:20       19:21 127:9       February 79:13         52:16 57:12
exactly 17:11         161:8,10,14         128:14 129:5         160:21 162:5,6      58:4 78:23
  29:9 47:3 76:14     162:15,19           130:8,11 134:6       162:8 177:2         79:25 80:1,9
  115:18              163:1,2,5,20,21     142:18,21,24      feel 70:17 82:6        82:25 83:7 86:1
examination 3:2       164:4 166:15      F-450 19:7             167:6 183:25        99:4 101:11
  4:4 197:6           166:18 168:4      F-O-R-M-E-R            193:12              119:9 124:9,17
example 21:14         168:10 169:6        68:5              felony 14:12 65:2      140:20,22
exchanged 79:6        170:13 171:7      face 120:4          felt 129:20            141:4,5 148:2
  102:11              171:20,23         Facebook 164:7         146:18 158:16       154:18 155:16
exclusively 41:6      172:1,5,18,20       164:18 165:8      fence 131:23           156:24 163:16
excuse 30:15          173:21 174:7        177:16,20            132:3,8 154:8       179:11,14
  47:17 48:22,22      175:1,2           faces 120:16,22     fender 169:14          180:8,13,16
  67:25 100:11      exhibits 3:3 29:2     120:23               171:25,25           194:1
  139:9 180:19        29:17 102:10      facilitated            172:3            fish 84:2
exhibit 3:4,5,5,6     127:19 136:18       144:19 146:23     FF 3:19 170:13      fit 45:5,5 176:14
  3:6,7,7,8,8,9,9     167:1,2,18        facing 120:12          174:7            five 17:21 23:10
  3:10,10,11,11       170:14,21         fact 103:20         fiancé 114:4           80:25 81:2
  3:12,12,13,13     exist 169:1,4         146:16 189:5         121:7               100:18 162:6
  3:14,14,15,15       170:9 173:17      factory 48:5        fiancées 123:5      fix 50:15 132:10
  3:16,16,17,17       174:3 175:16        67:20 68:22       fiber 169:3         fixed 159:7
  3:18,18,19,19     experience            69:15 73:3,9,17   fiberglass 131:14   flashlights
  3:20 23:21,25       157:17              73:19 74:3 75:1      166:2,24 168:7      146:11 188:25
  24:17 26:10,14    expert 14:15,18       173:6                169:4,19,21,24   flip 67:11,14
  29:12,24 30:1,4     14:25 15:7        failed 104:2,3         171:9,9,21          68:17 71:18,19
  32:2,14,14,16     explain 4:23        fair 13:4 36:20        172:6,19 175:6      71:23,24 72:2
  34:4,6,8,11         156:25 159:2        37:3 40:10 87:2   figure 192:5           75:14
  35:2,3 47:23        172:9               112:2 128:20      filed 45:16 46:10   flipped 72:9
  59:1,3,6,8        explained 125:15      130:10 138:14        49:3,3,9 53:10   flooring 95:12,14
  61:17 69:20,22      193:12              142:25 143:1         60:15 93:10         95:17,23 96:21

Golkow Litigation Services
Case: 4:23-cv-00133-SRW        Doc. #: 39-10 Filed: 01/11/24        Page: 58 of 76 PageID
                                         #: 873
                                   RAYMOND THOMPSON
                                                                                  Page 207

Florida 8:19,20       93:14 100:18      functioning         190:11,12,14        152:18 153:5
  10:7 19:4,4       fourth 136:11         23:15 114:12      190:22              153:21 154:15
  182:7,8           Fox 8:25 83:21      fund 86:11,12,12  gates 126:16          155:16,18
fob 67:16 78:7,9      97:4              furious 146:16      138:2               158:9,10,18,24
focus 69:8          frame 35:23,24      further 125:6     gear 182:6            159:2,5,11
folder 149:22         36:8 41:19          195:21 197:9    gears 67:4 78:11      163:15 178:23
folders 151:10        43:12 62:7          197:13            78:14 105:9         182:25 183:7,7
foliage 47:14       Franklin 53:18      FX 48:24          Gelfand 2:6,8,11      185:7,9 186:5
folks 22:6            54:18,20,24       FXD 48:15,17,23     24:7,12 27:6        186:18,22
follow 57:3           55:2,17,23 56:3                       35:2 47:18          187:9 188:3,16
followed 57:8         56:9,23 57:2,3            G           51:18 64:14         191:3,19 192:3
following 151:1,3     61:9 62:10 64:2   G 2:11 3:6 29:11    68:4,7,14 78:13     192:15 193:25
  151:12              88:24 89:8          29:12,17 32:14    86:19,25 87:3,8   Gerholdt's
follows 4:3           182:12              32:14,16          88:15,18 90:8       112:16 142:9
food 184:11         fraud 58:22         garage 25:25        90:24 91:5 92:1     194:10
foot 169:23           101:21 143:23       37:23,25 41:1,2   92:22 93:19       getting 86:12
  174:11            fraudulent 45:17      41:5 79:2         108:5,8,10,12       123:3
forcibly 190:11       46:10 49:9 55:6     105:13,14,16      112:18,25         GG 3:19 170:13
Ford 19:2,7           56:1 58:5           106:15,17,20      113:8 126:19        170:14,21
  127:9 128:14        143:24              129:24 130:1,4    129:13 130:22       175:1,2
foregoing 197:9     fraudulently          143:6,7,8         148:23 149:24     Gist 26:4 78:18
  198:4               60:15             garbage 86:6        150:5 154:20        78:19 79:20
forgot 12:22        free 82:6             95:3              154:24 155:8        89:5,23 90:17
  41:20,22          freedom 179:10      Garrett 26:4,8      187:11              182:22
  109:11 115:18     Fresh 74:11           78:18,25 79:20 generally 69:7       Gist's 89:25
  115:18 162:11     friend 25:21 26:3     79:20,23,23       86:19 129:14      give 28:18 38:9
  186:19              37:13 39:10         80:13 89:5,23     129:15              53:22 56:18
fork 36:8,13          42:23,24            89:25 91:9 92:8 generic 173:8         60:16 62:13,20
  77:25             friends 15:5          92:12 96:14,17    174:16              73:22,23,24
forks 36:15           42:22 165:8         104:8 182:22    gentleman 5:3         85:6 104:5,6
form 51:18 59:9       182:17            Garrett's 90:6    Gerholdt 1:6          151:8 193:22
  59:12 62:8        front 40:19,21      gas 43:17,19,23     4:12 112:13         194:22
  64:14 88:15,18      47:24 56:19         172:25 174:10     114:8,13 115:5    given 31:4 76:1
  90:8,24 92:1,22     58:14 105:16      Gasconade 65:2      115:7,14            82:9 88:20
  93:19 112:18        109:1,4 113:19      65:13 66:5,7,14   116:11 117:5        89:14,15 155:4
  113:1 148:23        114:13 116:14       66:16,20 67:1     117:14,16,19        195:17
  149:12 150:5        117:21 120:2,4      81:1,4            117:22 118:4      gives 74:14
  181:17              127:12 131:22     gate 95:1,3         118:14,19         giving 30:23 39:8
formally 4:8          144:11,11,11        113:17,19,20      119:1,3 140:22      98:1 151:19
former 68:3,4         146:1,8 154:16      126:10,13         141:25 142:14     Gladiator 15:20
  102:14              163:8               127:12 133:14     143:17 144:9        15:21 19:1
forms 20:15         fuel 107:8            133:20 135:21     144:14 145:6        143:4,9
  67:13 101:15      fulfill 104:7         137:9,22,25       145:24 146:9      go 22:25 47:23
forth 197:12        full 86:8             138:3,16          146:13,21           49:17 50:23
forward 168:13      function 72:24        143:10,11,12      147:2,25 150:2      51:10 54:3,4,6
  174:11            functional 114:3      143:12 155:21     150:12,25           68:24 83:5
four 9:3 74:16        190:14,16,18        155:21 190:4      151:10 152:17       97:24 102:14

Golkow Litigation Services
Case: 4:23-cv-00133-SRW       Doc. #: 39-10 Filed: 01/11/24         Page: 59 of 76 PageID
                                        #: 874
                                  RAYMOND THOMPSON
                                                                                  Page 208

  103:3 115:5,7     gradually 23:12    handlebars 35:20    79:1 180:10          197:12
  115:23,25         grass 135:13,17     43:14 45:5        Harley's 48:15      Hi 94:25
  116:19 121:19       135:18,22         67:15 68:18       Harley-Davids...    hidden 68:21
  123:11 125:14       136:23,25         69:14 72:3,13      15:23,24,25          70:15,15
  126:3 133:10      great 44:25 47:2    75:5,21 166:11     16:1,8 20:20       high 12:20 13:10
  133:17,19           47:4 161:5        166:22             21:24 22:21          41:21 46:24
  139:14 144:22     green 83:11 99:1   handles 126:14      36:19 48:9         Highway 28:7
  145:10 153:5        100:20           hands 167:10        143:5 164:15         47:8,8 49:11
  154:18,20         greet 140:15       handwriting 32:2   Harley-Davids...      53:17 54:15
  155:21 162:18     Greg 2:13 160:19    32:8,11 34:1,5     40:20 41:6           55:13
  176:18 185:2,8      162:12,18         34:9 133:2,4       179:4              Hills 158:1
  187:5 188:5,13      163:23 167:5      135:2             Harleys 69:6        hip 71:2
  191:7,13,24         170:16 183:4     handwriting's       179:5              hired 104:8
goes 11:21            187:1 194:23      50:13             harness 35:20       history 64:21
  116:20 156:3      greg@marguli...    hang 123:16         44:10                80:23
going 17:11,12        2:13             hanging 186:13     hasp 138:4,4,5,7    hit 67:14 72:2,6,9
  20:25 21:21       ground 4:24         193:20             190:25 191:1         72:14,15,18
  34:4 54:21          12:22 108:22     hangs 138:12       haul 104:8            131:13 168:8
  58:25 69:16,19    groups 181:10,16   happen 6:3         hauling 100:1,3,4   hitting 69:13
  72:7 76:16 81:1   guess 12:20        happened 54:17     he'll 7:22 155:5    hobbies 181:4,6
  81:25 86:19         17:12 54:2        54:25 55:2        head 166:14         hobby 178:25
  87:25 88:11         65:17 85:11       65:21 93:15       heads 5:10            179:2,6
  89:13 95:1          96:8 110:20       116:17 118:3      hear 6:9 31:16      holding 190:20
  102:17 104:25       122:10 127:18     124:12 141:11      68:7,14 118:17     hole 138:8,12
  105:21 107:9        127:18 128:20     145:5,11           153:24 155:10      home 41:5 46:13
  110:20 115:19       151:1             156:25 157:9       165:18 181:12        47:10 86:16
  116:17 117:24     guessing 140:4      177:17 191:9      heard 4:22            106:3,18 110:6
  119:4,8 136:22      140:22            191:10 192:5       109:21 121:12        110:8,11,24
  139:18 145:11     guesstimate         193:23,23          121:14 122:17        111:24 113:17
  148:10 151:8        22:22            happening           122:20,22            119:21,24
  153:21 154:8,9    guidelines 149:1    186:12 195:7       124:4 147:8          120:8 121:9
  154:11 155:2      guilty 14:12       happens 11:11       154:4                125:19 130:1
  155:22 156:4,5    gun 88:10           72:17             hearing 65:8,23       137:5,15,21
  156:8,13 159:7    guys 144:18,19     happy 12:2,3,8      81:5 147:14          144:11 184:9
  159:7,8 160:19      159:1             33:21 149:25      height 45:6           186:8 190:15
  161:7 162:25                         hard 20:13 23:1    held 29:19            193:7
  163:19 170:12            H            109:2 115:12       104:11             home-type 94:3
  187:5,11          H 3:7 29:11,12      136:21            helmet 108:22,24    homeowner
good 4:6,7 96:8      29:17 34:8        Hardtail 15:25      132:23               115:1
  123:10            hammering           16:5 17:6,10      helmet's 108:21     honest 147:22
Gotcha 24:12         92:18              22:2 143:6,7      help 13:23 29:7       184:5
gotten 102:1        hand 71:1 74:1     Harley 17:24        54:8 86:11,12      Honestly 98:16
  146:4 194:17       133:7 152:1        19:16,24 48:12     125:11 149:16      hour 192:24
government          handed 82:8         63:11,17,21        192:5 195:5,6      hours 12:21
  35:10 89:9,11      117:23 187:25      70:11,24 73:22    Hendrickson 2:9       110:9 182:1
grabbed 184:11      handlebar 72:7      74:11,14,25        167:8              house 19:5
Graceland 94:9       72:18 75:15        75:2 76:5 77:21   hereinbefore          105:15,17

Golkow Litigation Services
Case: 4:23-cv-00133-SRW       Doc. #: 39-10 Filed: 01/11/24           Page: 60 of 76 PageID
                                        #: 875
                                  RAYMOND THOMPSON
                                                                                     Page 209

 110:13,15,18        71:22 72:3,10     information          interrogatory          130:8,10
 114:2,8,10,11       73:3,3,10,17,24     56:12 57:10          102:18,24          Jeff 49:10 53:16
 116:22 117:20       73:25 74:1,21       59:16 149:23         112:9 135:6,12       53:19 54:1,13
 120:2,4,12,16       75:1,12,17,21       151:4,14             136:10               55:10 61:12
 120:18,22,22        76:10,20 92:18      188:14 193:1       interrupt 24:7,13    Jefferson 54:3,5
 121:25 122:1,3      93:11             informed 85:2        Interruption         Jeremiah 10:3,6
 125:1,3 126:2     Illinois 8:4          114:20               11:10 51:22          12:7 32:12 34:1
 129:11 145:24     imaginable 115:2    initial 4:19 86:11   Interstate 47:9        34:5,8 50:12,21
 176:11 183:15     immediately           150:21               47:10                112:12 113:6
 185:20,25           33:8 160:12       initially 30:17      introduced 78:17       145:2 154:15
 186:2,3 192:24    impact 66:10          115:7 118:25         78:20,25 79:13     Jersey 176:20
 193:2 195:13      important 5:4         155:20 156:12        79:24              Jimmy 28:21
houses 8:17,19     impound 160:5,7       187:17             invaded 125:10       job 8:3 12:13
 120:20              160:13 161:18     inoperable 36:21     investigations         40:25
huge 177:4,6         161:18 166:5        36:22                63:17              jobs 111:22
huh 88:17          in-person 33:1,2    insane 116:19        involved 114:21      Joe 160:7
huh-uhs 5:10         80:12             inside 92:11 96:6      143:23             joke 78:14
hundred 39:9       inaccurate 101:1      108:1 140:17       involving 63:13      JOSHUA 1:6
hunt 84:2          inch 21:19 36:19      143:8,11,14,15       63:14              Jude 1:15 2:1
Hunting 181:7        48:19               146:3 195:14       iPhone 101:6           197:3,21
hurry 39:11        incident 8:6 63:8   inspections 36:23    irrelevant 91:1      July 88:4 94:23
husband 158:1        83:19 124:12      install 67:23        issue 59:15 62:6     June 83:1 100:12
hysterical 114:1     125:5 147:2       installed 73:15        129:14 143:21        100:15 101:10
                     148:1 150:4         77:16                157:12             junior 12:20
         I           177:8,13,14       instructed           item 23:18             13:16,18
idea 90:19 99:11   include 85:7          117:13 146:12      items 90:18 95:9     jurisdiction 56:6
  148:10 170:5     included 36:1         158:10               104:15 105:4,7       57:6
  176:1              41:12,25          intact 35:23,24        132:5              jury 65:15
identification       103:18            intend 132:5                              Justin 2:8 77:6
  23:22 26:11      including 81:1      intended 78:13                J             160:6
  29:13 59:1,4     incomplete 30:19    intentional          J 3:8 69:21,22,25    justin@margul...
  69:20,23 82:4    incur 137:2           187:19,20            71:7,9 77:1,1        2:9
  98:5 102:20      INDEX 3:1,3         intentionally        Jack 182:20
  105:22 107:10    Indian 16:2,8         186:23 187:3       jack-of-all-tra...           K
  107:15 123:19    indicated 22:13       187:10 192:14        90:4,11            K 2:8 3:8 82:2,3
  123:21 127:20      68:2 121:11       intentions 101:19    January 79:15         82:7,12,14 83:1
  136:2,4 161:8    Indicating 27:6     interaction 152:5    Jeep 15:20,20,21      102:10 134:23
  161:11 163:3       53:21 66:21         152:10               15:22,22 19:1,3     134:25
  163:20,22          126:22 170:2      interest 178:24        19:3 109:1,2,5     keep 11:2 16:11
  167:1,3 170:12   indifference          179:1                127:1,2,11,11       19:4 113:20
  170:15             187:5 193:14      interested 85:21       128:8,10,10,11      126:13
identified 59:12   individual 26:6       85:24 86:1           128:23 131:21      keeps 138:12
idiots 144:3         40:22 64:8 99:9     179:11 197:17        131:22,25          Kelly 7:20,24 8:7
ignition 44:6        163:24 164:10     INTERROGA...           132:8 133:6,12     kennel 126:6
  67:7,7,14 68:3   individuals           3:1                  133:13 134:4,7     kennelled 126:4
  68:13,17,19        111:24            interrogatories        135:21 143:4,4     kept 55:15 58:18
  69:13 70:3       influence 5:21        102:23 112:16      Jeeps 18:25          Kevin 7:20


Golkow Litigation Services
Case: 4:23-cv-00133-SRW      Doc. #: 39-10 Filed: 01/11/24        Page: 61 of 76 PageID
                                       #: 876
                                 RAYMOND THOMPSON
                                                                                Page 210

key 67:15 69:15     20:6 21:4,6,11     116:3,19           110:24 112:3       98:23 110:15
  73:22,23,24       21:24 22:7,16      118:23 120:7       147:24             110:18 114:10
  74:6,14,18,20     22:20 23:4,6       122:8 124:6,7                         116:10,24,24
  74:20 75:1,19     25:24 26:1         124:21 125:7               L          116:25,25
  76:1,3,7,9,18     28:10 29:3,8,9     125:22 126:15     L 3:9 60:2 98:3,4   117:8,18
  78:1,7 138:18     30:18 31:19        127:10 128:4        98:8,18,20        120:12,13,18
  138:19            32:11 38:8,19      131:4,9 132:6,9     100:11 102:10     125:18 126:9
Keye 28:21 29:19    38:19 39:1,13      137:25 138:5,5    labor 39:6,14       133:10,11
  30:5,15,21,25     39:18,21 40:24     140:16,19           42:10             137:8,10,11
  31:2,6,10,22,25   41:3,3,9 42:22     141:4,11,20       lack 75:22          138:1,2 140:12
Keye's 28:24        43:2 44:4,6,9      143:20,24           154:25            143:3 145:17
  29:22             44:22,23 45:1,2    145:3,7,9,12      ladders 95:20       158:7,9 169:22
keyhole 75:23       46:8,9,23 47:12    146:20,23,24      Lake 8:22           169:22 171:24
keyless 67:11       47:14 48:4         147:1 148:7,7     Lambson 160:7       171:24 176:11
keys 74:19          50:16 51:7,20      148:14,25,25      largest 59:24       184:16,22
kicked 54:24        55:6,22 56:14      149:1,2,3,4,4     laser 45:8          186:9,13
  190:9             56:21 58:9         150:2,3,10        late 121:10,12      187:18 191:14
kid 20:14 180:1     61:23 62:1,20      152:3 153:6,8       159:25            193:20 195:7
killers 195:11      62:22,25 63:2,6    153:16 155:22     law 57:13 63:24   left-hand 60:4
Kimberly 10:4,5     63:10,15,16        156:1 158:25        114:21 139:23   legal 16:21,22,23
  10:6,8,8          64:8,22 65:8,18    159:1 160:9,22      143:22 153:17     17:2,4,7 45:17
kind 12:8 15:13     65:21 67:19        162:13,21           157:13,14,18      63:12 187:12
  27:12 39:10       69:6 70:17,18      164:10,13,25        159:15            191:5 192:19
  60:4 67:3 70:15   73:1,3,8,9 74:2    167:12,24         lawn 136:13         193:15 195:2
  70:18,21 71:1     74:5,7,16 77:10    168:19,22         lawsuit 14:10     let's 29:11 70:23
  82:13 92:21       78:3,16,25 79:9    169:9 170:4,6,9     18:3 20:16 51:2   78:16 87:9
  93:13 95:10       79:12,12,14,15     173:6,7,11,22       63:10,15 70:5     118:9 127:14
  119:5 120:20      80:15,18 81:18     173:25 174:17       87:4 91:2,4,6     127:25 154:18
  125:14,15         86:7,14,16 87:5    174:19,21           94:8 101:16     letter 50:22,24
  127:10 130:11     87:6,19,22 88:2    175:12,14,21      lawsuits 149:7      124:2,9
  132:16 141:3      88:14,22 90:2      175:25 176:16     lawyer 155:3      letters 66:14
kinds 180:22        90:13,17,23        176:17,18,24      lawyers 6:4         104:24
Kirkwood            91:4,7,8,10,13     177:4,5 179:10    learn 26:6 159:23 letting 97:23
  116:21            91:17,25 92:8      180:11,24,25        179:23          level 21:8,10,25
knees 21:4,4        92:10,13,21        181:7 182:5,12    learned 60:15     levels 128:21
  23:11 47:1        93:11 94:13        183:22,24,25        160:3 180:1     lever 71:19
knew 39:11          95:24 96:9,16      184:8,13          leash 146:1       liable 93:15
  57:10 79:20,23    97:17,23,25        185:12,21         leave 95:1 110:10 license 35:10
  82:21 111:13      98:9,9,14,16       186:15,20           110:13 115:16     47:20 49:16
  147:25 148:4      99:8,9,12,15,18    187:20,25           124:4 144:16      53:22 54:1,3,7
knocked 151:7       99:18,22,25        189:2,4,5,12,13     158:17,17         180:3 194:11
know 6:6,10,13      100:6 103:9        189:18,19         leaving 184:25      194:13
  6:24 11:3,7,14    107:11,25          190:12,17           185:10,11       licensed 17:2
  11:18,19 12:17    108:2 110:18       192:5 194:7         186:13 191:21     51:13 52:8
  12:18,24 13:12    111:20 113:4       195:8,9,9,10,11     192:4           licensing 54:7
  15:4,6 16:17,18   114:23 115:3,5    knowledge 8:7      left 27:10 59:11  lied 184:6 185:14
  17:22 18:12       115:10,17,18       14:22 92:7          71:13 95:3        185:17,18,19

Golkow Litigation Services
Case: 4:23-cv-00133-SRW         Doc. #: 39-10 Filed: 01/11/24       Page: 62 of 76 PageID
                                          #: 877
                                    RAYMOND THOMPSON
                                                                                  Page 211

lien 28:21,22,24       44:24 46:5,5        114:24 143:19   March 18:19        materials 93:9
   29:4,22 30:6      location 77:19,22     182:13           19:6,15,19        matter 115:15,23
   32:10 34:22       lock 73:2,2 76:10   lots 15:4,5 35:17  27:16,19 30:9,9    117:6 144:2,6
   94:15               95:3 138:8,10       44:5 45:10,10    30:14 31:6         144:17 146:15
lienholders 28:20      190:22              86:6 90:4 166:2  32:21 34:12,14     149:16 184:19
liens 28:17,17,18    locked 73:10          166:23 168:6     35:12 51:24        184:22 185:9
   29:18 30:16,24      75:20               180:12 182:22    79:5,6 80:8,9      185:12 186:11
   84:22 85:1,2,4    locking 75:18       loud 5:9 121:17    81:11 160:1,1,1    186:12 187:18
   85:5,5,7,9,13       76:20 138:3       Louis 2:3,7,16     160:1,2            191:10,12,20
life 20:12 80:24     locks 78:1            7:8 46:1 50:6   Margulis 2:6,11     192:4,7 193:19
lift 70:16 71:4      lofts 95:20,21        139:1           Maria 114:3        McKenzie 186:6
   138:15 190:20     long 7:12 9:1       low 15:24 21:2,3   119:25 121:3,7    McKinney
limited 21:15          17:9,9,19 23:6      21:16 41:21      122:13 123:1       156:21
   180:25              23:8 33:24          46:24 77:10      123:14 124:2      mean 11:7 12:17
Line 199:3,6,9,12      44:23 64:21       lumber 95:5,18     124:23 125:6       13:23 16:19
   199:15,18           124:10              95:19,19,22      139:15,20,21       18:20 19:11
lines 27:4,7         longer 97:24          96:21            139:22 140:6       22:24,25 23:11
literally 87:4         125:25 166:22                        140:16             45:15 48:17
   91:6                193:18                    M         Marie 7:18          50:16 51:9 53:8
little 15:13 43:2    look 27:4 37:19     M 3:9 102:18,19 mark 29:10,11         65:9 67:10
   44:20 78:11         59:2 60:4 73:2      112:6            81:25 98:2         68:24 73:2 84:1
   96:13 109:9,9       77:9,10,11        Mackenzie 147:6    102:17 127:17      87:21 89:9 94:2
   175:19 179:20       80:13 82:11         150:3            160:19 162:20      95:17 101:3
   181:7               105:24 126:18     mad 146:14         170:12             124:11 125:9
live 10:5,9,20         127:23 133:6        147:20          marked 23:22,25     131:6 141:18
   41:7 120:10,14      139:5 194:13      Madeline 91:16     26:11 29:13        143:20 146:17
lived 7:12,16        looked 23:6,8         91:20            58:25 59:4         146:19,20,25
   55:1                136:18 194:11     mail 33:1          69:20,23 82:4      147:22 157:25
lives 10:6,7,7       looking 25:9,22     maintenance        98:5 102:20        176:12,23
   45:24 116:21        25:23 44:24         12:11            105:22 107:9       177:5,13,14
living 10:16           76:25 82:25       making 40:16       107:15 123:18      179:3 180:10
LLC 2:15               108:6,25 111:4      90:21 132:22     123:21 127:20      182:5 183:24
load 89:21             146:11 169:6        180:23           136:1,4 161:8      184:13,25
loaded 33:15           172:25            manage 12:14       161:11 162:15      185:11,22
loaders 90:11        looks 59:11 83:1    Manchester 7:6     162:18 163:1,3     187:19,20,24
locally 22:23          83:6,13 94:23       31:14,18 46:1    163:19,22          188:7,12 190:3
locate 22:14,15        95:25 96:9          57:24 60:19      166:25 167:3       191:20 194:8
   23:3,13,14          97:13 99:5          64:23 113:24     170:15             195:4
   41:21 46:5 52:4     100:11 128:7        114:6,7 116:6   market 176:16      meaning 165:20
   149:24 159:20       132:16              138:24 139:3,7 marking 82:1        means 67:11
   159:22            loss 176:21 177:1     139:8,18 140:5   107:22 108:1,2     83:14 101:3
located 8:18           177:5,6             145:15,21        108:14            meant 11:15
   26:22 70:10,18    lost 49:4 53:10       150:23,24       markings 132:21    mechanic 13:22
   70:19 71:5 73:1     114:24              151:12,23       married 9:12        13:24,25 14:5
   81:21 105:14      lot 4:25 7:22         164:8 183:18     123:5              33:14,14,17
   109:4               22:11 28:10,12      185:21 186:16   Mary 10:19          37:1,6 42:25
locating 23:1          33:7 44:4 56:12     192:22          material 33:16      160:17 166:7

Golkow Litigation Services
Case: 4:23-cv-00133-SRW       Doc. #: 39-10 Filed: 01/11/24         Page: 63 of 76 PageID
                                        #: 878
                                  RAYMOND THOMPSON
                                                                                Page 212

 169:8 170:25       146:8 147:4,6      moment 101:22       143:5,6 145:18    107:12,13,14
 181:2              160:7,17           money 31:4          146:13 148:6      107:18 108:5
mechanical         middle 4:19,20       60:17 62:14,20     152:20 153:1      111:4,9 126:17
 43:25 44:2         162:1               84:19,20           153:10 154:10     128:11,16,18
mechanism          million 194:12,16   months 40:4         156:2 158:14      128:19
 72:25 75:18       mind 92:3 93:21      80:19,20 86:10     158:18,21        N.W 2:11
 76:20 138:3        101:23 150:7        89:15,16           159:20,22,23     name 4:11,15,20
mechanisms         mine 23:7 25:21     morning 4:6,7       160:4,8,12        9:16 26:3,5,6,8
 72:22 77:24        37:13 58:17         110:9,15           162:9 163:15      33:17 37:15,16
media 177:7,10      96:9 117:2          137:12 145:3       164:8,14          37:25 40:22
medication 5:24     128:5               145:10             165:22 167:14     41:2,3 64:8
medicine 5:21      minor 178:25        motion 167:8        168:9 171:1,22    82:20 87:15
meet 33:3          minute 128:19       motive 187:4        172:1,22 174:8    91:14,16,17
meeting 86:18      minutes 116:21       192:18 193:4       174:23 176:10     99:7,9,12
memory 5:22         140:4 145:13        193:11             176:22 177:1,3    130:20 148:12
mention 12:23       190:1              motives 187:21      178:3,9,18        148:14 178:9
 109:12            misdemeanor         motor 21:20,22      179:19 180:2,9    178:13
mentioned 9:22      14:13               41:14 42:8,21      184:18 185:1     names 10:18 53:4
 15:13 16:7        missing 30:19        49:16 51:8,10      186:6 190:6       99:22 147:19
 17:20,24 18:2      35:18,19 36:2,5     51:16 53:1 54:4   motorcycle-rel...  156:20 182:19
 35:15 37:6         43:18 166:1,2       186:4              181:9,15         narrow 131:10
 41:24 43:3 44:9    166:10,14          motorcycle 14:16   motorcycles       Nathan 24:4 26:8
 44:16 61:13       Missouri 1:1 2:3     14:19,25 15:8      14:21 15:3,4,5    26:17 28:1,10
 69:5 119:23        7:7 8:21,24         15:10,25 17:17     15:6,14 16:2,8    30:6,17,23,23
 120:1 147:19       10:5,6,7,10,21      18:2 20:23 24:5    17:8,20 20:8,11   30:24 31:14,18
 153:20 175:20      13:17 26:1 28:5     25:12,14,20,22     21:12 37:14,24    32:17 35:9
message 79:19       28:21,22 29:19      26:7,18 31:15      38:1 40:25        45:16 46:10
 81:23 82:25        35:11 37:23         31:19 32:9 33:9    48:19 79:23       49:3,3,6,24
 83:7 90:20         41:8 50:7 53:17     36:6,13,20 37:8    121:14 131:10     53:10 55:1,6
 92:17 94:25        54:15 55:13         39:3,24 40:10      178:25 179:7      56:4 57:10,24
 96:19 98:14,21     59:12 61:18         40:16 41:15        179:12,17,23      57:25 60:2 61:1
 100:15,20,21       83:22 86:3          42:16 50:1,4       181:8,25          62:21 63:2,7,25
 101:10             149:11 160:6        60:14,18 64:25    mouth 9:4          64:6,12 65:1
messages 83:10      171:13 178:4        67:12 70:13       move 77:18 87:9    66:8,23 68:1
 83:11 86:22       Missouri's 29:4      74:8 79:1,22       93:14 94:3        78:12,17,20,23
 90:6 96:20        misunderstand        83:19 85:24        127:10,16         80:23 82:15,17
 98:12,17,24        103:22              87:18 108:16      moved 94:6         82:22,22 83:18
 99:1,2,23         MO 2:7,16            113:23 114:15      167:7             90:21 91:5,13
 100:12 102:11     mobile 94:3          114:19,24         moving 36:24       91:20,23 92:18
 102:15 103:5,5    model 21:1,3,17      115:4,10           130:11            93:2,6,13,24
 103:6,13,18        22:2 23:15          116:10,18         mowed 137:1        94:25 96:13
met 4:8,12 30:22    44:23 48:15,19      117:2 121:9,12    Mullins 99:25      97:6,20,23
 30:25 56:11        48:24               122:18 124:4       100:1,1           98:18 99:12,21
 57:9 79:10 80:1   models 16:2 22:3     125:10 129:25     multiple 178:20    102:4,12 103:1
 80:12,23,25        48:20               136:13 137:6                         103:4,10,25
 87:24 91:19,20    modern 78:6          139:13 141:6              N          142:6 143:18
 114:14 141:3      modified 21:3        141:17 142:8      N 3:10 47:8 82:17  146:13 147:11

Golkow Litigation Services
Case: 4:23-cv-00133-SRW        Doc. #: 39-10 Filed: 01/11/24       Page: 64 of 76 PageID
                                         #: 879
                                   RAYMOND THOMPSON
                                                                                 Page 213

 147:14,20,25         76:1,3,9,11,13     177:5 178:1       61:24 62:2 63:8     146:12,12,21
 148:16,22            76:18,23 79:24     194:6,12,14,17    75:17 103:3,11      150:12,15,25
 149:8,23 150:4       86:13 92:11,20    numerous 16:1,7    103:14 105:10       151:10,10,11
 158:21 159:20        101:23 119:1,2     19:12 22:1 39:7   106:23 108:18       152:14,17,18
 159:22 164:12        138:10 147:3,3     43:14 45:4        110:1,4,6,9,19      153:5,20
 165:8 168:24         147:12,19          53:15 54:19       111:13,15           155:16,18
 170:7 178:12         150:17,20          145:21            119:15,21           158:6,7,10,10
Nathan's 99:20        155:20 178:8                         124:13 125:18       158:16,17,18
 157:2              new 17:17 60:15             O          126:12 129:18       158:24 159:5
Nathans 82:19         60:16 62:13       O 3:10 47:8        136:14 137:5,8      163:14,15
nature 11:21          104:4 166:3,11      123:19,20,24     137:19 148:20       178:23 182:25
 31:9 55:25           176:19 180:13       132:17           152:13 164:20       186:4,17,22
 60:10 62:12        night 8:2 11:3      oath 6:15 66:1     168:25 170:10       187:9 188:3
near 28:8 61:20       110:17 121:12     object 64:14       173:17 174:4        191:3,19
 86:3 120:20,24       121:15 145:21       86:20 90:24      174:24 175:16       192:14,18
 160:5 168:13         151:16 154:10       92:1 112:18,25   176:10 177:1        193:14 194:9
neat 86:4             163:14,14           150:5 151:24     178:22 194:2        194:10,19
need 12:24 43:11      183:16,22           181:17 187:11  off-road 16:20        195:1
 54:15 71:21          184:5,10          objection 51:18    17:3              officers 4:12 55:8
 74:5,7 76:23         187:25 188:1        88:15,18 90:8  offensive 11:16       56:11 81:8
 78:6,7 82:7,11       188:14,15           92:22 93:19    offered 65:5          116:10 118:8
 114:15 116:8,9       193:3               148:23 155:7     90:12 117:5         140:25 141:21
 117:7 138:18       Noce 2:15             183:9 189:9      143:25 187:16       145:17,18
 138:19,20          normal 74:15          191:5 192:19     192:25 195:5        146:14 147:1
 139:2,12             90:6 131:9          193:15 194:23  offhand 42:7          147:25 150:2
 145:16,18,22         192:24              195:2            63:1 85:17          153:17 154:14
 149:15 188:13      normally 105:11     observed 113:2   office 49:17          156:12,15,24
 188:17 191:12        113:18,20         obsession 178:25   53:22 54:1,3        158:4 159:11
needed 38:9,9,21      121:13 126:12     obtain 180:5       55:17,23 56:10      163:17 184:2
 43:13,13,14,15       126:13 127:4,7    obtained 131:24    66:11 83:14         184:15 185:14
 44:3,6 46:6        Notary 198:22         132:2            87:20,21,23,24      185:17 187:3
 76:11,13 189:2     Notice 2:1          obtaining 143:23   89:11 110:17        188:21 193:25
negligent 194:19    noticed 86:2        obviously 149:2    171:15,16         offices 89:9
 195:1                113:17,19,22        155:2 187:19   officer 53:20,20    oh 13:10 27:7,16
negotiating 80:20     113:25            occasionally       56:14,15 57:9       60:6 129:16
neighbor 123:10     notices 104:25        13:23 45:19      57:13 102:23        152:2 167:24
 139:15 182:1       November 135:7      occupation 89:25   112:16 114:7,8      168:1 188:11
 194:15               136:15            occur 58:7         114:13 115:7        196:1
neighbor's 114:1    now-15-year-old     occurred 8:6       115:14 116:11     oil 107:6,7
 119:24 135:25        184:9               58:9,10 173:9    116:13 117:8        180:24
neighbors 114:10    now-husband           175:14           117:13,13,15      okay 5:2 6:25 7:1
 123:13 139:18        124:3             October 7:25       117:16,18,22        9:8 11:3,11,13
neither 111:23      number 24:16,19       8:10,12 10:11    118:4,19            11:19,22,23
 115:8 197:13         35:1 60:19 76:6     10:23 11:5       139:23 140:3        18:5 19:18
 197:15               102:24 105:23       18:18,18 19:6    140:19 141:25       21:13,18,23
nephew 177:15         112:9 136:10        19:15,19 57:16   142:9,12            22:16 24:12,14
never 75:19,19        139:5,6 176:25      57:21,22 61:21   143:17 146:2,5      27:18 30:3

Golkow Litigation Services
Case: 4:23-cv-00133-SRW        Doc. #: 39-10 Filed: 01/11/24        Page: 65 of 76 PageID
                                         #: 880
                                   RAYMOND THOMPSON
                                                                                  Page 214

  32:13 35:6        ongoing 143:21       58:4,13 61:8       39:13,18 41:11    Parkfield 120:16
  46:16 49:21         143:21 157:12      62:10 153:3,7      41:14 50:1,3      parking 28:10,12
  67:5 69:1,9       oops 29:10           153:11 159:16      51:4 62:14 85:7    33:7 56:12
  70:20,25 71:12    open 95:1 113:17     159:18 160:6       85:8,16 89:5,20    129:19
  74:9 75:9 76:15     113:19 126:10      165:6              91:9 92:7,12      part 36:8 87:18
  76:17,22 78:22      137:22,25         owned 8:15 9:1      101:14 149:2,2     90:6 168:9
  80:6,14 85:4,10     138:2,15           17:9,19 20:12      160:14 161:18      171:22 172:1
  86:25 93:1 94:1   opened 190:4,5       95:10              161:20             172:22 174:8
  94:7 97:1           190:11,12         owner 12:17        paint 39:20,20      175:10 186:19
  100:22 103:24     opening 138:13       16:14 17:13,16     40:18 41:15,17     193:18
  104:10,23         operational          25:12              41:18,23,25       participants
  106:19 108:4,8      18:21 39:25       ownership 47:21     42:5,11,20         148:5
  108:10,12           40:11,16 42:16     192:9              133:3 166:3,24    participating
  109:6 111:11        43:16 45:13       owning 15:14        169:20 171:8,9     155:4
  112:1 113:13        166:4 175:20      owns 90:2           171:21 172:6      particular 26:23
  113:16,16         opportunity                             172:19 173:3       69:7,8,10
  121:2 124:15        45:14 87:6 98:7            P          173:15 174:13     particularly
  125:13,17,23      opposed 25:18       P 3:11 127:18,19    175:7              179:4
  126:22,25         opposite 144:13       127:24 130:16    painted 40:18      parties 154:25
  127:14 128:6      order 73:4            130:25            52:5 96:5 169:2    197:15
  128:15 129:1,3    original 17:13,16   p.m 196:5           169:5             parts 15:4 22:15
  129:4,22 130:3      22:10 73:9        packet 81:25       panicked 116:2      33:16 36:25
  130:15 132:15       117:12 151:3,9      98:2              141:10             38:9,17,21,24
  133:5 138:7         187:22,23         page 3:2,4,5,5,6,6 panicking 114:1     39:1,19,20
  142:22 147:23       188:13              3:7,7,8,8,9,9,10 paper 56:23         41:12 42:10
  152:2 154:17      originally 84:25      3:10,11,11,12    paperwork 18:16     43:14,18 45:4
  154:19 155:13       117:7 138:25        3:12,13,13,14     52:8 54:21         45:11 46:6,8
  156:17 161:1,3      142:13 154:7        3:14,15,15,16     55:11,14,18        52:4 109:24
  161:5 162:16        186:5               3:16,17,17,18     86:17 114:22       166:1,1,10
  163:25 167:11     originals 56:21       3:18,19,19 24:9   115:20 117:3      party 92:3 93:21
  167:15 169:12       58:16 151:18        24:9,11 47:24     117:10,12          150:7
  170:3,18 174:6      151:20 152:1        59:25 82:1 88:7   146:4,6,11        passed 99:14,15
  181:22 183:14       188:17 189:1        91:23 93:13       187:23 191:11     passenger 74:15
  188:11 192:1      out-of-state 7:22     97:15 99:4        192:8             Patrol 49:11
  193:9 195:25      outrageously          100:18 102:24    parents 10:16,22    53:17 54:16
old 21:5 47:8,9       187:4 191:4         103:2 112:10      16:12 157:22       55:13
  86:8 93:2           192:12              112:11 134:1      182:13            pavement 133:3
  179:14,15         outright 94:18        136:6 165:12     parents' 45:25     pay 28:16,17
on-road 17:3        outside 49:25         177:16,20         46:13              35:7 38:4,7,12
once 28:18 43:24      80:16 106:25        198:7 199:3,6,9 park 72:11 129:9     63:3 85:13
  45:22,22,22,23      111:12 140:9        199:12,15,18      171:13             87:15 90:15
  52:6 65:17 93:4     143:11,12         pages 24:11        parked 108:17       100:17 101:13
  140:18 160:3        161:24              94:24 95:24,24    127:5,7,8          101:18 103:20
  177:16 186:9      Owensville 49:12      198:4             129:23 130:12      160:14
one's 91:17           53:18 54:25       paid 30:5,15,24     130:12 132:24     paying 84:22
  107:12              55:1,3 56:7,17      32:10 34:22       144:10,12,14       101:20
ones 17:4             57:1,7,9,13         35:11 38:8 39:6 Parker 8:21         payment 32:9

Golkow Litigation Services
Case: 4:23-cv-00133-SRW        Doc. #: 39-10 Filed: 01/11/24          Page: 66 of 76 PageID
                                         #: 881
                                   RAYMOND THOMPSON
                                                                                    Page 215

 86:12                119:22 139:5,6     163:8,23 164:7     plus 42:11          Possibly 53:8
payments 38:5         139:11 150:24      165:6 168:8,15     PNC 33:7            posted 165:1,2,3
 39:7 66:22           153:16 163:10      168:17,20,23       pocket 67:17         165:14
pays 60:17            163:11 178:21      177:14             point 6:4 12:24     posts 177:7,10
pedals 45:5           185:20 187:15    pictures 127:11        39:8,24 52:15     potentially
pegs 169:23           194:6,12,14,17     167:21,22            89:18 103:3        189:17
 174:11             phones 102:14        170:24 188:23        136:11 139:23     potty 126:3
pending 13:2        photo 77:5,12        189:4,6              139:25 140:1      potty-trained
people 53:9,14,15     97:17 126:20     piece 36:10,11         140:18 141:9       126:8
 57:25 114:18         133:3,4 136:12     56:23 68:12          141:12            Powerscourt
 114:18 145:7         136:15 163:9     pieces 23:14         police 49:13         2:15
 146:20 156:20        163:13 164:11      25:25 26:7           53:18 55:3,22     prefab 94:5
 183:22,23            165:1,14 169:7     30:18,19,19          57:24 60:19        95:23
 189:17,17            169:25 178:23      33:12,13 35:16       61:8,8 62:11      preliminary
 195:10             photograph           35:17,21 36:2        64:24 81:8 93:5    65:23 147:13
percent 7:19          95:25 96:2         36:12 43:4 45:1      93:10 95:15       prepare 6:20
Peres 49:18,20        97:14 99:4         68:2                 96:4 97:2 98:1    present 8:8 118:8
 53:22 54:7,7         106:5,8 107:23   pin 138:8,11,12        113:24 115:23      118:15 154:13
 61:10                108:25 111:4       138:15               115:24 116:7       158:4,8
period 104:15         131:20 134:17    pinstripe 172:15       116:17 117:22     pretend 70:24
periodically 7:23     134:21,24        place 28:4,9           117:23 118:2      pretty 14:22
 38:8 111:20          162:13 164:14      94:19 155:2          122:7 125:9        44:25 124:6,11
 159:21               169:16 172:23      176:25 197:12        139:1,3 140:11    previously 68:13
permission 110:3      173:2,14 174:9   places 39:4 86:3       140:13,15,18      price 28:13 34:16
 112:3                174:12 175:5       94:4 130:11,12       140:19 141:15      80:21 85:15
permit 180:6        photographs        plaintiff 1:4 2:6      144:22 145:6      primary 7:4,10
person 80:1           135:6,10,15        14:9 112:13          145:16 146:24      36:4
 89:23 112:2          167:6 171:10       136:12 167:6         150:24 153:3      print 124:10
 138:15               171:12 173:23    plaintiff's 105:22     153:11 159:16     prior 30:22 81:11
person's 37:15        174:1 176:7        111:5 178:4          164:9 165:7        81:18 89:15
 78:18                177:22           plaintiffs 161:4       185:2,7 191:13     94:21 104:18
personal 50:3       photos 114:11        162:15               191:24             104:19,21,22
 51:4 85:5 87:15      136:17,22        plate 194:11         polite 152:7,11      110:14 122:25
 116:4 176:13         151:15 167:13    plates 45:17           153:14             126:12 129:18
pertaining 14:1       170:17 177:19      47:20 49:7         porch 117:21         147:2,25 150:4
 31:13 98:10        physical 24:19       194:13               146:1 154:16       168:25 170:9
 149:22               78:7             pleasant 152:4         158:25 163:8       173:17 174:3
pertains 87:17      physically 46:14   please 13:2 60:18    portion 175:9        177:14 197:5
Pesticide 13:13     piano 90:22 91:7     95:5 132:14        position 12:3       privacy 125:10
ph 147:4 160:7        91:10              178:2 182:24         25:3,11           privately 38:1
 182:20             pick 160:7           183:6 186:21       possess 13:6        probably 4:23
Phillips 37:18      picked 33:13         187:8 191:2        possessed 76:18      6:3 12:20 16:3
 99:8,10 100:6        99:23 162:9        192:17 193:13      possession 33:9      16:9 19:11,21
phone 37:19         picture 77:6         194:18,25            34:13 51:16        23:11 39:17,23
 52:13 54:6 77:6      96:11 98:1         196:4                77:15,20 177:2     41:14 42:20
 82:20 101:4,7        127:13,13        pleasure 19:23       possible 184:14      65:24 80:20
 102:15 119:22        136:20 162:21    pled 14:12             189:7              85:11,17

Golkow Litigation Services
Case: 4:23-cv-00133-SRW      Doc. #: 39-10 Filed: 01/11/24        Page: 67 of 76 PageID
                                       #: 882
                                 RAYMOND THOMPSON
                                                                                Page 216

 124:14 148:16      136:14 139:13     punitive 187:2      11:17,18 13:2,2   really 160:23
 157:25 159:3       142:15 144:20     puppy 113:20,21     51:19 64:15         182:5 188:9
 171:11 179:13      145:8,8 146:19     125:24,25          88:16,19 90:9     realtor 89:1
 180:17             146:21 155:23      126:1,3 130:17     90:25 92:2,23     rear 128:2
problem 113:3       183:16,23,23       130:18 146:1       93:20 103:22        131:18 169:14
proceeding 63:12    184:12 185:13     purchase 16:18      112:19 113:1        169:23 171:25
proceedings         185:18 187:16      18:14 28:1         147:22 148:24       172:3 175:3,3
 197:10             189:14,17,18       34:16 35:16        150:6 168:2       reason 5:16 21:5
process 30:11,13    190:2 193:2,3,8    40:4,9 60:16       179:22              24:22 46:24
 143:13 177:22      195:4,9,11         79:4,6 83:18,20   questioned 154:9     88:3 100:25
produce 178:2      prosecuted 65:2     84:10 85:23       questioning          141:14 193:10
produced 21:25     prosecuting         97:4               186:10              194:2,5,18
 22:1,5,8,21        54:23 55:20       purchased 18:17    questions 52:23      199:5,8,11,14
 51:2 70:4 86:21    56:3,10 65:14      24:5 26:18         65:20 119:9         199:17,20
 86:23 103:7        66:20,21           27:22 30:18        157:10,12         reasons 182:24
 161:4 167:13      prosecution 57:3    36:14 38:21        158:24 159:6        183:6 186:22
 178:12            prosecutor 57:4     39:1 43:16,18      173:21 187:2        187:9 191:3
Production 178:1    65:20 66:14,17     64:3 67:3,6        195:22,24           192:17 193:13
projects 38:11     prosecutor's        68:1 84:6 92:15   quite 31:16          194:25
 39:12              66:11              94:6,18 180:9                        recall 28:13,24
Proof 32:9         provide 31:20       180:10,11,16              R            49:14 122:21
proper 75:23        32:25 38:15       purchaser 26:24    R 3:12 133:19        122:24 139:10
properties 94:9     42:20 55:18       purchaser's 99:7     197:1              142:15,19
 140:14             58:13 61:17,20    purchasing 30:11   R-A-Y-M-O-N...       152:9 154:6
property 8:16,20    62:5,8 124:20      81:19,19 85:22      4:17               180:5,15
 8:20,21,24 9:1     149:25 151:5,6    purpose 88:1       ran 114:1 184:10   receipt 38:15
 50:3 51:4 64:3     151:8,21          purposes 20:9        194:9              42:20 160:20
 64:5,24 81:20     provided 24:5      pursuant 2:1       random 129:20        161:17
 81:20 83:18,20     26:18 32:22       push 166:7           141:19           receipts 38:18
 83:23,24 84:6      58:16 62:1 66:1   pushed 190:17      ransacked 88:5       42:18
 84:12,13,15,17     66:3,10,16,19     put 9:4 40:18,19   raped 183:25       receive 125:2
 85:1,3,8,22,25     66:25 98:12        40:20 41:15       Ray 10:19 61:3     received 35:13
 86:6,15 87:14      124:3,23 142:6     45:4,7,11,18        93:13 95:6         66:22 75:19
 87:15,15 88:20     143:18 146:7       46:6 65:19,25     Ray's 165:17,19      102:2,4,7
 88:22 89:6,19      151:16 157:1,2     84:1 93:8 95:5    Raymond 1:3,12       124:19 149:10
 91:8 92:5,6        165:6              97:19,21            2:1 4:2,17       recess 58:19
 93:3,5,9 94:6     providing 62:4      114:24 129:11       197:5 198:3,12   reckless 187:5
 95:5,14 97:4,11   proving 117:2       138:11 166:11       199:23             193:14
 97:20,24 104:9    Public 198:22       166:19 173:5      reach 71:5         recognize 24:1,3
 104:16 105:1,4    pull 126:14,15      195:13            read 25:7 35:3       26:13,16,19
 105:6 111:3,10     127:15 161:2      putting 155:1        60:13,23           32:14 59:6
 112:14 114:18     pulled 97:22                            101:10,11          82:12 105:25
 115:16,21          102:1 114:13              Q            135:1 196:2,3      106:2 107:17
 116:4,4,12,18      126:16 135:17     quali 14:24          198:4              107:20 123:23
 120:13 124:5       140:11 164:7      qualifications     real 8:16 97:11      124:1 161:13
 132:25 134:18      164:17 165:5       14:24               104:19             161:16 163:5,7
 134:21,24         pun 78:13          question 6:3,7     realized 137:6       164:3,6,13

Golkow Litigation Services
Case: 4:23-cv-00133-SRW        Doc. #: 39-10 Filed: 01/11/24          Page: 68 of 76 PageID
                                         #: 883
                                   RAYMOND THOMPSON
                                                                                    Page 217

  167:17,20         reflection 171:3      39:8 40:8,13        87:12,20 88:5     repoed 94:20
  170:20,23         refresh 27:21         42:7 44:15 46:4     88:14 91:5 94:8   report 55:22,25
  175:2               29:18 52:10         47:5,7,11,13        96:17 97:6,9        58:22 60:19
recollection          161:22              49:23,25 50:20      98:21,24 99:14      64:2 88:11
  27:21 29:18       refuse 91:9 100:1     51:9 52:1,9         100:16 102:12       93:10 95:15
  39:5 52:11 80:7   refused 187:17        53:6 57:8 58:8      103:1,4,10,25       97:2 114:15
  161:22            regained 177:2        61:22,25 62:3,3     104:14 117:25       117:22,23,23
record 4:16 5:5     regard 31:5           62:7,18 63:1        147:11,14,20        118:2 139:12
  5:11 24:25 25:1     125:12              77:3 78:18          147:25 148:22       141:6
  52:12 105:19      regarding 57:13       79:16 80:16         149:8 150:4       reporter 1:15 2:2
  124:22 127:21       57:23,24 63:17      82:20 84:18         158:12,13           2:2 11:10 51:22
  154:21,23           63:25 147:15        85:17 118:21        159:22 164:12       107:12 197:4,4
  155:9 196:1         149:11 177:8        123:6,8 132:22      165:9 168:24      reports 58:23
recording 119:21      177:11 187:2        135:9 142:2,3       170:7               63:24 64:6
  120:8             regards 57:19         156:10 159:3,4    Rench's 91:13         150:21
recordings            65:21 118:4         159:5 172:11        99:12 142:6       represent 4:11
  178:22            register 49:5,19    remembering           143:18 148:16     representing
records 42:19         51:8,10,17          123:4               178:13              57:25
  148:21 185:21       52:16,25 53:24    removal 86:10       Renegade 128:16     represents 155:1
recovered 152:21      178:8               103:17 105:4      rent 7:14 86:5      request 177:25
  153:2,10          registered 16:14    removals 12:11        176:18              178:1,1 186:16
  159:24 160:4        16:17 48:12,25    remove 84:14        rental 86:3           193:22 195:6
redundant 11:19       49:7 51:13          88:21 89:5        rented 8:16         requested 58:24
refer 60:18           148:12,15,22        92:12 104:15      rents 90:3            88:2 167:23
reference 18:16       178:17              104:25 105:7      repair 14:16        requesting 63:3
  83:17 101:24      registration        removed 73:17         79:22 131:24      required 45:2
referenced 96:20      49:17 178:3         75:18 90:18         132:2               104:5
  135:13 185:14     regularly 182:15      136:13            repaired 43:6,7,9   requiring 63:3
referred 25:15      Reichardt 2:15      removing 90:5         43:10,24 44:3     RESERVED
  25:17 49:10,11    reimbursed          Rench 24:4 26:9       132:5               196:7
  49:12 54:12         38:22               28:2 31:3 32:23   repairs 42:19       reside 111:15
  55:15 57:7 62:4   relating 178:2        33:10 35:9,13       43:11 45:2        residence 7:5,10
  113:23 114:5      relation 99:21        37:10 49:3 56:4     77:19 136:24        8:8 10:11,23
  116:6             relationship          57:10,25 58:1       176:6 180:19        28:9 33:5 38:2
referring 25:5        86:23               60:2 61:1 62:21     180:22              60:18 83:25
  29:24 30:1        relative 197:14       63:2,7,25 64:6    repeat 31:16          106:14 111:5
  55:16 60:3          197:16              64:12 65:1 66:5     181:11 186:24       111:12 112:4
  91:25 92:14       relay 62:24           66:8,23 68:2      repeated 191:15       119:13 126:9
  94:20 95:7        released 160:13       76:3 77:16,21     rephrase 6:12         137:9,19
  113:9,11            160:16              78:12,17,20,24      112:21              142:23 143:3
  132:19 135:16     relevance 181:18      79:10,18,21,22    replace 43:5          145:17 153:22
  137:12 177:13     remainder 34:24       79:25 80:8,10     replaced 43:9         194:1
  178:11              95:2                80:19,23 81:9       44:3,5,7 173:5    resident 183:17
refers 59:20        remember 9:9          81:12,22 82:15      174:14,21           192:22
refinery 8:3          16:3 17:11          82:22 83:6,10     replacements        residential 12:11
reflect 161:20        31:24 33:12         83:13 84:7,10       176:6             resolve 59:15
reflected 27:1        35:21 37:16         85:24 86:24       reply 141:21          62:5 184:21

Golkow Litigation Services
Case: 4:23-cv-00133-SRW         Doc. #: 39-10 Filed: 01/11/24         Page: 69 of 76 PageID
                                          #: 884
                                    RAYMOND THOMPSON
                                                                                    Page 218

respect 15:8 20:1      11:4,6,9,22         58:20 59:5          129:5 134:5       175:7
  63:21 103:17         27:12 34:25         64:19 68:6,8,23   rude 184:3,15,16  scratching 168:6
  149:8 185:16         39:17 42:10         69:16,18,24       rule 12:22        screen 167:6
  192:13               50:18 52:24         78:15 82:5        rules 4:24        screenshotted
respond 139:24         56:19 58:15         86:21 87:1,5,10   run 35:25           165:5
  140:3                59:18,22 70:13      89:7 90:14 91:3   running 74:22     search 41:21
responded 103:5        71:1,2,13,15,20     91:12 92:16,24    rural 83:24         155:23 172:12
  144:21 156:11        73:21 75:10         93:25 98:6                            189:20
  186:5,7              76:21 77:1 78:8     102:21 105:20              S        searched 44:22
response 145:20        78:12 82:10,19      107:11,13,16      S 3:12 128:1        46:24
  149:10,18            83:8 98:13 99:2     108:6,9,11,13       129:5 134:3     season 47:11
  159:6 177:25         106:10 108:23       112:21,22         safe 88:10 146:24 seat 35:20,21
  178:5                109:9,20            113:5,10          safety 74:4         68:21 70:12,16
Responsive 178:5       114:24 115:1,2      123:22 126:20     sale 27:1,19 28:4   70:24 71:5,5,10
rest 35:3 42:22        115:3,10            126:23 127:17       28:9,13,15        71:11 77:7,10
restitution 66:18      116:23,23           127:22 129:15     sales 12:15 50:1  seating 70:23
  66:22                118:24 124:11       129:17 130:24       84:9 87:11      second 21:22
restored 149:3         128:9,22,22         136:5 149:6         103:19            24:8,9 62:12
  175:24 177:16        130:2,13,14         150:1,11          sat 109:17          76:16 116:24
restoring 177:23       133:7,7,25          154:22 155:7      satisfied 28:19     116:25 152:24
retained 3:20          134:2,11 135:8      155:10,13,14      satisfy 30:6,24     154:21 158:3
retrieve 54:22         144:14 147:16       160:19,25         saw 81:2 107:2      163:17,18
  95:9 117:14          147:17 156:2        161:3,6,12          108:20 122:13     189:3
return 110:22          157:11 166:20       162:12,17,22        147:3 189:6     second-to-last
  137:15               167:15 168:7        162:24 163:4      saying 5:4 87:20    97:15
returned 116:12        168:11,13           163:23 164:1,2      112:23 185:24   seconds 77:9
  125:19 137:5         172:3,24            167:5,10,16         188:10 192:4    security 119:12
  137:21 190:15        174:11 175:10       170:16,19           193:19          see 27:9,16 32:4
Revenue 50:13          178:15 190:25       181:13,14,19      says 27:9,19        47:25 60:7,11
  50:15,17 59:13       194:4               181:24 183:4,5      47:25 48:4        69:25 78:16
  61:18 62:5,9       right-hand 99:5       183:11 184:1        59:25 60:10,13    100:23,23
  148:21 149:11      rights 146:18         187:1,7 188:2       61:7 62:13        103:6 106:10
review 7:2 82:6        183:1,8             189:11 191:16       71:21 82:17       109:1 114:10
  98:8               ring 114:2            193:5,24            88:5,11 91:23     114:11,22
rhetorical 147:21      119:17,18           194:22,24           93:13 94:12,25    115:19 117:3,7
rid 86:13,13 89:3      120:1 121:19        195:15 196:1        96:10 99:7,8      117:9,24 124:9
  91:9 92:8          road 8:25 144:13    Robertsville          100:14 113:6      127:25 132:19
ride 15:5 45:14        179:10              10:10,21 16:12      162:1,5           134:4 144:7
  45:19,21 47:5      Robert 1:6            45:25 46:13       scheduling          146:5 159:19
  179:19,23            182:25 183:7        182:13              154:25            159:21 160:22
  181:25 182:6,8     Robertson 2:17      rode 46:19 47:9,9   Schnucks 184:10     162:1,3,19
  182:9,11,15,17       3:2 4:5,11        room 106:13         school 12:20        166:16 167:7
rider 21:2,3,16        11:20 23:23         160:24              13:10             167:12 168:17
ridiculous 63:6        24:10,14,15,25    route 47:7          scratched 166:3     169:24 172:14
riding 20:13           25:2 26:12 27:8   RPR 1:15 197:21       172:14            187:17 191:11
right 4:14 5:12        29:14 35:5        Rubicon 128:8       scratches 131:13    191:13 192:8
  6:5 7:1 8:11 9:5     47:19 51:23         128:13,20           131:21 169:1    seek 22:25

Golkow Litigation Services
Case: 4:23-cv-00133-SRW         Doc. #: 39-10 Filed: 01/11/24          Page: 70 of 76 PageID
                                          #: 885
                                    RAYMOND THOMPSON
                                                                                      Page 219

seen 92:11             40:8 49:5,23      simple 11:2         sought 21:5,7        spouses 9:20
sell 26:2              57:7 101:21         187:15            sound 9:5 65:23      spray 96:5 133:3
seller 60:2,15,16      140:23            single 24:10          135:8              spraying 12:12
  60:17,25 62:13     show 58:25 69:19    sit 148:11          sounds 40:14,14        13:14
selling 85:25          105:21 107:9      sitting 116:14        42:14              sprays 13:13
send 50:19 55:10       117:5 122:7         117:21 145:25     south 120:22         spring 159:25
  55:13 104:24         123:18 136:1        168:12 177:15       182:8              squeeze 131:6,7
sends 96:13            143:25 161:7      situation 50:15     space 90:3             131:12 132:12
sent 50:14 59:10       162:25 163:19       195:14            speak 116:8          squeezed 135:21
  94:25 95:25          166:25 187:16     six 80:25 81:3        121:3,23           SRW 1:5
  96:4 97:14         showed 116:22       sixth 100:18          145:19 183:2       St 2:2,7,16 7:8
  100:15 103:4         116:23 117:4      skills 13:21 14:1   speaking 140:6         46:1 50:6 139:1
  103:13 170:17        117:11 142:7      skull 45:8          special 13:21        stalked 165:12
sentence 62:12       showing 23:24       small 81:15           14:1 21:6 44:18    stand 65:19,25
  101:12               192:9               126:7 175:9         44:19,21           standing 122:6
sentencing 65:18     shown 198:7         Smith 64:9            104:19               142:14
separate 19:13       shut 113:21         snake 166:14        specific 20:25       start 68:16 69:11
  36:11,12 68:12       126:14,16         social 177:7,10       22:13 46:6 56:7      69:12 70:19
  126:15 185:4       shutters 106:11     socially 123:16       64:18 124:6          71:16 72:7 73:4
Sergeant 150:18      siblings 10:2,3     Softail 16:1 17:6     172:16 182:4         73:10 74:7 75:5
serial 195:10          157:24              17:15 22:2        specifically 22:12     75:11,15
serious 145:12       sic 106:23 160:2      180:7,14            44:15 54:25          113:14 121:12
served 15:7          side 60:4 70:13     sold 19:2             57:23 118:19         166:4,8 175:25
service 12:2,4,9       71:13,15 98:23    solutions 145:16      136:10             started 55:3
  33:22 171:17         99:2,5 106:18     solve 52:14         specifics 20:16        75:20 176:2
set 197:12             108:24 120:18     somebody 88:5         125:8                186:10
settled 94:15          126:15 138:1,2      116:9 141:13      speculation 90:9     starter 74:2
Setzer 182:20          144:12,13,14        190:4,5,17          90:25 92:2,23      starting 75:2
shakes 5:9             155:3 168:12      sorry 11:22           93:20 148:24       state 4:15 13:17
shared 7:17            168:13 169:22       13:19 24:7,12       150:8 189:10         23:3 28:22 29:3
  111:17               169:22 172:24       27:16,17 37:21    spell 4:15 33:19       29:19 34:22
SHEET 199:1          sides 120:20          52:18 68:4          37:21                35:7 50:7 55:13
shell 95:2             131:16              76:12 77:3 80:5   spelling 96:9          92:2 93:20
sheriff's 55:17,23   sign 34:11 196:2      100:8,10,17       spent 4:9 39:19        103:3 135:6
  56:10 61:9           196:3               103:23 108:5      spoke 6:22 25:21       136:12 150:6,7
  89:10              signature 26:19       110:1 121:10        31:21 79:24,25       155:18 178:4
sheriffs 54:20         26:22,24 27:5,7     123:3,7 135:1       80:10,11 123:1     stated 155:16
  55:21 58:18          60:20 178:13        150:6,10 154:2      123:2 139:20         164:17 178:1
shift 78:11,13         178:14 196:7        154:3,20            141:4,5 158:3      statement 60:20
shin 166:17            199:22              168:18 181:11       163:16 192:25        113:11 125:4
shocked 151:25       signed 59:10          181:13 183:2,4    spoken 31:6,25       statements 56:8
shop 15:3 23:2         60:23               186:24 187:1      sport 21:15            66:11,25
  171:13,14          significance          191:7             Sports 41:15         states 1:1 112:19
  175:23 176:4         108:15            sort 12:12 14:20      42:8,21            stay 7:22,24 81:5
Shorthand 2:2        similar 99:5          67:16 99:5        Sportster 22:3       stayed 110:16
  197:3                189:24              133:2 160:20      spot 129:19            117:16,19
shortly 8:2 33:13    similarly 192:16      193:22            spouse 9:16            158:18

Golkow Litigation Services
Case: 4:23-cv-00133-SRW        Doc. #: 39-10 Filed: 01/11/24        Page: 71 of 76 PageID
                                         #: 886
                                   RAYMOND THOMPSON
                                                                                  Page 220

staying 8:4         straight 71:19      supporting 66:17    135:7 141:17        105:24 113:13
stays 7:21 111:19   strangers 195:8     supposed 93:3       159:8 171:10        114:17 122:13
  111:21            street 2:11 16:21     131:7             171:12 175:23       122:16,17,20
steal 64:24 145:8     16:21,23 17:1,2   sure 13:5 20:18     176:3 197:11        122:22 125:9
  145:18 146:22       17:4,7 117:12       22:9 30:13 46:3 talk 5:4 11:12        136:17,21
  183:16,17           120:14 133:17       48:8,14,24 58:8   15:6 31:12          145:4 168:4
  190:5 192:10        134:1,4,15          58:12 64:16,17    78:12 81:15         182:24 183:6
stealing 31:14        146:9 180:10        64:20 68:25       140:13 183:20       186:21 187:8
  144:19              180:11 188:24       75:12 78:2      talked 20:4 31:11     191:2 192:17
stenographically    strike 25:4 36:6      94:22 96:8        31:12 43:2          193:13 194:18
  197:11              45:12 49:14         101:2 119:6       53:15 54:19         194:25
step 155:6            137:6 139:22        125:16 136:20     57:18,21,22       telling 31:13
Stephen 147:6       stubs 42:18           154:22            58:4,21 79:4        95:16 112:13
  150:3             stuck 77:6          surprised 131:6     81:14,19            123:2
steps 58:21 95:22   study 13:15         suspect 151:15      111:23 130:16     term 75:23
  95:23             stuff 12:12 21:5      187:21 189:15     152:12 175:19       189:23
Steve 99:14           43:1 86:7,10      switch 67:9,11,14 talking 11:3        terms 28:15 84:9
stick 74:18,20        88:6,21 89:14       67:19,23 68:10    18:11 21:19         84:21
stickers 162:19       95:14 96:14         68:21 69:13       24:20 25:15       test 37:3
Stingray 15:23        117:6 159:1         70:3,7,10 72:5    57:18 59:21       testified 4:3
stipulate 130:22    style 47:25           72:13 73:5,15     63:11,18,22         147:13
stole 31:19 60:17   subject 63:12         75:14 76:24       66:4 69:6 70:8    testify 81:7,9
  64:4 88:6 93:9      198:6               77:16,18,20       88:8,14 93:16       197:7
  95:12,13,14       submit 34:19          105:9             93:16 94:14       testimony 65:5,7
  97:20 105:6         82:7 98:11        sworn 4:3 197:6     96:21 97:3          66:1,4 109:21
  115:20 116:10       112:15              198:17            101:15 114:9        194:10 198:4
  116:18 121:9      submitted 149:12                        122:6 134:12      text 79:19 81:23
  125:9 141:15      subpoena 66:12              T           140:12 155:15       86:22 87:17
  146:19 163:15     subpoenaed 65:7     T 2:9 3:13 27:12 talks 88:10            88:4,8 90:6,20
  185:1,13 186:4      65:13,20            27:15 134:17    tank 43:17,19,23      96:13 98:11,14
  186:6 195:5       subscribed            197:1,1           68:17 73:24         98:17,20 99:1
stolen 18:4 58:3      198:17            T-H-O-M-P-S-...     172:24,25           99:23 100:11
  88:12 114:16      substantial 166:9     4:18              173:3 174:10        102:11,15
  139:12,13         substantive         take 13:3 28:4,9    174:11,14           103:4,13,18
  141:6,14 164:8      81:16               37:12 38:10     tax 50:1,3 85:4,5   texts 98:23
  189:16            suggest 134:9         48:12 59:2        87:16             Thank 134:16
Stone 2:9           suit 176:14           73:20 77:8 85:6 taxes 51:4 101:13     155:8,12
stone@margul...     Suite 2:2,7,11,15     105:24 114:18     101:18              163:25 167:4
  2:10              summer 129:11         126:18 135:10   tedious 83:5          167:15 170:18
stop 113:15           182:6               136:20 142:7    teenage 189:18        195:3,23,25
stopped 31:12       Sunset 158:1          151:18 155:2    teenager 180:18     Thanks 95:6
storage 16:13,13    superior 193:21       157:3 163:9,13 telephone 79:19      theft 57:24 65:2
  129:10,12           193:22              163:16 167:22     150:13,16,19        148:5,6 151:16
  130:5 162:2,4     supervisor 116:8      169:7 178:21    tell 5:16,25 6:18     184:20
store 105:11          145:19,23           179:25            31:2 44:20        them's 91:16
stored 106:21         186:16 188:1      taken 2:1 5:13      62:16,21 84:25    theory 167:8
story 56:24         supply 39:3           58:19 117:17      96:2 102:4,7      thing 13:1 56:17

Golkow Litigation Services
Case: 4:23-cv-00133-SRW        Doc. #: 39-10 Filed: 01/11/24           Page: 72 of 76 PageID
                                         #: 887
                                    RAYMOND THOMPSON
                                                                                      Page 221

  108:22 109:11       24:16 25:3           52:23,25 53:23      60:14,15,16          84:24 85:19
  139:14 146:23       26:13 29:15          56:9 57:12 58:4     62:6,13,20 63:4      98:14,19
  157:9               58:21 61:3           61:20 62:7 64:2     85:1,2 86:18,18      100:21 103:2
things 13:11,14       69:19 82:6           67:3,6,25 68:1      87:13,21,25          109:1,2,5
  13:24 14:22         86:24 98:7           73:15 77:20         88:23,24 89:12     topics 81:13
  17:23 18:22         105:21 107:17        79:11,25 80:1,9     93:4 99:6          total 34:16,21
  43:3 44:6,13        109:11 112:12        82:11,17 88:21      101:21 114:19        35:4 39:13
  84:12,13 90:5       113:6 117:3,9        101:8 104:1,5,6     114:20 117:4         80:22 183:24
  93:7 95:2,11        123:23 127:23        104:15 107:2        117:12 142:6,7     totally 91:1
  96:5 143:20         128:24 136:6         108:20 110:10       143:18,22,24         116:18 186:19
  180:24              141:25 142:6         110:10,18           146:4 148:13       totals 34:25
think 4:22 7:13       155:2,15             114:25 116:15       148:17 149:23      touched 92:20
  8:5 18:15,15        157:14 161:7         116:25 122:8        151:3 157:2,12     tough 22:15
  23:8 24:22 31:8     161:13 162:11        123:1 124:4,6       178:12,13          tow 46:17 160:18
  31:11 33:7          162:25 164:3         124:10,17           183:20 187:22        160:20 161:17
  34:15 36:4          166:25 167:17        125:22 126:1        188:4,12,15,22       161:18
  37:17 42:2,2        170:20 186:21        127:8 137:18      titled 87:15 91:24   town 28:8
  44:18 53:6          187:8 188:10         140:22 141:9      today 5:17 6:16      tracks 136:12,21
  56:15 78:4 79:5     195:16,24            141:12,15           6:23 59:21           136:22 137:3
  80:22 83:14         197:5 198:3,12       142:10 144:4        63:18 78:6 95:1    tractors 89:21
  85:16 87:2,8        199:23               146:3 155:4,16      122:25 148:11      traffic 102:2
  89:13 90:9        Thompson's             156:5 158:3,6       159:12 178:7       trailed 194:20
  91:15 94:8,20       32:12 34:1,5,9       163:16,17,18        195:17             trailer 33:14,15
  96:20 97:22       thought 86:4           165:11 176:10     toggle 67:9,14,19      37:7 88:8,12
  99:14 101:2         101:24 103:25        183:19 188:22       67:23 68:10,21       91:23 160:18
  102:15 103:22       138:10 141:18        194:1 197:11        69:13 70:3,7,10      166:7
  106:20 109:24       146:24 151:25      times 31:8 39:9       73:5,15 75:14      trailers 92:9,9
  112:6 113:9         162:17 189:6         80:22,25 81:3       76:24 77:16,18       95:2
  117:25 127:1      thoughts 141:16        125:22 145:21       77:19              training 13:12
  138:25 139:6      thousand 30:9          178:20 182:4      told 25:22 30:16       15:10 157:17
  140:17,21           39:21 96:22          185:19,22           31:11 38:10          181:1
  141:5,5 142:13    three 9:2,2,2 10:3     186:1,3 189:24      39:10 41:12        transaction 55:2
  144:3 152:6,11      25:18 86:10        timestamp             42:1,9 53:13,23    transactions 97:5
  153:13,19           89:15 100:18         100:23              56:5 62:8,22,23    transcript 197:10
  160:14 165:3        127:16 186:3       timestamps            78:16 95:9           198:6
  167:13 170:17     three-wheel            100:25              115:7 117:16       transfer 30:20
  173:20 175:19       20:23 22:4         Tina 99:18            118:1,25             139:4
  179:13 180:6        23:12 48:6,7,10    tire 40:19,20         137:22 143:17      transferred
  188:5 195:18        48:20                43:13               153:3 155:20         33:10
  195:21            ticket 102:2         title 24:4 26:17      157:12 158:17      transmission
third 92:3 93:21    tickets 102:5,8        35:13 45:17         172:11               36:4,24 43:8
  150:7             time 7:19 23:1,6       46:10 47:24       Tom 182:20           transported 37:8
Thompson 1:3          31:12,13,21          49:4,9 50:15      tomorrow 88:12       tree 12:2,3,8,10
  1:12 2:1 4:2,6      35:16 36:21          53:10 54:22         95:4                 12:10,11,11,11
  4:17 7:18 9:17      38:6,10 44:23        55:5,6 56:1       toolbox 88:12          33:21 171:17
  10:4,4,4,19         46:9,19 51:7,13      57:19,23 58:5     top 24:9,11 59:11    trees 47:15
  12:7 23:24          51:14 52:5,15        58:22 59:15         59:16 71:9         trespassed 115:1

Golkow Litigation Services
Case: 4:23-cv-00133-SRW        Doc. #: 39-10 Filed: 01/11/24        Page: 73 of 76 PageID
                                         #: 888
                                   RAYMOND THOMPSON
                                                                                  Page 222

  115:24 125:10       148:12,14,20        89:16 91:4,15     49:8 50:2,5,23    v 1:5 3:14 127:18
  135:24 144:18       149:8 164:16        99:16 100:18    understand 5:6,8      127:19 135:3
  184:25              169:1 176:17        111:24 114:17     6:2,7,15 18:9     V-twin 174:10
trespassing           177:11,15,19        114:18 120:20     43:4 68:25        Vaguely 125:21
  155:22            trike's 130:1         126:15 127:16     86:22 104:11      Valley 171:13
tried 31:11 52:8    trikes 18:5 22:12     127:24 130:8      119:6 125:16      valuable 176:13
  60:14 101:19        22:21 23:19         130:10,25         188:9 195:6         176:15
  101:20 131:5      trim 21:8,10          131:10 135:19   understanding       valuation 14:19
  131:12 159:2        128:21              138:1 146:20      25:6                15:1,8,11
  178:19,20         Triumph 16:2          154:14 156:20   Union 28:5,6,21     value 176:9,16,22
  184:4 187:22      troubling 176:24      156:21 167:5      30:22 33:4        values 14:22
  193:17 195:5      truck 73:20           169:9 183:17      35:10 61:7 79:2   van 96:11
trike 15:24 17:6      74:11 88:5        two-by-four         87:13 88:25       vandalism 96:3
  17:7,25 18:7,12     92:19,20,21         190:19            90:2 100:5          96:12
  18:14 19:17,24      93:2,7,11,12      two-by-fours      unique 18:9,10      vandalized 64:4
  19:24 20:15,17      96:5 142:18         95:20             18:13 23:19,20      93:8 105:6
  20:19,24 21:25    trucks 13:24 20:6   two-wheel 46:25     45:9,11 84:11     variety 12:18
  22:4,17 24:20       89:21 90:11         48:3,4,5        unit 129:12 130:5   various 13:10,12
  24:23 25:5,8,10     171:15            type 36:18 65:8   UNITED 1:1            15:4 35:21 38:5
  25:15,19 27:22    true 14:21            67:7 83:23      unknown 42:12         53:17 58:22
  28:1 29:20 30:7     197:10 198:5        101:4           unlock 76:10          85:5 90:1,2
  30:12 34:14,17    truth 5:17,25       typical 121:15    unlocked 75:12        95:22
  35:15 36:18         6:18 197:7,7,8                        75:20             vehicle 14:2,7
  44:16,21 45:13    truthful 195:19             U         unlocking 75:4        19:16,18 49:16
  46:12 47:20       try 50:15 54:12     U 3:13 134:20     unoperational         51:8,11 52:17
  48:22,23,25         54:22 55:5        U.S 23:5            175:22              53:1 74:15,16
  51:5,11,16          59:15             Uh-huh 15:17      unusual 121:13        79:7 106:7,10
  53:24 57:14       trying 52:14          18:1 44:11 48:1 update 38:10          106:16 127:4,7
  59:20 63:11,17      113:1 132:11        52:21 53:2        101:7               127:9,12 128:2
  63:21 64:1,4        134:9 159:19        57:15 58:6      upper 133:7           128:7,13
  65:3 67:6,7,20      184:5,17            70:22 71:8      upset 114:23,25       129:23 139:12
  68:1,3 69:2,7,8     186:11              73:16 74:13,17    116:2 141:9         142:19 192:9
  69:10 70:11,24    turn 67:12,13         75:13 79:8 80:3   143:19 157:11     vehicles 15:15,16
  71:16 72:7,10       72:1,11,12,12       83:4,9 106:12   usage 17:3            18:19,20 19:12
  72:22 73:19         72:12,17 74:21      107:24 109:3    use 18:21 19:18       19:14,22 20:2,5
  75:11,18 76:6       75:1 78:1 86:4      112:8 119:7       19:22 20:8          54:4 78:6 97:8
  76:10 77:15,23      102:24 103:2        128:3 130:7       38:25 69:16         127:24 128:4
  78:9 79:1,2         112:9 132:13        132:18 133:1,9    70:21 73:4          129:19 134:9
  81:13,20 92:5       134:3 136:6         150:22 153:23     101:4 110:3         135:19,20
  97:3 101:13,15    Turning 172:20        153:25 160:11     162:14 177:1        143:2
  101:18 102:2,5      174:7 175:1         164:19 165:15   usual 129:19        Velocity 41:14
  105:12 106:21     turns 74:21           188:20          usually 74:18         42:8,21
  106:24 109:7      twice 185:25        uh-huhs 5:10        129:23 138:11     verbatim 141:7
  109:25 110:4      two 8:19 25:18      ultimately 26:5     181:25 182:11       154:6
  129:25 131:5        27:4,7 28:16        152:20          utility 20:6        verified 154:9
  131:15,17           30:9 57:25        Umm 6:22                              verify 185:20
  143:5 147:15        67:13 84:5,5      unable 37:3 49:1           V          victim 66:10

Golkow Litigation Services
Case: 4:23-cv-00133-SRW    Doc. #: 39-10 Filed: 01/11/24        Page: 74 of 76 PageID
                                     #: 889
                               RAYMOND THOMPSON
                                                                               Page 223

videos 178:21     187:24 191:11      12:23 25:5 66:4    149:5               18:19 38:11
Viewed 117:13     191:14,25          107:11 111:4      wheel 131:18         40:25 64:23
VIN 24:16,19,23   192:5,8 193:6      115:23,24          169:14 190:19       110:16
  25:6,7,9 76:6   193:18 196:2       120:17 144:22      190:20             works 7:21 37:13
  115:11 154:10  wanted 23:12        149:25 159:7,7    wheeled 74:16        37:23 41:4,5
  156:1,3,9       33:8 47:3 62:17    159:8 185:2,7,9   wheels 25:18         42:23,24
vintage 15:4      71:16 84:13        186:12 191:13      131:10              111:21
  16:17           86:9 93:6 105:8    191:21,24         whereabouts         worried 113:21
violated 115:1    109:12 124:21      192:4 193:18       10:8               worry 117:17
  116:3 145:5,7   151:3,17          we've 4:8 24:20    wide 131:5,11       worse 23:12
  146:17,18       165:21 188:4,5     43:2 59:20        willing 26:1 45:3    132:11
  183:1,8 184:14  188:12 189:7       63:11,17,21        125:11             worth 96:22
violation 183:24  193:1              79:4 97:3         winch 88:6          wouldn't 38:19
visible 105:16   wants 96:14         109:13 136:18     window 106:11        146:20 166:4,8
visibly 114:23   warehouse 90:2      152:16 178:7       144:22              175:25 188:7
visual 119:20    warm 47:12,13      weather 81:15      windows 190:7       Wrangler 15:21
  120:8 128:1     49:25              182:6             winter 182:9         15:22 19:3,3
voices 122:20    warrant 144:20     Weaver 182:20      wiring 35:20         128:17,18,21
                  155:23 189:20     wedding 123:6,9     43:15 44:9          129:2 143:4,14
       W         Washington 2:12     123:11            wish 195:16         write 56:22,23
W 3:14 136:2,3,7  37:22 45:24       week 109:14,22     witness 4:2 31:20    76:5
Wagner's 119:24 wasn't 39:11        weekdays 182:2      91:6 198:3         writing 58:23
Wagners 120:10    76:14 86:1 91:5   weekends 182:2     witnessed 112:12    written 56:8
wait 102:14       104:5 190:22       182:3              112:17,24           66:13,14,25
 117:24 128:19   waste 100:4        weeks 80:18         113:7               87:12 149:17
waited 158:18    Waters 116:11       171:11            witnesses 4:23      wrong 75:9
waiting 122:7     116:13,24,25      weight 45:6         91:4 109:22        wrote 32:17
waive 196:2       117:1,8,13,16     well-rested 5:19   woke 114:4           112:12
wake 121:10       117:18 145:23     went 33:13 35:9     121:17 124:5
walk 125:1        145:25 146:2,2     49:5,7 51:7,12    wonderful 46:23             X
walked 113:18     146:5,12           51:17 52:7,16     word 27:15 142:2    X 3:15 132:16
 113:22 122:3     150:18 151:11      52:25 54:23        142:2,3,4 159:3     161:9,10,14
 125:3 140:14     158:6,10,16        65:12 78:9 81:4   words 9:4
 144:9,10 146:8   159:11 186:17      85:1,23 110:15    wordy 6:4 52:23             Y
want 6:24 9:4     188:1,16           112:13 114:17     work 12:10 13:24    Y 3:15 163:1,2,5
 23:16 68:25     wave 167:10         116:18 117:11      20:5 33:14,21      yard 8:8 100:4
 69:8 72:11 83:5 way 25:17 57:21     118:7,11,22        38:16 42:25,25       127:13 135:24
 86:22 89:18      62:17,19 69:12     119:1,2,23         46:6 47:1 52:4       135:25 136:25
 90:13 105:9      145:14 155:1       140:12,17          110:16 114:25        141:14 160:5,7
 113:3,3 114:22   168:3 184:14       146:3 151:2       Work-related          160:13 161:18
 115:19,25        190:18             155:19 156:21      13:8                 161:18 166:5
 119:5 124:7     ways 68:16 69:5     178:17 184:11     work-related-t...   yeah 4:20,21 5:20
 125:14 141:6     69:11 194:12       186:3,4,5          13:13                8:17 9:15,24
 144:7,23 160:9   194:16            west 114:10        work-type 13:11       11:13 13:5,20
 162:18 167:24   we'll 29:7 55:5     120:13,23         worked 55:7,8         13:25 14:20
 178:7 183:20     117:17 130:22      121:24             110:16 157:14        16:9,16 18:12
 185:3,4,8       we're 5:4 11:3     whatsoever         working 8:3,3         18:13,25 19:17


Golkow Litigation Services
Case: 4:23-cv-00133-SRW        Doc. #: 39-10 Filed: 01/11/24         Page: 75 of 76 PageID
                                         #: 890
                                   RAYMOND THOMPSON
                                                                                  Page 224

  19:21 20:3          179:16,16,20      100 76:6            1965 15:22 19:25    40:14 51:8,10
  25:10 26:8          180:4 181:5       100-anniversary     1970s 16:2,8        51:25 58:7,10
  27:23,23,25         182:3,10,17,23      21:25             1997 15:21 19:4     100:12,15
  28:16 29:8 31:8     187:13 189:25     100-year 20:22      1HD1GDV353...     2022 7:10,25 8:10
  32:5 38:5,6         190:16              23:17 172:12        24:18             10:12,25 11:8
  42:17 43:22,24    year 16:5 20:21       172:17                                15:20 18:18
  44:4 47:2,4,12      31:23 40:4 46:9   100-year-old                2           19:1,6,15,19
  47:16 48:16         51:15,21 52:3       172:12            2 91:23             57:17,21,22
  53:12,15 60:6       86:16 152:22      100th 22:17,20      2,175 29:23 34:20   58:9 61:21
  61:5 62:15          160:1 182:4         44:17             2,366.37 34:21      75:17 103:4,11
  63:15 65:7,13     years 7:13 9:2,3    102 3:9             2:00 122:10,11      103:15 105:10
  68:6,14,15          17:12,12,21       107 3:10              145:3,9           110:1,4,7
  71:20 74:24         23:9,10,13        11 102:25           2:43 196:5          111:16 119:15
  75:24 77:2          31:23 33:25       11:00 121:15        20 9:5 140:4        119:21 124:13
  85:20 87:13         35:25 44:24       11:30 121:15          188:19            125:18 126:13
  88:17 91:22         86:7 94:21          183:15,22         20-something        135:7 136:15
  93:23 96:1,9        99:16 179:14        193:3               183:18 192:22     136:16 137:6,8
  97:16 98:10         179:15 183:18     12 95:24            2000 15:21          137:19 148:20
  99:24 100:4,9       192:22            12:33 101:11        20004 2:12          152:13 168:25
  100:24 108:11     Young 2:15          1209 7:6 111:5      2002 15:25 17:6     170:10 173:18
  108:16,21                               119:13 136:14       17:15,17 180:6    174:4,24
  109:16,24,24              Z           123 3:10              180:13            175:17 176:10
  110:23 119:10     Z 3:16 163:20,21    12444 2:15          2003 15:23 17:6   2023 1:13 2:3
  119:10,11,25       164:4 166:18       127 3:11,11,12,12     17:24 20:22       18:19 19:7,15
  122:4,6,16        Zoom 2:13             3:13,13,14          21:16,24 22:16    19:20 31:25
  124:14,18,20                          12th 162:5            22:20 23:16       106:23 110:1
  125:21,22                 0           130-something         30:6 41:22        162:5,6,8 177:2
  126:20,24         084-004847 1:16       12:21               63:11,17,21     2024 160:2
  127:3 128:17        197:22            1325 2:11             76:6 79:2       20th 30:9
  128:22,25                             136 3:14              164:15 176:17   22 7:13
                            1                               2004 19:2,7
  129:2 130:19                          13th 83:1 100:15                      22-12985 60:19
                    1,000 39:16,17                          2005 16:6 17:5
  130:19 131:1,4                          101:10                              22nd 8:10 10:11
                      42:10                                 2011 9:19
  131:18,21                             141 47:10                               10:23 11:5
                    1,100 41:18,25                          2014 15:22 19:3
  134:2,6,8                             1450 1:16 197:23                        57:16 75:17
                      42:5,11                               2019 8:15
  138:25 146:16                         15 16:4,10,15                           103:11,14
                    1:00 122:10                             202 198:18
  146:18 149:21                           17:19 140:4                           105:10 106:23
                      125:19                                202-975-0895
  152:6,6,8,22,22                       15-year-old 7:18                        108:18 110:1,4
                    10 16:3,9,9,14                            2:12
  152:25 158:6                            111:18                                110:7,13,19,25
                      17:12,12,19                           2020 9:5 18:15,15
  160:14 161:21                         150 19:9                                111:13,15
                      33:25 179:13                            27:16,19 30:10
  161:24,24                             160 2:15                                112:4 119:15
                      179:15,19                               30:14 31:7
  162:7,23,23                           161 3:15                                119:21 125:18
                    10-22-22 60:17                            32:21 35:12
  164:15 165:2                          163 3:15,16                             126:2,10,13
                    10-25-22 61:16                            40:11 79:13,15
  165:17,19,24                          167 3:16,17                             129:18 137:8
                    10,000 85:18                              81:11,18 83:2
  166:17 167:19                         16th 162:6,8                            137:13,16
                    10:00 110:21,21                           88:4 94:23
  169:17 170:1                          170 3:17,18,18,19                       142:20 143:3
                      125:18                                  97:13
  172:21 174:13                           3:19                                  148:20 151:2
                    10:05 4:1                               2021 18:15 40:12
  175:6 179:6,10                        17th 94:23                              168:25 170:10

Golkow Litigation Services
Case: 4:23-cv-00133-SRW           Doc. #: 39-10 Filed: 01/11/24   Page: 76 of 76 PageID
                                            #: 891
                                     RAYMOND THOMPSON
                                                                              Page 225

  173:18 174:4      4:23-cv-00133       90 84:14 104:1,20
  174:24 175:16       1:5               911 113:23 114:5
  176:10 177:2      40 7:19 162:6         116:5,6 138:22
  178:22 194:2      400 39:8              138:23
22nd-23rd 63:8      44 47:9,10          96 36:19 48:18
  103:4 136:15      450 19:10           98 3:9
23 3:4 7:13         453 35:3
23,000 84:16,17     453.83 34:25
  85:6,19           4683 59:12
23rd 8:12 10:12     4th 32:21 80:8,9
  10:25 110:1,9
  110:22 121:3              5
  125:19 137:5      5,000 28:14,18
  137:19 142:20       32:18 34:18,25
  150:21 152:13       35:4 39:22
  159:14 164:20       41:12 42:1,9
  164:23 165:3        63:5 85:18
  178:22 188:19       86:11 90:16
24th 124:13         50 7:19 28:7
  164:23 165:3      500 2:11
25 160:15           50CC 179:20
25th 61:21,24       59 3:7
  62:2              5th 30:9,14 31:7
26 3:5
26th 97:13                   6
29 3:5,6,6,7        6 1:13 2:3 102:24
                    6,000 42:11
        3           63021 7:7
3 112:11 136:6      63105 2:7
3-4-20 27:3         63131 2:16
3:00 151:3          66 47:8,9
30 178:1            69 3:8
300 40:21 41:11
  160:14                    7
30th 27:16,19       7,000 96:14
  34:12,14 35:12    7,100 42:11
  79:5 81:11        750 2:2,7
314-390-0230 2:8    7700 2:2,7
314-789-1199                8
  2:16
                    8 105:23 111:5
325 161:21
                    8,000 42:16
3676 8:25 83:21
                    82 3:8
         4          88 48:18
4 3:2 93:13 112:9   8th 135:7 136:15
  112:10 136:10             9
4,541.37 34:21
                    9:00 110:21

Golkow Litigation Services
